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 1   ALMADANI LAW
     Yasin M. Almadani, State Bar No. 242798
 2   4695 MacArthur Court, Suite 1100
     Newport Beach, CA 92660
 3   Ph: 949-877-7177
     Fax: 949-877-8757
 4   yma@lawalm.com
 5   AI LAW, PLC
     Ahmed Ibrahim, State Bar No. 238739
 6   4695 MacArthur Court, Suite 1100
     Newport Beach, CA 92660
 7   Ph.: 949-266-1240
     Fax: 949-266-1280
 8   aibrahim@ailawfirm.com
     Attorneys for Plaintiffs, Individually
 9   and On Behalf of All Others Similarly Situated
10                                  UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12   LAURA HABBERFIELD, an individual,                               CASE NO.: 2:22-CV-03899-GW-JEMx
     KEONA KALU, an individual, KATIE
13   RUNNELLS, an individual, JUANITA
     CARMET CACHADINA, an individual,                                REDACTED VERSION OF
14   SARAH HUEBNER, an individual,                                   DOCUMENT PROPOSED TO BE
     YESENIA VALIENTE, an individual,                                FILED UNDER SEAL
15   VERONICA WALTON, an individual,
     LISA MURPHY, an individual, NICOLE
16   HILL, an individual, NICOLE STEWART,                            DECLARATION OF AHMED
     an individual, ME’LISA THIMOT, an                               IBRAHIM IN SUPPORT OF
17   individual, and MARIKA WALTON, an                               MOTION FOR PRELIMINARY
     individual, on behalf of themselves and all                     APPROVAL OF CLASS ACTION
18   others similarly situated,                                      SETTLEMENT, PROVISIONAL
                                                                     CERTIFICATION OF
19                             Plaintiffs,                           SETTLEMENT CLASS, AND
             vs.                                                     APPROVAL OF PROCEDURE FOR
20                                                                   AND FORM OF NOTICE
     BOOHOO.COM USA, INC., a Delaware
21   corporation, BOOHOO.COM UK                                      Hearing Information:
     LIMITED, a United Kingdom private
22   limited company, BOOHOO GROUP                                   Date:               May 18, 2023
     PLC, a Jersey public limited company,                           Time:               8:30 a.m.
23   PRETTYLITTLETHING.COM USA                                       Courtroom:          9D
     INC., a Delaware corporation,                                   Judge:              Hon. George H. Wu
24   PRETTYLITTLETHING.COM LIMITED,
     a United Kingdom private limited                                Action Filed:       June 7, 2022
25   company, NASTYGAL.COM USA INC.,
     a Delaware corporation, NASTY GAL                               Trial Date:         TBD
26   LIMITED, a United Kingdom private
     limited company, and DOES 1-10,
27   inclusive.
28                             Defendants.
                                                                1
     Declaration of Ahmed Ibrahim in Support of Plaintiffs’ Motion
     for Preliminary Approval of Class Action Settlement                             Case No. 2:22-cv-03899-GW (JEMx)
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 1                                DECLARATION OF AHMED IBRAHIM
 2           I, Ahmed Ibrahim, declare as follows:
 3           1.       I am an attorney at law, duly licensed to practice before all state and
 4   federal courts in California, and counsel of record in this litigation for Plaintiffs Laura
 5   Habberfield, Keona Kalu, Katie Runnells, Juanita Carmet Cachadina, Sarah Huebner,
 6   Yesenia Valiente, Veronica Walton, Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa
 7   Thimot, and Marika Walton, on behalf of themselves and all others similarly situated
 8   (“Plaintiffs,” the “Class,” or “Class Members”). I am submitting this declaration in support
 9   of Plaintiffs’ Motion for Preliminary Approval of Class Settlement. The facts stated in
10   this declaration are based upon my own personal knowledge, and if called as a witness, I
11   could and would testify competently about the same.
12                               QUALIFICATIONS AS CLASS COUNSEL
13           2.       I undertook undergraduate studies at the University of California, Berkeley,
14   where I graduated with a Bachelor of Science degree in Business Administration in
15   December 1999. I graduated from law school in 2005 from the University of California,
16   Hastings College of the Law. After graduating from law school, I joined the Orange
17   County office of Snell & Wilmer, LLP, a large multi-practice firm based in Phoenix,
18   Arizona, where I practiced law in the firm’s commercial litigation department. In 2011, I
19   joined Eagan Avenatti, LLP, where I continued practicing law in the field of commercial
20   and other complex civil litigation, including class actions. In early March 2019, I left
21   Eagan Avenatti to start my own practice, AI Law, where I continue to focus on commercial
22   litigation and class action matters.
23           3.       While at Snell & Wilmer, I spent more than five years working on a variety
24   of complex commercial litigation matters and successfully defended and prosecuted
25   matters for clients in a number of different industries and involving many fields of law.
26   These included cases asserting fraud, violation of the California Unfair Competition Law
27   (Bus. & Prof. Code § 17200, et seq.), and other business torts. It also included complex
28   cases involving breach of contract, environmental claims, misappropriation of trade
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 1   secrets, trademark infringement, real estate disputes, construction disputes, and many
 2   other types of civil disputes.
 3           4.       While at Eagan Avenatti, I spent more than seven and a half years continuing
 4   my work in complex commercial litigation, primarily representing individual and
 5   corporate plaintiffs in large dollar disputes across the country. I also acquired significant
 6   experience in class action litigation. For example, I assisted with the representation of a
 7   major telecommunications company against a class action brought by alleged victims of
 8   wiretapping in a high-profile suit. This case resulted in a favorable settlement for the
 9   client, and I was also one of the principal attorneys on the team that obtained several
10   summary judgment dismissals and nuisance settlements for the client in individual civil
11   suits brought by alleged victims. I also gained valuable class action experience through
12   my participation in the Eden Memorial Park Litigation, where I was on a team of attorneys
13   representing families of persons buried at a Jewish cemetery near Los Angeles in a case
14   alleging the cemetery had a practice of engaging in various wrongdoing affecting
15   gravesites that it failed to disclose to class members. This case settled during trial in a
16   settlement valued at $80.5 million.
17           5.       I am also class counsel in the case styled Carmelo Treviso v. National
18   Football Museum Inc., No. 5:17-cv-00472 (N.D. Ohio).                 The Court granted class
19   certification and appointed me, along with my co-counsel in Ohio, as class counsel.
20           6.       I was also appointed class counsel by this Court in the following three related
21   and consolidated actions: (1) Khan v. Boohoo.com USA Inc., No. 2:20-cv-03332-GW-
22   JEMx, (2) Hilton v. PrettyLittleThing.com USA Inc., No. 2:20-cv-04658-GW-JEMx, and
23   (3) Lee v. NastyGal.com USA Inc., No. 2:20-cv-04659-GW-JEMx (together, the “Khan
24   Litigation”). In December 2022, the Court granted final approval of the class action
25   settlement in the Khan Litigation and entered final judgment in the case.
26           7.       Mr. Almadani and I have had recent success teaming up as co-counsel in 2022
27   by trying two successful jury trials (one in this courthouse before Judge Snyder) resulting
28   in multimillion dollar verdicts.
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 1           8.       With respect to the adequacy prerequisite of Rule 23(a)(4), I am not aware of
 2   any actual or potential conflicts between myself or my co-counsel, Yasin Almadani of
 3   Almadani Law, and any members of the proposed Settlement Class, nor do I believe there
 4   are any such conflicts. Further, I am not aware of any conflicts between any of the named
 5   Plaintiffs and any member of the proposed Settlement Class. My firm and co-counsel will
 6   continue to vigorously prosecute this action on behalf of Plaintiffs and the Class.
 7           THE SIGNIFICANT WORK PERFORMED BY COUNSEL IN THIS CASE
 8           9.       This action is a continuation of the Khan Litigation, which, like this case, was
 9   also originally brought as a nationwide class action against Defendants involving the same
10   deceptive pricing scheme as alleged in this case. Importantly, in the operative complaints
11   in the Khan Litigation, the plaintiffs sought certification of a nationwide class of
12   purchasers from the U.S. websites of the three brands that are also at issue here, namely,
13   https://us.boohoo.com and/or https://boohooman.com/us (the “Boohoo U.S. Websites”),
14   https://prettylittlething.us (the “PLT U.S. Website”), and https://nastygal.com (the “Nasty
15   Gal U.S. Website”) (collectively, the “U.S. Websites”).
16           10.      Because the nationwide claims outside of California in the Khan Litigation
17   would be dismissed without prejudice if, as was anticipated, the Court would grant final
18   approval, on June 7, 2022, my co-counsel and I filed this action to continue pursuing
19   nationwide class relief (excluding relief for California purchasers) against Defendants on
20   behalf of Plaintiffs Habberfield, Kalu, Runnells, Cachadina, Huebner, Valiente, Veronica
21   Walton, Murphy, Hill, and Stewart. In the complaint, we sought essentially the same
22   nationwide relief on behalf of said plaintiffs as was requested by the plaintiffs in the Khan
23   Litigation based on the same allegations of false advertising and deceptive pricing on
24   Defendants’ U.S. Websites.
25           11.      With this clear overlap of the claims and issues between the Khan Litigation
26   and this action, as well as the Court formally ordering this action consolidated with the
27   Khan Litigation for pretrial purposes, the discovery and motion practice from the Khan
28   Litigation is plainly applicable to this action. It thus benefited the efforts of Plaintiffs and
                                                    4
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 1   us in prosecuting this action and ultimately negotiating the Settlement presented here. In
 2   other words, the Settlement here was only made possible by the work that had already
 3   been done by myself and my co-counsel in the Khan Litigation. Defendants acknowledge
 4   this fact in paragraph 21 of the Stipulation in Support of Motion for Preliminary Approval
 5   of Class Settlement. Accordingly, the discussion in the ensuing paragraphs of the work we
 6   performed in the Khan Litigation is relevant to this motion.
 7           12.      Prior to filing the initial complaint in the Khan Litigation, I worked closely
 8   with my co-counsel, Yasin Almadani of Almadani Law, and attorney Daniel Wang. We
 9   painstakingly investigated the facts giving rise to the allegations in this litigation for all
10   the U.S. Websites. We also performed extensive legal research to determine, among other
11   things, the legal validity of the claims at issue, class certification of those claims based on
12   the factual allegations, damages available to the class, and procedural issues such as venue
13   and multistate class certification. We also procured the named plaintiffs (Farid Khan,
14   Haya Hilton, and Olivia Lee (hereafter, the “Khan Plaintiffs”)) in the Khan Litigation to
15   serve as the putative class representatives in this case. They supplied us with information
16   concerning their purchases to support the claims of the Class, and their experience
17   purchasing items on the U.S. Websites. This significantly assisted with our investigation
18   of the claims in this litigation.
19           13.      Based on the facts gathered and legal research we performed, we spent
20   considerable time drafting the complaint in the lead action in the Khan Litigation, namely,
21   Khan v. Boohoo.com USA, Inc., et al., No. 2:20-cv-03332-GW-JEMx (C.D. Cal.), and
22   filed the complaint on April 9, 2020.
23           14.      Thereafter, we drafted similar complaints in Hilton v. PrettyLittleThing.com
24   USA Inc., et al., No. 2:20-cv-04658-GW-JEMx (C.D. Cal.), and Lee v. NastyGal.com USA
25   Inc., et al., No. 2:20-cv-04659-GW-JEMx (C.D. Cal.), and filed these complaints on May
26   26, 2020.
27           15.      Subsequently, we met and conferred with Defendants’ counsel on a potential
28   motion to dismiss. Defendants’ counsel argued, among other things, that we had not sued
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 1   the correct entities because, allegedly, the United Kingdom entities Boohoo.com UK
 2   Limited, PrettyLittleThing.com UK Limited, and Nasty Gal Limited (the “UK Limited
 3   Entities”) were responsible for operating the U.S. Websites for the respective brands.
 4   They also asserted that there was an insufficient basis for personal jurisdiction over
 5   Defendant Boohoo Group PLC (“Boohoo Group”). We therefore amended the Khan
 6   Plaintiffs’ complaints by, among other things, adding the UK Limited Entities as
 7   defendants and significantly bolstering the allegations of their complaints relating to
 8   personal jurisdiction and alter ego. On August 7, 2020, we filed these amended complaints
 9   on behalf of the Khan Plaintiffs.
10           16.      After filing the operative complaints, Defendants’ counsel would not accept
11   service of the complaints on behalf of the UK Limited Entities. We were therefore forced
12   to research the complex and arcane legal requirements for serving a foreign entity, to select
13   an appropriate and legally valid method for service, and executing service, which
14   Defendants never contested. Because of Defendants’ decision to not accept service on
15   behalf of the UK Limited Entities, this resulted in different service dates and the somewhat
16   cumbersome multiple motions to dismiss that were ultimately filed and the multiple
17   responses that were before the Court. These were ultimately consolidated for hearing and
18   ruled upon together by the Court.
19           17.      On September 4, 2020, Defendants filed their motion to dismiss and strike
20   the operative complaints in the Khan Litigation, pursuant to Rule 12(b)(2), 12(f), and
21   12(b)(6) of the Federal Rules of Civil Procedure. Defendants’ motion covered a wide range
22   of issues, including jurisdiction, standing, and pleading sufficiency. Defendants argued,
23   among other things, that (1) the Court lacked personal jurisdiction over Boohoo Group,
24   (2) Plaintiffs sued the wrong entities, (3) all non-California class allegations should be
25   stricken, (4) Plaintiffs lacked standing, (5) Plaintiffs’ pre-litigation CLRA notices were
26   non-compliant, and (6) Plaintiffs’ claims were not properly pled. We prepared a robust
27   and comprehensive opposition to Defendants’ motion, which included a detailed
28   declaration full of exhibits contesting Defendants’ personal jurisdiction arguments.
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 1           18.      On November 16, 2020, the Court denied Defendants’ Rule 12(f) motion to
 2   strike and Rule 12(b)(6) motion to dismiss in its entirety in the Khan Litigation. With
 3   regards to personal jurisdiction, the Court found the Khan Plaintiffs “produced enough
 4   reason for the Court to conclude that they are entitled to an opportunity to take
 5   jurisdictional discovery to solidify a basis for a proper assertion of personal jurisdiction
 6   over” Boohoo Group. The Court thus deferred ruling until after we conducted
 7   jurisdictional discovery.
 8           19.      In order to delineate the scope of permissible jurisdictional discovery, the
 9   Court ordered the parties to meet and confer. After several status conferences and the
10   parties’ joint status reports laying out their respective positions at length over various
11   disputed issues (including, for example, Defendants’ arguments that Plaintiffs should not
12   be permitted to take remote depositions during the height of the COVID-19 pandemic),
13   the Court established the limits and parameters of allowable jurisdictional discovery, and
14   set a further briefing schedule to address personal jurisdiction and a hearing date on the
15   motion.
16           20.      We then prepared a set of written discovery relating to personal jurisdiction
17   and on December 30, 2020, propounded interrogatories, document demands, and requests
18   for admission on Defendant Boohoo Group PLC. However, on January 15, 2021, due to
19   our considerable efforts, Boohoo Group dropped its personal jurisdiction challenge by
20   formally withdrawing its motion.
21           21.      In early 2021, we propounded written class discovery on behalf of the Khan
22   Plaintiffs on Defendants in the consisting of two sets of interrogatories and document
23   demands, and one set of requests for admission. Because Defendants, in our view, did not
24   adequately respond to this discovery, we were forced to file a motion to compel further
25   discovery pursuant to the joint stipulation procedure under Local Rule 37-1. In April 2021,
26   Magistrate Judge McDermott issued two separate orders granting our motion, in
27   significant part, and denying the Khan Plaintiffs’ motion, in certain respects.
28           22.      In March 2021, we responded to written class discovery propounded by
                                                7
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 1   Defendants upon the Khan Plaintiffs, consisting of interrogatories, document demands,
 2   requests for admission.
 3           23.      Defendants also filed a motion to compel discovery. However, on July 19,
 4   2021, Judge McDermott denied the motion in its entirety, the only exception being that
 5   the Khan Plaintiffs were ordered to provide a verification confirming they had no
 6   documents responsive to one document demand.
 7           24.      In response to our document demands, Defendants produced more than
 8   546,000 pages of responsive documents, which does not include voluminous spreadsheets
 9   and data. In total, up to the present date, Defendants have produced more than 250
10   Gigabytes of data in response to our requests. We incurred the significant cost and expense
11   to load this data into a cloud database to facilitate review of the documents. Over many
12   months during 2021 spanning countless hours, our team reviewed these documents for the
13   purpose of conducting depositions and preparing our class certification motion.
14           25.      In the meantime, because we found evidence that his testimony would be
15   relevant to class issues, in June 2021, we noticed the deposition of Boohoo Group’s
16   Executive Chairman, Mahmud Kamani. On July 7, 2021, Defendants filed a motion for
17   protective order to quash his deposition pursuant to the joint stipulation procedure in Local
18   Rule 37-1. We vigorously opposed the motion. On July 28, 2021, Judge McDermott again
19   sided with us, rejecting Defendants’ arguments, and concluding that “Plaintiffs have
20   presented evidence that Mr. Kamani has unique personal non-repetitive knowledge of
21   facts relevant to this suit and to class certification[.]” Mr. Kamani was thus ordered to
22   appear for deposition.
23           26.      In late January and early February 2022, we deposed, via Zoom, four Rule
24   30(b)(6) corporate representatives designated by Defendants on behalf of the
25   Boohoo/BoohooMAN, PrettyLittleThing, and Nasty Gal brands to testify concerning class
26   topics central to the allegations of wrongdoing. In addition, we conducted an additional
27   three interviews of key defense witnesses on relevant topics, including of Boohoo Group’s
28   Chief Financial Officer, Neil Catto. These depositions were particularly challenging due
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 1   to the significant time difference between California and the United Kingdom, which
 2   required, as a compromise between counsel, for us to begin our depositions at 6:00 a.m.
 3   Pacific Standard Time. Importantly, all the written, document, deposition, and interview
 4   discovery we conducted was directed to Defendants’ activities on a nationwide basis in
 5   the event the contemplated settlement in the case was not finalized and we would need to
 6   prosecute and seek class certification of the Khan Plaintiffs’ nationwide class claims.
 7           27.      The parties executed the settlement agreement in the Khan Litigation on May
 8   20, 2022. On June 3, 2022, the Court granted preliminary approval of the class action
 9   settlement in the Khan Litigation.
10           28.      As noted, on June 7, 2022, we filed this action on behalf of Plaintiffs. Then
11   on June 22, 2022, we filed a First Amended Complaint (“FAC”) on behalf of the ten
12   original plaintiffs listed above in paragraph __ to clarify that they were not pursuing relief
13   on behalf of California class members in light of the class settlement in the Khan
14   Litigation.
15           29.      But nevertheless, on June 28, 2022, Defendants filed a “Motion to Enforce
16   Settlement Agreement and Strike Habberfield First Amended Complaint, or in the
17   Alternative to Stay Settlement Administration, and for Sanctions.” Defendants sought a
18   swift dismissal of this nationwide class action without the Court considering any merits of
19   the claims alleged in the complaint. This was an incredible filing as Mr. Almadani and I
20   were in the middle of a complex jury trial in Judge Snyder’s courtroom when Defendants
21   elected to file this motion. We made Defendants aware of this, but they chose to file it
22   anyway. We worked hard to conduct the research on the issues raised and draft the briefs
23   to vigorously oppose Defendants’ motion. The Court held a hearing on August 22, 2022.
24   In a comprehensive and detailed ruling, the Court rejected all of Defendants’ arguments
25   and denied their motion. The Court thus reinstated the schedule for final approval of the
26   settlement in the Khan Litigation, which had been stayed while the Court considered
27   Defendants’ motion.
28           30.      In addition to all the work in prevailing in Defendants’ challenges to the
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 1    pleadings in the Khan Litigation and discovery in that case, our hard work in dismantling
 2    what we believed were meritless arguments by Defendants in their motion to strike the
 3    complaint in this action appeared to be extremely beneficial to being able to settle the case.
 4    That is because shortly after the Court’s denial of Defendants’ motion to strike this action,
 5    Defendants reached out to us seeking to reinitiate settlement discussions. To this end, on
 6    August 31, 2022, the parties filed a stipulation in which we stated, among other things,
 7    that we “agree and jointly request that the Habberfield Action be consolidated with the
 8    related Khan action for pretrial purposes and stayed” until the Court decided on final
 9    approval of the settlement in the Khan Litigation, and that during the period of the stay,
10    we “wish to engage in settlement discussions in the Habberfield Action and shall be
11    permitted to participate in discovery for this purpose as long as all parties mutually agree
12    to do so.” The Court approved the stipulation and ordered this action consolidated with
13    the Khan Litigation for pretrial purposes the next day.
14            31.      Pursuant to a stipulation between the parties, on April 6, 2023, the Court
15    permitted us to file a Second Amended Complaint (“SAC”) on behalf of Plaintiffs, which
16    is the operative complaint in this action. In the SAC, we added two putative class
17    representatives—Me’Lisa Thimot, a resident of Illinois, and Marika Walton, a resident of
18    New York.
19            32.      In total, we have procured 12 named plaintiffs/class representatives
20    representing 7 different states to bring and maintain this class action lawsuit against
21    Defendants. The SAC contains 13 claims for relief. Each of the named plaintiffs have
22    cooperated with us by searching for and providing the information and documents needed
23    to substantiate their purchases and their claims against Defendants. They have all provided
24    factual input for the lawsuit, and reviewed and approved the complaint (or in the case of
25    Ms. Thimot and Ms. Marika Walton, the Second Amended Complaint). My co-counsel
26    and I have kept all of them up to date on a regular basis on the progress of the case and the
27    Settlement. They have all made themselves available when called upon, including with
28    regards to reviewing and approving the Settlement.
                                                 10
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 1            33.      The work described above has been undertaken by Mr. Almadani, me (and
 2    our respective firms), and Mr. Wang, an experienced attorney of more than 10 years from
 3    whom we have received significant assistance in prosecuting this case. The three of us
 4    have taken on this case on a contingency basis at significant risk. We have already put in
 5    countless hours to prosecute the nationwide class claims asserted in this case (which began
 6    with the nationwide claims asserted in the Khan Litigation) and address all the obstacles
 7    described above. Based on the more than 30 years of collective experience between Mr.
 8    Almadani and me, which includes litigation of complex commercial cases and class
 9    actions, we estimate that if the case does not result in a final binding settlement and we
10    have to continue to litigation, litigation costs would likely fall between $500,000 to
11    $1,000,000.
12            34.      Together with Mr. Almadani of Almadani Law, I believe we are more than
13    capable of fairly and adequately representing the interests of Plaintiffs and the putative
14    classes, of vigorously prosecuting the claims in this class action litigation, and of devoting
15    the financial resources necessary to successfully litigate this case. Mr. Almadani and I
16    have worked tirelessly, and continue to work, to diligently to protect the interests of
17    Plaintiffs and the putative classes.
18                                   THE SETTLEMENT NEGOTIATIONS
19            35.      Attached hereto as Exhibit 1 is a true and correct copy of the Class Action
20    Settlement Agreement and Release (the “Settlement”) fully executed by the parties and
21    counsel. Below is a summary of the negotiations that ultimately led to the Settlement.
22            36.      The parties had commenced settlement negotiations in the Khan Litigation
23    by agreeing to private mediation before the Honorable Irma Gonzalez (Ret.) from the U.S.
24    District Court for the Southern District of California. A detailed synopsis of all the
25    painstaking efforts that went into negotiating the settlement in that case are set forth in my
26    declaration in support of our motion for preliminary approval of class settlement filed in
27    the Khan Litigation. Just by way of summary, we, along with defense counsel, initially
28    participated in four separate mediation sessions with Judge Gonzalez. After a general
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 1    framework for a potential settlement was laid at these initial sessions, we met with defense
 2    counsel in person and began an ongoing and regular dialogue where we negotiated
 3    intensely all the detailed and intricate aspects of the settlement, provision by provision.
 4    These direct negotiations with defense counsel occurred over eight (8) months in dozens
 5    of video conferences and phone calls. We then reengaged Judge Gonzalez for a final
 6    mediation session on May 4, 2022, where we finalized the settlement agreement, leading
 7    to its final execution by the parties on May 20, 2022.
 8            37.      As we did in the Khan Litigation, the parties again enlisted the assistance of
 9    Judge Gonzalez to assist us with regards to settling this action. Along with defense
10    counsel, we initially participated in an in-person mediation session with Judge Gonzalez
11    on October 4, 2022 at the JAMS office in San Diego. Although the case did not settle at
12    that time, a framework for a potential settlement was laid at this initial session.
13            38.      The parties then agreed to participate in a second mediation session with
14    Judge Gonzalez on November 15, 2022, at which time we reached agreement in principle
15    on the material terms of the settlement that is now being presented to the Court. In
16    reaching the Settlement Agreement, as we did in the Khan Litigation, we were careful to
17    negotiate the material terms of the settlement covering benefits for the class prior to
18    negotiating class counsel’s fees and costs.                     Specifically, Mr. Almadani and I were
19    persistent in making sure Defendants agreed to the identical material terms and conditions
20    they agreed to in the Khan Litigation, including most importantly with regards to the
21    monetary benefits of the $10 Gift Card with complimentary shipping, for all purchasers
22    from the 49 states and U.S. territories outside of California. It was not until Defendants
23    agreed to these same terms, conditions, and benefits from the Khan Litigation for the
24    putative class members in this action that we commenced negotiating attorneys’ fees and
25    service awards for the class representatives in this case.
26            39.      After the second mediation with Judge Gonzalez, the parties engaged in
27    numerous direct communications by videoconference, phone, and e-mail to negotiate and
28    finalize all the detailed and intricate aspects of the Settlement, beginning with a
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 1    memorandum of understanding delineating the material terms of the parties’ agreement,
 2    and ending on April 6, 2023, with a final signed Settlement Agreement.
 3            40.      As described above, we had already conducted extensive discovery relating
 4    to the nationwide claims and business activities of Defendants in the Khan Litigation that
 5    could be used to benefit this litigation. Nevertheless, because the end-date of the class
 6    period in this action post-dated the Court’s preliminary approval order in the Khan
 7    Litigation, we sought to update the financial data, promo calendars, and other information
 8    pertinent to the Settlement and to confirm that the information and data discovered in the
 9    Khan Litigation continued to apply to this action. On March 8, 2023, I sent a letter
10    requesting additional and updated documents and data. Over the next several weeks,
11    defense counsel complied with our requests.
12            41.      On March 23, 2023, Mr. Almadani and I conducted a comprehensive
13    interview of Boohoo Group’s Chief Financial Officer (Neil Catto) from the United
14    Kingdom to go over the additional information provided by defense counsel. The
15    information obtained from the documents produced by Defendants and the interview
16    ultimately resulted in the Stipulation in Support of Motion for Preliminary Approval of
17    Class Settlement concurrently filed with the Court herewith.
18            42.      As set forth in section 2.4(a) of the Settlement, Defendants agree to pay all
19    costs associated with settlement administration up to a maximum amount of $1,000,000.
20    This amount is based on an estimate prepared by Kurtzman Carlson Consultants LLC
21    (“KCC”), the class administrator that has been selected to administer this settlement by
22    executing the notice and administration plan set forth in the Settlement.
23            43.      Other than the Settlement, no other agreement exists that would be required
24    to be identified under Rule 23(e)(3).
25             OTHER EVIDENCE SUBMITTED IN SUPPORT OF THE MOTION
26            44.      Attached hereto as Exhibit 2 is a true and correct copy of the Notice of
27    Deposition of Boohoo.com USA, Inc., Boohoo.com UK Limited, Boohoo Group PLC,
28    PrettyLittleThing.com USA Inc., PrettyLittleThing.com Limited, NastyGal.com USA
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 1    Inc., and Nasty Gal Limited Pursuant to Rule 30(b)(6). This was served electronically
 2    upon the Defendants in the Khan Litigation on January 24, 2022. Defendants designated
 3    Nicki Capstick and Jonathan Haycock as their corporate representatives relating to certain
 4    of the topics on behalf of PrettyLittleThing, and designated Murray Beckett and Samuel
 5    Brocklebank as to certain of the topics on behalf of Boohoo/BoohooMAN and Nasty Gal.
 6    Other topics from the notice were covered in witness interviews we conducted of other
 7    individuals designated by Defendants.
 8            45.      Attached hereto as Exhibit 3 are true and correct copies of excerpts from the
 9    transcript of the Rule 30(b)(6) deposition of Nicki Capstick, which occurred on January
10    28, 2022. This includes the face page, oath page, court reporter’s signature page, and the
11    witness’ signed errata page.
12            46.      Attached hereto as Exhibit 4 are true and correct copies of excerpts from the
13    transcript of the Rule 30(b)(6) deposition of Jonathan Haycock, which occurred on January
14    31, 2022. This includes the face page, oath page, court reporter’s signature page, and the
15    witness’ signed errata page.
16            47.      Attached hereto as Exhibit 5 are true and correct copies of excerpts from the
17    transcript of the Rule 30(b)(6) deposition of Murray Beckett, which occurred on February
18    1, 2022. This includes the face page, oath page, court reporter’s signature page, and the
19    witness’ signed errata page.
20            48.      Attached hereto as Exhibit 6 are true and correct copies of excerpts from the
21    transcript of the Rule 30(b)(6) deposition of Samuel Brocklebank, which occurred on
22    February 3, 2022. This includes the face page, oath page, court reporter’s signature page,
23    and the witness’ signed errata page.
24            49.      Attached hereto as Exhibit 39 is a true and correct copy of a product display
25    page from the PLT U.S. Website, which was authenticated as Exhibit 39 at the Rule
26    30(b)(6) corporate representative deposition of Nicki Capstick.
27            50.      Attached hereto as Exhibit 42 is a true and correct copy of a product display
28    page from the PLT U.S. Website, which was authenticated as Exhibit 42 at the Rule
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 1    30(b)(6) corporate representative deposition of Nicki Capstick.
 2            51.      Attached hereto as Exhibit 43 is a true and correct copy of a spreadsheet
 3    produced by Defendants in discovery as D00000013, which is the PLT Promo Calendar
 4    for 2016. Defendants stipulated that this document is a business record and is authentic at
 5    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
 6            52.      Attached hereto as Exhibit 44 is a true and correct copy of a spreadsheet
 7    produced by Defendants in discovery as D00000010, which is the PLT Promo Calendar
 8    for 2017. Defendants stipulated that this document is a business record and is authentic at
 9    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
10            53.      Attached hereto as Exhibit 45 is a true and correct copy of a spreadsheet
11    produced by Defendants in discovery as D00000011, which is the PLT Promo Calendar
12    for 2018. Defendants stipulated that this document is a business record and is authentic at
13    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
14            54.      Attached hereto as Exhibit 46 is a true and correct copy of a spreadsheet
15    produced by Defendants in discovery as D00000012, which is the PLT Promo Calendar
16    for 2019. Defendants stipulated that this document is a business record and is authentic at
17    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
18            55.      Attached hereto as Exhibit 48 is a true and correct copy of a spreadsheet
19    produced by Defendants in discovery as D00000014, which is the PLT Promo Calendar
20    for 2020. Defendants stipulated that this document is a business record and is authentic at
21    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
22            56.      Attached hereto as Exhibit 49 is a true and correct copy of a spreadsheet
23    produced by Defendants in discovery as D00546058, which is the PLT Promo Calendar
24    for 2021. Defendants stipulated that this document is a business record and is authentic at
25    the Rule 30(b)(6) corporate representative deposition of Nicki Capstick.
26            57.      Attached hereto as Exhibit 49A is a true and correct copy of a spreadsheet
27    produced by Defendants in discovery as D00546192, which is the PLT Promo Calendar
28    for the portion of 2022 from January up through at least the end of the class period on June
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 1    17, 2022. Defendants agreed at the interview of Mr. Catto on March 23, 2022 that the
 2    information in this document accurately captures the sales and promotions advertised on
 3    https://prettylittlething.us on the dates set forth in the spreadsheet.
 4            58.      Attached hereto as Exhibit 71 is a true and correct copy of a spreadsheet
 5    produced by Defendants in discovery as D00082505, which is the BoohooMAN USA
 6    Promo Calendar for 2017 through 2020. Defendants stipulated that this document is a
 7    business record and is authentic at the Rule 30(b)(6) corporate representative deposition
 8    of Murray Beckett.
 9            59.      Attached hereto as Exhibit 72 is a true and correct copy of a spreadsheet
10    produced by Defendants in discovery as D00000126, which is the Boohoo USA Promo
11    Calendar for 2016 through 2020. Defendants stipulated that this document is a business
12    record and is authentic at the Rule 30(b)(6) corporate representative deposition of Murray
13    Beckett.
14            60.      Attached hereto as Exhibit 73 is a true and correct copy of a spreadsheet
15    produced by Defendants in discovery as D00001131, which is the Nasty Gal USA Promo
16    Calendar for 2017 through 2020. Defendants stipulated that this document is a business
17    record and is authentic at the Rule 30(b)(6) corporate representative deposition of Murray
18    Beckett.
19            61.      Attached hereto as Exhibit 74 is a true and correct copy of a spreadsheet
20    produced by Defendants in discovery as D00082505, which is the Boohoo and Nasty Gal
21    USA Promo Calendar for 2021. Defendants stipulated that this document is a business
22    record and is authentic at the Rule 30(b)(6) corporate representative deposition of Murray
23    Beckett.
24            62.      Attached hereto as Exhibit 74A is a true and correct copy of a spreadsheet
25    produced by Defendants in discovery as D00546189, which is the Boohoo USA Promo
26    Calendar for March 8, 2021 through at least the end of the class period on June 17, 2022.
27    Defendants agreed at the interview of Mr. Catto on March 23, 2022 that the information
28    in this document accurately captures the sales and promotions advertised on
                                           16
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 1    https://us.boohoo.com on the dates set forth in the spreadsheet.
 2            63.      Attached hereto as Exhibit 74B is a true and correct copy of a spreadsheet
 3    produced by Defendants in discovery as D00546190, which is the BoohooMAN USA
 4    Promo Calendar for 2021 through at least the end of the class period on June 17, 2022.
 5    Defendants agreed at the interview of Mr. Catto on March 23, 2022 that the information
 6    in this document accurately captures the sales and promotions advertised on
 7    https://boohooman.com/us on the dates set forth in the spreadsheet.
 8            64.      Attached hereto as Exhibit 74C is a true and correct copy of a spreadsheet
 9    produced by Defendants in discovery as D00546191, which is the Nasty Gal USA Promo
10    Calendar for 2022 from the beginning of the year through at least the end of the class
11    period on June 17, 2022. Defendants agreed at the interview of Mr. Catto on March 23,
12    2022 that the information in this document accurately captures the sales and promotions
13    advertised on https://us.boohoo.com on the dates set forth in the spreadsheet.
14            65.      Attached hereto as Exhibit 134 is a true and correct copy of a thumbnail
15    display of products from the NG U.S. Website, which was authenticated as Exhibit 134 at
16    the Rule 30(b)(6) corporate representative deposition of Murray Beckett.
17            66.      Attached hereto as Exhibit 140 is a true and correct copy of a home landing
18    page from the BH U.S. Website, which was authenticated as Exhibit 142 at the Rule
19    30(b)(6) corporate representative deposition of Murray Beckett.
20            67.      Attached hereto as Exhibit 156 is a true and correct copy of a product display
21    page from the BH U.S. Website, which was authenticated as Exhibit 156 at the Rule
22    30(b)(6) corporate representative deposition of Samuel Brocklebank.
23            68.      Attached hereto as Exhibit 158 is a true and correct copy of a product display
24    page from the NG U.S. Website, which was authenticated as Exhibit 158 at the Rule
25    30(b)(6) corporate representative deposition of Samuel Brocklebank.
26            69.      Attached hereto as Exhibit 159 is a true and correct copy of a product display
27    page from the BoohooMAN U.S. Website, which was authenticated as Exhibit 159 at the
28    Rule 30(b)(6) corporate representative deposition of Samuel Brocklebank.
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 1            I declare under penalty of perjury under the laws of the United States of America
 2    that the foregoing is true and correct. Executed on this 10th day of April 2023.
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                                                               Ahmed Ibrahim
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                        EXHIBIT 1
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                CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE


 THIS CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE (“Agreement”) is
 entered into by and between Plaintiffs Laura Habberfield, Keona Kalu, Katie Runnells, Juanita
 Carmet Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy, Nicole Hill,
 Nicole Stewart, Me’Lisa Thimot, and Marika Walton individually, and in their respective capacity on
 behalf of the Settlement Class (collectively “Plaintiffs”), on the one hand, and Defendants Boohoo
 Group PLC (“Boohoo Group”), Boohoo.com USA, Inc., Boohoo.com UK Limited (“Boohoo
 Defendants”), Prettylittlething.com USA, Inc., Prettylittlething.com Limited (“PLT Defendants”),
 NastyGal.com USA, Inc., and Nasty Gal Limited (“Nasty Gal Defendants”) (collectively
 “Defendants”), on the other hand, (collectively referred to as the “Parties” or singularly “Party”) to
 effect the Settlement set forth herein, subject to Court approval.

                                              RECITALS

     A. On June 7, 2022, Plaintiffs filed a class action lawsuit in the United States District Court
        for the Central District of California (“District Court”) styled Laura Habberfield et al. v.
        Boohoo.com USA, Inc., et al., Case No. 2:22-cv-03899 GW (JEMx), as amended by a First
        Amended Class Action Complaint filed on June 22, 2022 (the “Habberfield Action”) against
        Defendants on behalf of a class of all individuals in the United States, excluding California,
        who purchased one or more “boohoo” products from the websites https://us.boohoo.com and
        https://www.boohooman.com/us/ or associated mobile phone applications (“Boohoo U.S.
        Websites”) between April 9, 2016, through June 17, 2022; or who purchased one or more
        “PrettyLittleThing” products from the website https://prettylittlething.us or associated
        mobile phone application(s) (“PLT U.S. Website”) between May 19, 2016 through June 17,
        2022; or who purchased one or more “Nasty Gal” products from the website
        https://nastygal.com or associated mobile phone application(s) (“Nasty Gal U.S. Website”)
        between March 1, 2017, through the June 17, 2022, at a purportedly discounted price and
        have not returned those purchases for a refund or store credit.
     B. On June 13, 2022, the Habberfield Action was transferred to Judge Wu as a related case to
        Farid Khan v. Boohoo.com USA, Inc., et al., Case No. 2:20-cv-03332 GW (JEMx) (the
        “Khan Action”), Haya Hilton v. Prettylittlething.com USA Inc., et al., Case No.: 2:20-cv-
        004658 GW (JEMx) (the “Hilton” Action), and Olivia Lee v. NastyGal.com USA, Inc., et
        al., Case No.: 2:20-cv-004659 GW (JEMx) (the “Lee” Action) (collectively, the “Khan
        Consolidated Actions”) pursuant to General Order 21-01.
     C. On September 2, 2022, the Court consolidated the Khan Consolidated Actions and the
        Habberfield Action for pretrial purposes.
     D. On October 4, 2022, the Parties engaged in an in-person mediation session in an effort to
        resolve the Habberfield Action with the Hon. Irma E. Gonzales (Ret.) of JAMS, Inc. While
        the Parties made progress regarding a possible framework for a settlement, a settlement
        was not reached at that time.
     E. On November 15, 2022, the Parties engaged in an additional half-day mediation session
        to continue their settlement discussions, which ultimately resulted in a proposed
        resolution of the Habberfield Action for memorialization of the settlement terms in a
        written Agreement. Furthermore, while the Parties agreed that the discovery conducted in
        the Khan Consolidated Actions largely overlaps with and is applicable to the Habberfield



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        Action and the Habberfield Action could not have settled without it, the Parties agreed
        that Plaintiffs would conduct supplemental discovery for due diligence purposes and
        Defendants would cooperate with this effort as agreed to by the Parties.
     F. On June 3, 2022, the Court entered an order preliminarily approving settlement of the
        Khan Consolidated Actions, which provided settlement benefits to a class consisting of
        Defendants’ customers in California only and further provided for changes to the Boohoo
        U.S. Websites, the Nasty Gal U.S. Website, and the PLT U.S. Website (“Khan
        Settlement”). On December 19, 2022, the Court held a final approval hearing for the
        Khan Settlement and granted final approval of the Khan Settlement.
     G. This agreement memorializes the terms of the Parties’ settlement, which is intended to
        fully and finally resolve the claims of the nationwide class members in the 49 states, or a
        commonwealth or territory of the United States, other than California, as defined below
        as the “Settlement Class” or the “Settlement Class Members.”
     H. Plaintiffs and their counsel believe that the claims asserted in the Habberfield Complaint in
        the Habberfield Action have merit. Defendants have denied, and continue to deny, any and
        all allegations of wrongdoing, liability or damages to any person whatsoever alleged in the
        Khan Consolidated Actions and Habberfield Action, and believe the claims asserted by
        Plaintiffs are wholly without merit. Nonetheless, the Parties have concluded that litigation
        could be protracted and expensive, and desire that the Habberfield Action relating to the
        nationwide class members (excluding California) be fully and finally settled in the manner
        and upon the terms and conditions set forth herein in order to, among other things, limit
        further expense, inconvenience, and risk and to avoid the costs of litigation and trial and
        settle and dispose of, fully and completely and forever, any and all claims or causes of
        action alleged in the Habberfield Action relating to all nationwide class members
        (excluding California). The Parties also have considered the risks of continued litigation
        and the benefits of the proposed Agreement, and have considered the costs, risks, and
        delays associated with the prosecution of this complex and time-consuming litigation, as
        well as the likely appeals of any rulings in favor of either Plaintiffs or Defendants.
     I. Following settlement of the Habberfield Action and the Khan Consolidated Actions, the
        Parties intend that all potential claims arising from Defendants’ pricing practices on the
        Boohoo U.S. Websites, the Nasty Gal U.S. Website, and the PLT U.S. Website as
        described in the Complaints for these matters have been finally compromised and settled.

                                           AGREEMENT

  NOW, THEREFORE, in consideration of the covenants and agreements set forth herein,
  Plaintiffs, on behalf of themselves and the Settlement Class, and Defendants, hereby stipulate to
  the resolution of the Habberfield Action, subject to Court approval, under the following terms and
  conditions:

     1. DEFINITIONS. In addition to the definitions included in the Recitals above, and in later
        sections of this Agreement, the following shall be defined terms for purposes of this
        Agreement. Some of the definitions in this section use terms that are defined later in the
        section. All defined terms are capitalized:

         1.1 As used herein, the term “Settlement Administrator” means a third-party settlement
             administrator to administer the notice, exclusions, objections, and settlement relief
             distribution process provided for in the Agreement. Plaintiffs shall choose and retain
             the Settlement Administrator and Defendants shall retain the right to audit and review



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            the work of the Settlement Administrator. The Settlement Administrator must meet
            Defendants’ data security requirements, execute Exhibit A to the Protective Order in
            the Habberfield Action, and execute a retention agreement that includes data security
            requirements. The Settlement Administrator may be removed and replaced by
            agreement of the Parties or by order of the Court.

       1.2 As used herein, the term “Settlement Administrator Costs” means all costs of the
           Settlement Administrator, including, but not limited to, the cost of providing notice to
           the Settlement Class and administering the terms set forth in this Agreement related to
           the distribution of compensation to Settlement Class Members and tracking opt-out
           requests consistent with this Agreement. Defendants shall pay all Settlement
           Administrator Costs up to a maximum amount of $1,000,000.00. Defendants shall
           retain the right to audit and review the Settlement Administrator Costs but shall not
           limit, dictate, or withhold payment for costs defined as Settlement Administrator
           Costs up to the above stated maximum amount.

       1.3 As used herein, the terms “Settlement Class” and “Settlement Class Members” mean
           the following: All individuals in the 49 states, other than California, including the
           District of Columbia, Guam, Puerto Rico, American Samoa, U.S. Virgin Islands, and
           Northern Mariana Islands, who made a purchase on the Boohoo U.S. Websites, the
           PLT U.S. Website, and the Nasty Gal U.S. Website during the Class Period.

       1.4 As used herein, the term “Class List” means the list of the names of the Settlement
           Class Members, the website(s) from which they made a Qualifying Purchase, their e-
           mail addresses, their phone numbers, and their physical mailing addresses (all to the
           extent known).

       1.5 As used herein, the term “Class Member ID” means a unique identifying code
           assigned to each Settlement Class Member by the Settlement Administrator.

       1.6 As used herein, the term “Class Period” means the following:
           1.6.1 For the Boohoo U.S. Websites, from April 1, 2016, through June 17, 2022, the
                 date Defendants made changes to their websites in accordance with the Khan
                 Settlement and as agreed upon by the Parties under Section 2.10 of this
                 Agreement to be implemented and maintained across all the territories
                 referenced above in Section 1.3.
           1.6.2 For the PLT U.S. Website, from April 1, 2016, through June 17, 2022, the
                 date Defendants made changes to their websites in accordance with the
                 Khan Settlement and as agreed upon by the Parties under Section 2.10 of
                 this Agreement to be implemented and maintained across all the
                 territories referenced above in Section 1.3.
           1.6.3 For the Nasty Gal U.S. Website, from February 28, 2017, through June 17,
                 2022, the date Defendants made changes to their websites in accordance with
                 the Khan Settlement and as agreed upon by the Parties under Section 2.10 of
                 this Agreement to be implemented and maintained across all the territories
                 referenced above in Section 1.3.

       1.7 As used herein, the term “Class Released Claims” means all manner of actions,
           causes of action, claims, demands, rights, suits, obligations, debts, contracts,


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            agreements, promises, liabilities, damages, charges, penalties, losses, costs,
            expenses, and attorneys’ fees, in law or equity, fixed or contingent, known or
            unknown, which Settlement Class Members have or may have, arising out of or
            relating to any of the acts, omissions or other conduct by Defendants alleged or
            otherwise referred to in the Complaint in the Habberfield Action. This Agreement
            does not bind any persons or class members outside of the Settlement Class
            Members as defined in Section 1.3.

       1.8 As used herein, the term “Class Releasors” means all Settlement Class Members
           who do not timely and sufficiently request to be excluded from the proposed
           Settlement, and each of their respective successors, assigns, legatees, heirs, and
           personal representatives.

       1.9 As used herein, the term “Defendants” or “Released Parties” means the named
           Defendants in the Habberfield Action and all direct and indirect subsidiaries,
           affiliates, parent companies, holding companies or other companies or business
           entities owned or controlled by any of the named Defendants in the Habberfield
           Action that are specifically related to the brands boohoo, boohooMan,
           PrettyLittleThing, and NastyGal. To the extent Defendant Boohoo Group PLC or
           any of its subsidiaries owns, operates, or otherwise controls any business entities that
           sell brands other than the brands listed above, those brands, companies, subsidiaries,
           and/or business entities are not included within the definition of “Defendants.”

       1.10 As used herein, the term “Defendants’ Counsel” means the law firm of Eversheds
            Sutherland (US) LLP.

       1.11 As used herein, the term “Email Notice” means the legal notice summarizing the
            proposed terms of this Agreement, as approved by Class Counsel, Defendants’
            Counsel, and the Court, to be provided to Settlement Class Members under Sections
            3.2 through 3.4 of this Agreement via electronic mail. The Email Notice shall be
            substantially similar to the form attached as Exhibit B.

       1.12 As used herein, the term “Fairness Hearing” means the final hearing(s) to be held
            by the Court to consider and determine whether the Agreement should be approved
            as fair, reasonable, and adequate, and whether the Final Order and Judgment
            approving the Agreement should be entered.

       1.13 As used herein, the term “Final Order and Judgment” means the Court’s grant of
            final approval of the Agreement following the Fairness Hearing. The proposed Final
            Order and Judgment that Plaintiffs submit to the Court for its approval shall be
            substantially similar to the form attached as Exhibit H.

       1.14 As used herein, the term “Final Settlement Date” means the date on which the latest
            of the following events occurs: (i) if there are no objections filed by any Settlement
            Class Member, the date the Court has entered the Final Order and Judgment; (ii) the
            expiration of the time for filing an appeal if there are any objections filed by any
            Settlement Class Member that were not voluntarily withdrawn or dismissed and no
            timely appeal has been filed; (iii) in the event that there are any objections that have



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            been filed by any Settlement Class Member and an appeal or other effort to obtain
            review has been initiated, the date after any and all such appeals or other review(s)
            have been finally concluded or dismissed in favor of the Final Order and Judgment,
            any mandates have been returned to the Court, and the Final Order and Judgment is no
            longer subject to review, whether by appeal, petitions for rehearing, petitions for
            rehearing en banc, petitions for certiorari, or otherwise; or (iv) the withdrawal of the
            last objection to the Settlement.

       1.15 As used herein, the term “Full Notice” means the full legal notice of the proposed
            Agreement terms, as approved by Class Counsel, Defendants’ counsel, and the Court,
            to be provided to Settlement Class Members under Sections 3.2 through 3.4 of this
            Agreement. The Full Notice shall be substantially similar to the form attached as
            Exhibit C.

       1.16 As used herein, the term “Gift Card” means a single-use Gift Card as further defined
            in Section 2.1(a).

       1.17 As used herein, the term “Named Plaintiffs” means Plaintiffs Laura Habberfield,
            Keona Kalu, Katie Runnells, Juanita Carmet Cachadina, Sarah Huebner, Yesenia
            Valiente, Veronica Walton, Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa
            Thimot, and Marika Walton, both in their individual capacities and as a
            representative of their respective Settlement Class.

       1.18 As used herein, the terms “Plaintiffs’ Counsel” and “Class Counsel” mean
            Almadani Law and AI Law, PLC.

       1.19 As used herein, the term “Preliminary Approval Order” means the order
            provisionally certifying the Settlement Class for settlement purposes only, approving
            and directing notice, and setting the Fairness Hearing. The proposed Preliminary
            Approval Order that Plaintiffs submit to the Court for its approval shall be
            substantially similar to the form attached as Exhibit A.

       1.20 As used herein, the term “Preliminary Fairness Hearing” means the preliminary
            hearing(s) to be held by the Court to consider and determine whether the Agreement
            should be approved as fair, reasonable, and adequate, and whether the Preliminary
            Approval Order approving the Agreement should be entered.

       1.21 As used herein, the term “Publication Notice” means the legal notice summarizing
            the proposed Agreement terms, as approved by Class Counsel, Defendants’ Counsel,
            and the Court, to be provided to Settlement Class Members via publication in the USA
            Today digital edition once a week for four consecutive weeks pursuant California
            Civil Code Section 1781(d) and (e) and Government Code Section 6064. The
            Publication Notice shall be substantially similar to the form attached as Exhibit D.

       1.22 As used herein, the term “Qualifying Purchase” means the purchase of any product
            by a Settlement Class Member from the Boohoo U.S. Websites, the PLT U.S.
            Website, or the Nasty Gal U.S. Website within the Class Period.




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       1.23 As used herein, the term “Unknown Claims” means with respect to the Class
            Released Claims only, the unknown claims referenced in Section 1.7 of this
            Agreement. Plaintiffs and the Class Members expressly waive and relinquish, to
            the fullest extent permitted by law, the provisions, rights and benefits of Section
            1542 of the California Civil Code, or any other similar provision under federal
            or state law, which provides:
            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
            SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
            EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
            HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
            SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.
       1.24 As used herein, the term “Settlement” means the settlement of the Habberfield
            Action and related claims effectuated by this Agreement.

       1.25 As used herein, the term “Settlement Website” means the website that shall be
            created for settlement administration purposes and administered by the Settlement
            Administrator at a URL to be jointly approved by the Parties.

                                     2. SETTLEMENT TERMS.

       2.1 Award to the Class. Each Settlement Class Member who does not timely opt out
           consistent with the terms of Section 3.9 herein, shall automatically receive one
           $10.00 Gift Card for each of the Boohoo U.S. Websites, the PLT U.S. Website, or the
           Nasty Gal U.S. Website from which one or more Qualifying Purchases were made
           during the Class Period.

            (a) Characteristics of the Gift Cards.

                 i.   Value. The Gift Card may be used for $10.00 toward any
                      purchase of merchandise on the U.S. website from which a
                      Settlement Class Member made one or more Qualifying
                      Purchases. For example, if a Settlement Class Member made
                      one or more Qualifying Purchases on the PLT U.S. Website,
                      then the Class Member will receive one Gift Card for use on
                      the PLT U.S. Website only toward a purchase on that
                      website. Customers of the boohooman.com/us/ website will
                      receive a Gift Card for redemption on the us.boohoo.com
                      website, which carries products for both brands -
                      BoohooMAN and Boohoo. Furthermore, consistent with the
                      shipping and handling provision below, Settlement Class
                      Members will also receive a waiver of Defendants’
                      customary shipping and handling charges, which on average
                      have historically amounted to $7.45 per order across the U.S.
                      Websites implicated in this Action during the class period,
                      for an additional benefit to each class Member of $7.45.




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              ii.   No Requirement for Claim to be Filed. There is no
                    requirement for a claim to be filed as Settlement Class
                    Members who do not timely opt out of the class settlement
                    shall automatically receive a Gift Card by electronic means.

             iii.   No Expiration Date and No Reversion to Defendants. The
                    Gift Cards do not have an expiration date. Defendants shall
                    not cancel the Gift Cards or revert the Gift Cards back to
                    Defendants.

             iv.    No Minimum Purchase Requirement. The Gift Cards will not
                    have a minimum purchase requirement meaning that a
                    customer need not make any minimum purchase in order to
                    use a Gift Card. In other words, a Settlement Class Member
                    may purchase any item or combination of items for up to
                    $10.00 in one transaction without incurring any out-of-
                    pocket expense or use the $10.00 toward an item or
                    combination of items that is greater than $10.00.

              v.    Multiple Gift Cards Permitted. The Settlement Class
                    Members for each set of Defendants shall be counted
                    independently. For example, if a Settlement Class Member
                    made a Qualifying Purchase during the Class Period from the
                    Boohoo U.S. Websites, from the PLT U.S. Website, and
                    from the Nasty Gal U.S. Website, that Settlement Class
                    Member would be entitled to a total of three (3) Gift Cards.
                    A Settlement Class Member may only receive one Gift Card
                    per brand (with BoohooMAN and Boohoo counting as a
                    single brand) and may only use the Gift Card on the website
                    where the Qualifying Purchase was made. For example, a
                    Gift Card issued for use on the PLT U.S. Website may only
                    be used on the PLT U.S. Website and not be used on the
                    Boohoo U.S. Websites, Nasty Gal U.S. Website, nor any
                    other website owned or operated by Defendants or their
                    subsidiaries.

             vi.    No Blackout Dates. The Gift Cards can be used on any
                    date; there are no blackout dates on which the Gift Cards
                    cannot be used.

             vii.   No Restriction on Use with Other Offer or Promotion. The
                    Gift Cards shall not have any restrictions on use with other
                    offers, discounts, or promotions.

            viii.   No Restriction on Transferability. The Gift Cards will be
                    freely transferable. Settlement Class Members who receive a
                    Gift Card may give their Gift Card to someone else.

             ix.    Stackability Permitted. The Gift Cards shall be fully



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                   stackable. To use more than one Gift Card on a single
                   transaction, the Settlement Class Member or user must
                   surrender the multiple Gift Cards to the Settlement
                   Administrator to obtain a new Gift Card code in the total
                   amount of the surrendered Gift Cards. The Settlement
                   Administrator, together with Defendants, shall ensure that
                   Settlement Class Members’ ability to stack the gift cards is
                   as seamless and instantaneous as possible, and not impeded
                   in any way unless an investigation is triggered pursuant to
                   the $500 fraud-prevention-triggering limit identified below.
                   Eight (8) years after entry of the Final Approval Order,
                   Defendants shall assume the responsibility to stack the Gift
                   Cards upon a Settlement Class Member’s request made to
                   Defendants’ customer service department. Forty-five (45)
                   days prior to the commencement of Defendants’ assumption
                   of this responsibility, the Settlement Administrator shall
                   contact Defendants and make arrangements for a smooth
                   transition.

              x.   Fraud and Commercial Activity Prevention on Stackability.
                   Because the Gift Cards are intended for personal use and
                   because the Parties would like to prevent fraud, Defendants
                   shall engage the Settlement Administrator to prevent the use
                   of Gift Cards resulting from the accumulation of a substantial
                   and unusually high number of Gift Cards through fraud or
                   commercial activity. Defendants, however, may trigger a
                   fraud or commercial activity investigation by the Settlement
                   Administrator only where a transaction has a stacking value
                   of $500 or more. The administration of and decisions on the
                   prohibitions on fraud or commercial activity shall be solely
                   in the discretion of the Settlement Administrator with no
                   interference from Defendants consistent with Section 3.7.

             xi.   Payment for Shipping and Handling Waived. There will be
                   no requirement for Settlement Class Members to pay any
                   shipping charges when a Gift Card is used. However,
                   because Defendants do not normally offer free shipping, and
                   shipping charges are customarily applied by Defendants,
                   Class Members will have one transaction to use a Gift Card.
                   Any unused value would apply to shipping and handling that
                   is otherwise waived. Therefore, if a Settlement Class
                   Member uses a $10 Gift Card to purchase product(s) for a
                   total of $10 before shipping and handling, all shipping and
                   handling charges will be waived, and that Settlement Class
                   Member would receive the item(s) without having to pay
                   anything out of pocket. If, for example, the Settlement Class
                   Member uses a $10 Gift Card to purchase product(s) for a
                   total of $8 before shipping and handling, all shipping and
                   handling charges except $2 will be waived, and that


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                      Settlement Class Member would receive the item(s) without
                      having to pay anything out of pocket. Finally, if, for
                      example, the Settlement Class Member uses a $10 Gift Card
                      to purchase product(s) for a total of $15 before shipping and
                      handling, all shipping and handling charges will be waived,
                      and that Settlement Class Member would receive the item(s)
                      having paid $5 out of pocket for the charges for the
                      product(s) in excess of the $10 Gift Card.

              xii.    No Fees. There will be no fees on the Gift Card for
                      inactivity or for any other reason.

              xiii.   No Cash Redemption But Replacement Allowed. The Gift
                      Cards are only redeemable for the purchase of merchandise
                      on Defendants’ websites, and shall not be redeemable for
                      cash or new gift cards. However, a lost Gift Card may be
                      replaced upon request to the Settlement Administrator,
                      pursuant to which the Settlement Administrator shall replace
                      the Gift Card at no cost to the Settlement Class Member by
                      emailing to the Settlement Class Member a duplicate copy of
                      the Gift Card referenced in Section 2.2 below. Eight (8)
                      years after entry of the Final Approval Order, Defendants
                      shall assume the responsibility of Gift Card replacement at
                      no cost to the Settlement Class Members by emailing to any
                      Settlement Class Member a duplicate copy of the Gift Card
                      referenced in Section 2.2 below upon the Settlement Class
                      Member’s request made to Defendants’ customer service
                      department. Forty-five (45) days prior to the commencement
                      of Defendants’ assumption of this responsibility, the
                      Settlement Administrator shall contact Defendants and make
                      arrangements for a smooth transition.

       2.2 Distribution. Each class member who does not elect to opt out shall automatically
           receive a Gift Card from Defendants with no requirement for a claim to be filed. The
           Gift Cards will be distributed according to the provisions in Section 3.4 below.

       2.3 Incentive Awards to Named Plaintiffs. The Parties acknowledge that the Named
           Plaintiffs must move the Court for approval of any incentive award (the “Incentive
           Awards”) in recognition of their efforts and activities in furtherance of both the
           litigation and this Agreement. Each Named Plaintiff agrees they will not seek an
           Incentive Award of greater than $1,500.00. Defendants agree not to oppose a request
           by Named Plaintiffs for such Incentive Awards. Named Plaintiffs further agree that, in
           any event, Defendants will not be obligated to pay any Incentive Award in excess of
           $1,500.00 for each Named Plaintiff or in excess of $18,000.00 in total Incentive
           Awards. Incentive Awards shall be payable to the Named Plaintiffs by Defendants, if
           approved by the Court, within fourteen (14) calendar days after all of the following
           events have occurred: (a) the Final Settlement Date, and (b) each of the Named
           Plaintiffs have provided Defendants’ Counsel with a Form W-9 and payment
           instructions. No interest shall be paid on the Incentive Awards. The Parties represent



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            that their negotiation of, and agreement to, the compensation paid to the Named
            Plaintiffs, subject to the Court’s approval, did not occur until after the substantive
            terms of this Agreement had been negotiated and agreed to in principle.

       2.4 Settlement Administrator Costs and Attorneys’ Fees and Costs. The Parties
           acknowledge that there will be certain Settlement Administrator Costs associated
           with the Settlement, including the cost of providing notice to the Class and
           administering the terms set forth in this Agreement related to the distribution of
           compensation to Settlement Class Members and managing opt-out requests and
           objections consistent with this Agreement. The Parties also acknowledge that
           Plaintiffs will move the Court for approval of an award to Class Counsel for
           Attorneys’ Fees and Costs.

               (a) Settlement Administrator Costs. The Parties agree that Defendants shall pay
                   all costs associated with the Settlement Administrator up to a maximum
                   amount of $1,000,000.00. Within ten (10) calendar days of the Court’s entry
                   of the Preliminary Approval Order, Defendants shall make initial payment to
                   the Settlement Administrator of $200,000 to retain the services of the
                   Settlement Administrator, and within (60) calendar days of the Court’s entry
                   of the Preliminary Approval Order, Defendants shall make an additional
                   payment of $290,000 necessary to effectuate the class notice provisions
                   ordered by the Court. Class Counsel will ensure that the Settlement
                   Administrator has supplied Defendants with its Form W-9 prior to the date
                   payment is due. Defendants shall timely make additional payment(s) to the
                   Settlement Administrator as those costs are incurred, and Defendants shall
                   make final payment(s) to the Settlement Administrator after entry of the Final
                   Approval Order. Payments to the Settlement Administrator shall be made by
                   wire to the bank account identified by the Settlement Administrator. Any
                   Settlement Administrator Costs in excess of $1,000,000.00 shall be paid by
                   Class Counsel. Defendants retain the right to audit and review the Settlement
                   Administrator Costs. The Parties agree that Defendants shall in no event be
                   obligated to pay more than $1,000,000.00 in total towards Settlement
                   Administrator Costs. In the event that the Final Settlement Date does not occur,
                   any amounts actually used by the Settlement Administrator for notice and
                   administration shall not be refundable to Defendants and shall remain the
                   responsibility of Defendants. If Defendants have paid for Settlement
                   Administrator costs that the Settlement Administrator has not used or incurred,
                   any such amounts shall be refunded to Defendants.

               (b) Attorneys’ Fees and Costs. The Parties agree that Class Counsel and any other
                   attorney, law firm, expert, vendor, or other third party associated with Class
                   Counsel shall seek an award of no more than $4,197,000.00, in the aggregate,
                   for fees and costs. Defendants agree not to oppose Class Counsel’s request for
                   Attorneys’ Fees and Costs in an amount that does not exceed $4,197,000.00. If
                   the Court approves this Agreement and an award of Attorneys’ Fees and Costs
                   to Class Counsel, Defendants agree to pay the Attorneys’ Fees and Costs
                   approved by the Court to Class Counsel upon the occurrence of all of the
                   following: (a) the Final Settlement Date, and (b) Class Counsel’s delivery to
                   Defendants of a Form W-9 for Almadani Law and AI Law, PLC. Any such



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                  payment shall be made within fourteen (14) calendar days of the occurrence of
                  the later of these events; such payment shall be made in one lump sum to the
                  law firms of Almadani Law and AI Law, PLC, and shall be wired to a bank
                  account identified by Class Counsel or as otherwise instructed by Class
                  Counsel. No interest shall be paid on the Attorneys’ Fees and Costs award.
                  The Parties represent that the amount of the Attorneys’ Fees and Costs to be
                  requested by Class Counsel was negotiated at arm’s-length, and only after
                  agreement was reached on all substantive terms of the Settlement. The Parties
                  agree that Defendants shall in no event be obligated to pay more than
                  $4,197,000.00, in total, towards Attorneys’ Fees and Costs, which does not
                  include the Settlement Administrator Costs referenced in Section 2.4(a) above.
                  Subject to approval by the Court, Class Counsel shall have control over and
                  responsibility to distribute any payment of fees and costs to any other attorney,
                  law firm, expert, vendor, or other third party associated with Class Counsel
                  that may claim entitlement to fees and costs under this Settlement or as a
                  result of the Habberfield Action.

       2.5 No Reversion in Class Counsel’s Attorneys’ Fees and Costs. The Parties agree that
           if the Court awards Class Counsel an amount for Class Counsel’s Attorneys’ Fees and
           Costs which is less than $4,197,000.00, the difference between the amount awarded
           by the Court and $4,197,000.00 will not revert back to Defendants, but shall instead
           be donated to a cy pres recipient organization, which would benefit the class or be
           specifically germane to the issues in the case. Plaintiffs propose that the funds be
           donated to the National Consumer Law Center (NCLC). Defendants propose that the
           funds be donated to the Better Business Bureau (or BBB) National Programs. The
           Parties agree to allow the Court to select which of these two organizations should be
           the cy pres recipient of unawarded Attorneys’ Fees and Costs, if any, or to divide the
           funds equally between the two organizations. If the Court finds that neither
           organization should receive the funds because it would not be beneficial to the class
           or would not be specifically germane to the issues in the case, the Parties agree that
           said funds be donated to an organization independently chosen by the Court.

       2.6 No Tax Advice. Nothing in this Settlement, or statements made during the
           negotiation of its terms, shall constitute tax advice by Plaintiffs or Plaintiffs’ Counsel
           or by Defendants or Defendants’ Counsel. All Parties are responsible to pay the taxes
           they would owe under the respective tax laws. For example, each Plaintiff and
           Settlement Class Member is solely responsible for any taxes, if any, on that particular
           Plaintiff or Settlement Class Member’s recovery under this Settlement.

       2.7 Release to All Settlement Class Members. Upon entry of the Final Order and
           Judgment, Class Releasors shall be deemed to have fully, finally, and forever released
           and discharged all Class Released Claims (including Unknown Claims as defined in
           Section 1.23) against all Released Parties as set forth in the Final Order and Judgment.
           However, this Agreement does not bind any persons or class members outside of the
           Settlement Class Members as defined in Section 1.3.

       2.8 Release by Named Plaintiffs. In addition to the releases made by the Settlement
           Class Members set forth in Sections 1.7 through 1.9 above, effective upon entry of



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            the Final Order and Judgment, the Named Plaintiffs make the additional following
            general release of all past or present claims, known or unknown, relating to the
            Habberfield Action that are the subject of this Agreement, against the Released
            Parties. Upon entry of the Final Order and Judgment, the Named Plaintiffs, and each
            of their successors, assigns, legatees, heirs, and personal representatives release and
            forever discharge the Released Parties, from all manner of actions, causes of action,
            claims, demands, rights, suits, obligations, debts, contracts, agreements, promises,
            liabilities, damages, charges, penalties, losses, costs, expenses, and attorneys’ fees,
            relating to the Habberfield Action that are the subject of this Agreement, known or
            unknown, in law or equity, fixed or contingent.

            In connection with the release of the Claims relating to the Habberfield Action that
            are the subject of this Agreement, the Named Plaintiffs, and each of Named Plaintiffs’
            successors, assigns, legatees, heirs, and personal representatives, shall be deemed to
            have expressly waived any and all provisions, rights, and benefits conferred by § 1542
            of the California Civil Code and any other similar provision statute, rule, and legal
            doctrine similar, comparable, or equivalent under federal or state law to California
            Civil Code § 1542, which reads as follows:

            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
            EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
            RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
            MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
            DEBTOR OR RELEASED PARTY.

            Each Party shall be deemed to have expressly waived and fully, finally, and forever
            settled and released any known or unknown, suspected or unsuspected, contingent or
            non-contingent claim with respect to the Claims related to the Habberfield Action that
            are the subject of this Agreement, whether or not concealed or hidden, without regard
            to subsequent discovery or existence of different or additional facts.

            Named Plaintiffs fully understand that the facts on which this Agreement is to be
            executed may be different from the facts now believed by Named Plaintiffs and Class
            Counsel to be true and expressly accept and assume the risk of this possible difference
            in facts and agree that the Agreement will remain effective despite any difference in
            facts. Further, Named Plaintiffs agree that this waiver is an essential and material
            term of this release and this Agreement that underlies it and that without such waiver
            this Agreement would not have been accepted.

            Defendants understand and agree that Plaintiffs will not release any current or future
            claims against Defendants that are not related to the Habberfield Action that are the
            subject of this Agreement.

       2.9 No Admission of Liability or Wrongdoing. This Agreement reflects the Parties’
           compromise and resolution of disputed claims. Its constituent provisions, and any and
           all drafts, communications, and discussions relating thereto, shall not be construed as
           or deemed to be evidence of an admission or concession of any point of fact or law



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           (including, but not limited to, matters respecting Class certification) by any person,
           including Defendants, and shall not be offered or received in evidence or requested in
           discovery in the Habberfield Action or any other action or proceeding as evidence of
           an admission or concession. Defendants have denied and continue to deny each of the
           claims and contentions alleged by Plaintiffs in the Habberfield Action. Defendants
           have repeatedly asserted and continue to assert defenses thereto, and have expressly
           denied and continue to deny any wrongdoing or legal liability arising out of any of the
           facts or conduct alleged in the Habberfield Action.

       2.10 Injunctive Relief. No later than fourteen (14) days after the entry of the
            Preliminary Approval Order, Defendants agree to make and/or maintain the
            following changes to their marketing and advertising on the Boohoo U.S. Websites,
            PLT U.S. Website, and Nasty Gal U.S. Website.


           2.10.1 Compliance with the Law. Defendants agree that their comparison pricing
                  practices in the United States as of the date of this Agreement, and
                  continuing forward, will not violate then-existing Federal or California law,
                  including California’s specific price comparison advertising statutes and
                  Federal Trade Commission (“FTC”) regulations, including without
                  limitation, the FTC Pricing Guides, 16 C.F.R. § 233.2. Defendants also
                  agree that any comparison price to which Defendants refer in their price
                  comparison advertising in the United States will comply and be consistent
                  with the terms of this Agreement. To the extent that Defendants choose to
                  engage in comparative value advertising as contemplated by the Federal
                  Trade Commission Guideline 16 C.F.R. § 233.2, Defendants shall either
                  base comparison prices on the actual retail prices at which substantial sales
                  of similar items are being made in the relevant market or, if Defendants
                  choose to use their own opinion of the value of their products as a
                  comparison price, then they must clearly and conspicuously inform their
                  customers in compliance with and consistent with the terms of this
                  Agreement.

          2.10.2 Maintenance of Changes in Website Practices. Defendants agree to maintain
                 the following changes to the Boohoo U.S. Websites, the PLT U.S. Website,
                 and the Nasty Gal U.S. Website consistent with Section 2.10.2 of the Khan
                 Settlement for all territories referenced in Section 1.3 of this Agreement, which
                 were implemented on the Boohoo U.S. Websites, the PLT U.S. Website, and
                 the Nasty Gal U.S. Website on June 17, 2022:

                 (a) For any product advertised on the Boohoo U.S. Websites, the PLT U.S.
                 Website, and the Nasty Gal U.S. Website whose price is available for sale at a
                 discount or markdown from its original price or full price, whether via an
                 automatically applied sitewide discount or promotion, a sitewide discount or
                 promotion applied via an advertised promotion or coupon code, an “up to” a
                 certain percentage off promotion, via a markdown by virtue of the product
                 being in a “Sale” category, or for any other discount or promotion off of the
                 price reflecting Defendants’ opinion of the full retail value, Defendants agree to
                 change the product display pages for each such product display page on their



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               U.S. Websites to include a Pricing Policy disclaimer box in a format consistent
               with the examples attached as Exhibit G. The Pricing Policy disclaimer box
               shall be conspicuously displayed at all times on each such product page and
               shall not be in hidden click-to-reveal form. The Pricing Policy disclaimer box
               shall also contain an asterisk (*) at the beginning of the heading displaying the
               Pricing Policy disclaimer.

               (b) The language in the Pricing Policy disclaimer box will be the following:

               Our percentage off promotions, discounts, or sale markdowns are customarily
               based on our own opinion of the value of this product, which is not intended to
               reflect a former price at which this product has sold in the recent past. This
               amount represents our opinion of the full retail value of this product today based
               on our own assessment after considering a number of factors.

               That’s why before checking out, it’s important you acknowledge that you
               understand this. Cool with that? Great, happy shopping!

               (c) Any product advertised on the Boohoo U.S. Websites, the PLT U.S.
               Website, and the Nasty Gal U.S. Website whose price is available for sale at a
               discount or markdown from its original price or full price, whether via an
               automatically applied sitewide discount or promotion, a sitewide discount or
               promotion applied via an advertised promotion or coupon code, an “up to” a
               certain percentage off promotion, via a markdown by virtue of the product
               being in a “Sale” category, or for any other discount or promotion off of the
               price reflecting Defendants’ opinion of the full retail value, shall have an
               asterisk (*) displayed next to the original price or full price in order to draw the
               attention of customers visiting the page to read the Pricing Policy disclaimer.

               (d) Any time that products are advertised on the Boohoo U.S. Websites, the
               PLT U.S. Website, and the Nasty Gal U.S. Website for sale at a discount or
               markdown from their original price or full price, whether via an automatically
               applied sitewide discount or promotion, a sitewide discount or promotion
               applied via an advertised promotion or coupon code, an “up to” a certain
               percentage off promotion, via a markdown by virtue of the product being in a
               “Sale” category, or for any other discount or promotion off of the price
               reflecting Defendants’ opinion of the full retail value, Defendants agree to
               clearly and conspicuously display the following Pricing Policy disclaimer
               language: (i) on their “Landing Pages” and product display pages advertising
               such promotion(s), discounts, or sales available for that day, or (ii) on any e-
               mails advertising such promotions, discounts, or sales available on the U.S.
               Websites sent to U.S. customers and e-mail subscribers:

               Discounts may not be based on former prices. See pricing policy.

               Landing Pages are the respective homepages of the Boohoo U.S. Websites, the
               PLT U.S. Website, and the Nasty Gal U.S. Website, as well as any and all
               pages that a customer may initially land on upon clicking a link (not on the
               Boohoo U.S. Websites, the PLT U.S. Website, and the Nasty Gal U.S.


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                  Website) advertising a sale or promotion as defined in the preceding paragraph
                  (e.g., a link in an online advertisement or on social media).

                  The language “See Pricing Policy” shall have a hyperlink that takes the
                  customer directly to the Pricing Policy disclaimer in the terms and conditions
                  for the Boohoo U.S. Websites, the PLT U.S. Website, and the Nasty Gal U.S.
                  Website.

                  (e) The Pricing Policy language displayed on the product pages will also be
                  added to the terms and conditions for the Boohoo U.S. Websites, the PLT U.S.
                  Website, and the Nasty Gal U.S. Website.

                  (f) Defendants agree to summarize the changes to the U.S. Websites in each of
                  the forms of Class Notice described below in Section 3.4.

                  (g) Defendants shall operate their U.S. Websites consistent with the provisions
                  in Section 2.10 and agree to make and/or maintain the changes reflected above
                  in a format consistent with the examples attached as Exhibit G.

                  (h) Defendants may modify or make design, template, layout, stylistic, content
                  or any other changes to the Boohoo U.S. Websites, the PLT U.S. Website, and
                  the Nasty Gal U.S. Website as needed, provided that the changes comport with
                  the terms of this Settlement Agreement. As long as modifications comport with
                  the terms of this Settlement Agreement, such modifications may be made by
                  Defendants in their own discretion and without Court approval.

                      3. CLASS NOTICE AND CLAIMS PROCEDURES.

       3.1 Cooperation to Obtain Court Approval. The Parties will individually and jointly
           take all reasonable steps necessary to secure the Court’s approval of this Agreement
           as provided in this Section.

       3.2 Preliminary Approval and Provisional Class Certification. Plaintiffs shall file
           their motion for preliminary approval as soon as reasonably possible and no later
           than the deadline set by the Court. The motion shall request that the Court:

           (a) preliminarily approve this Agreement as fair, adequate, and reasonable;

           (b) approve the form, manner, and content of the Full Notice, Email Notice,
               Postcard Notice, and Publication Notice described in Section 3.4 of this
               Agreement, and attached as Exhibits B through E;

           (c) set deadlines for the filing of objections to, and exclusions from, the Settlement,
               for the filing of a motion for final approval of the Settlement and for fees and
               costs and Incentive Awards for the Named Plaintiffs, and to schedule the date of
               the Fairness Hearing, consistent with the following:
                   a. Deadline for Settlement Administrator to send Email Notice to
                      Settlement Class Members: Sixty (60) calendar days following the



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                      Court’s issuance of the Preliminary Approval Order (Postcard Notice to
                      be sent thereafter, as necessary, consistent with section 3.4(c) of this
                      Agreement, but no later than ten (10) days after Email Notice is sent);
                  b. Deadline for Settlement Administrator to commence Publication Notice:
                     Thirty (30) calendar days following the Court’s issuance of the
                     Preliminary Approval Order;
                  c. Deadline for mailing objections to the Clerk of the Court and counsel for
                     the Parties: Sixty (60) calendar days from the date on which the
                     Settlement Administrator disseminates Email Notice of the Preliminary
                     Approval Order (hereafter, the “Objection Deadline”);
                  d. Deadline for Opting Out: Sixty (60) calendar days from the date on
                     which the Settlement Administrator disseminates Email Notice of the
                     Preliminary Approval Order (hereafter, the “Exclusion Deadline”);
                  e. Deadline for Settlement Administrator to serve on Class Counsel and
                     Defendants’ Counsel a list of Class Members who have timely and
                     validly excluded themselves from the Settlement Class: Ten (10)
                     calendar days after objection/opt-out deadline (Class Counsel shall file
                     this list with the Court at or before the Final Approval Hearing);
                  f. Deadline for filing motion for final approval and for attorneys’ fees,
                     costs, and individual incentive awards for the Named Plaintiffs: No
                     later than fourteen (14) calendar days before the deadline for Class
                     Members to submit objections to the Settlement or to opt out of the
                     Settlement;

                  g. Deadline for Class Counsel and/or Defendants to respond to any
                     objection: no later than seven (7) days prior to the Final
                     Approval Hearing (Class Counsel and/or Defendants have the
                     right, but not the obligation, to respond);

                  h. Date of Fairness Hearing: At least 160 calendar days following
                     the Court’s issuance of the Preliminary Approval Order;
           (d) provisionally certify the Class under Federal Rule of Civil Procedure 23 for
               Settlement purposes only;

           (e) stay all proceedings in the Habberfield Action until the Court renders a final
               decision on approval of the Agreement and sets a briefing schedule for the papers
               in support of the Final Order;

           (f) conditionally appoint Named Plaintiffs as the Class Representatives for
               Settlement purposes only;

           (g) conditionally appoint the law firms of Almadani Law and AI Law, PLC as Class
               Counsel for Settlement purposes only; and




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           (h) enter the Preliminary Approval Order, which shall be substantially similar to the
               form attached as Exhibit A. Defendants shall not oppose the motion for
               preliminary approval, but shall be permitted, although not required, to file their
               own brief or statement of non-opposition in support of the Preliminary Approval
               Order.

       3.3 CAFA Notice. Defendants’ Counsel, with the assistance of the Settlement
           Administrator, will comply with the notice provisions of the Class Action Fairness
           Act (“CAFA”), 28 U.S.C. § 1715, including without limitation by serving the
           required documents on the Attorney General of the United States and the Attorney
           General for all States, excluding California, and will provide the required notice
           within 10 days after the proposed settlement is filed in Court and at least 90 days
           before final approval is granted.

       3.4 Class Notice. Subject to the Court entering the Preliminary Approval Order, the
           Parties agree that Defendants, through the retained Settlement Administrator, will
           provide the Class with notice of the proposed Agreement by the following methods.

           (a) Settlement Website. The Settlement Administrator will post the Full Notice on an
               Internet website (“Internet Posting”) specifically created for the Settlement. The
               Full Notice shall be substantially similar to the form attached as Exhibit C. The
               Internet Posting will also contain the operative Complaint for the Habberfield
               Action, Agreement, and Preliminary Approval Order. The Internet Posting shall be
               operative starting on or before twenty-one (21) calendar days after entry of the
               Preliminary Approval Order. The Internet Posting shall remain active at least until
               the Final Settlement Date.

           (b) Email Notice. Defendants and the Settlement Administrator shall use reasonable
               efforts to identify their customers who made a Qualifying Purchase who may be
               Settlement Class Members and for whom an email address can be determined
               from Defendants’ records or other sources available to the Settlement
               Administrator. The Settlement Administrator will send an Email Notice to those
               Settlement Class Members for whom Defendants have, or the Settlement
               Administrator can find, an email address. The Email Notice shall be substantially
               similar to the form attached as Exhibit B, and will provide the web address of the
               Settlement Website with a live, clickable, user-friendly link, as well as an email
               and mailing address to contact the Settlement Administrator. The Settlement
               Administrator will provide the Email Notice within sixty (60) calendar days after
               entry of the Preliminary Approval Order. The Email Notice shall include a
               disclaimer stating that the email is a legal communication being sent pursuant to a
               court order and is not being sent by or on behalf of Defendants.

           (c) Postcard Notice. Only after it has attempted to disseminate the First Email
               Notice, the Settlement Administrator shall disseminate by regular U.S. mail a
               Postcard Notice to all Settlement Class Members for whom the Settlement
               Administrator is unable to identify an email address or for whom the Settlement
               Administrator has determined through industry standard technologies, practices,
               and methods that the email address(es) it has available to it are not active or



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              working, or have likely not received the Email Notice. The content of the Postcard
              Notice shall be consistent with the provisions in this Section, informing the
              Settlement Class Member that a Gift Card has been awarded to that Class Member
              and will be automatically distributed to her/him via email to an email address
              provided by the Class Member unless the Class Member timely opts out. The
              Postcard Notice will be substantially similar to the form attached as Exhibit E,
              and shall provide the web address of the Settlement Website, as well as an email
              and mailing address to contact the Settlement Administrator. The Settlement
              Administrator shall provide the Postcard Notice as soon as reasonably feasible
              after determining that Postcard Notice is necessary. The costs of the Postcard
              Notice will be paid from the Settlement Administrator Costs. Any Settlement
              Class Member who receives Postcard Notice must provide to the Settlement
              Administrator a valid email address where the Gift Card may be received
              electronically as described in this Section. The Settlement Administrator shall
              provide for Settlement Class Members noticed via postcard a simple, user-friendly
              form on the Settlement Website where such Class Members can enter the email
              address at which the Gift Card would be received. The Postcard Notice shall
              include a disclaimer stating that the email is a legal communication being sent
              pursuant to a court order and is not being sent by or on behalf of Defendants.

           (d) Publication Notice. The Settlement Administrator will publish a Publication
               Notice on the internet pursuant to Section 1.21. This Publication Notice will be
               substantially similar to the form attached as Exhibit D, and will provide the web
               address of the Settlement Website with a live, clickable, user-friendly link, as well
               as an email and mailing address to contact the Settlement Administrator.

           (e) Distribution of Gift Cards. Within twenty-one (21) calendar days of Final
               Approval of the Class Settlement by the Court, the Settlement Administrator shall
               electronically distribute the Gift Cards, substantially in the form attached as
               Exhibits F and I, to all Settlement Class Members who have not timely opted out
               as follows. For the Class Members that did not require Postcard Notice, the Gift
               Cards shall be distributed via email to the respective email addresses on file with
               the Class Administrator. For the Class Members that required Postcard Notice, the
               Gift Cards shall be distributed via email to the respective email addresses provided
               to the Settlement Administrator by the Postcard Notice recipients. Each Gift Card
               will contain a unique code or link by which the Gift Card, including the shipping
               and handling waiver, shall be seamlessly applied to a purchase.

           (f) Social Media Reminder to Use the Gift Cards by Settlement Administrator.
               Within three (3) business days of final approval of the Settlement Agreement,
               Defendant shall provide the Settlement Administrator with content for a social
               media campaign designed to advertise the Class Settlement and provide reminders
               to Settlement Class Members to use their Gift Cards. This content for the social
               media campaign will be substantially similar to the form attached as Exhibit J.
               The Settlement Administrator will be responsible for this social media campaign
               and will design the program to maximize exposure to class as to timing of any
               posts and location on any particular social media platform. The Social Media
               campaign shall be designed and executed in a manner to ensure that the Settlement
               Administrator’s total cost does not exceed $1,000,000.00.


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            (g) Notice on Defendants’ Landing Pages, i.e., “In-Store” of Distribution of Gift
                Cards. Within one (1) week of distribution of the Gift Cards following Final
                Approval, Defendants shall conspicuously display the following notice on each of
                the subject U.S. Websites’ landing pages for a period of sixty (60) days: “Class
                Action Settlement: Check Your Email for $10 Gift Cards Plus Complimentary
                Shipping on Any Purchase. Click here for additional information: [Live Link to
                Settlement Website].”

            (h) Defendants’ Marketing Campaign. Subject to Court approval and in addition to
                any Court-ordered notifications, Defendants shall send at least four (4) marketing
                emails to its U.S. customers who have not opted out of receiving marketing emails
                to remind the customers about the Gift Cards every forty-five (45) calendar days
                within the first six months of the Gift Cards being distributed to Settlement Class
                Members. Defendants shall send the marketing emails on or about the following
                schedule: the 45th Day, the 90th Day, the 135th Day, and the 180th Day after
                distribution of the Gift Cards by the Settlement Administrator.

       3.5 Proof of Notice. No later than thirty (30) calendar days before the deadline for
           Plaintiffs to file their brief in support of the Final Order and Judgment, the Settlement
           Administrator will serve upon Class Counsel a declaration confirming that notice to
           the Settlement Class has been provided in accordance with this Agreement and shall
           identify the total number of Settlement Class Members that have not opted out and
           the total number of Gift Cards that will be distributed to Settlement Class Members
           taking into account the fact that certain Class Members may receive more than one
           Gift Card. Class Counsel will file such declaration with the Court.

       3.6 Claims Procedure. Settlement Class Members are not required to submit a claims
           form in order to receive a Gift Card. Instead, the Gift Cards shall be distributed
           automatically to all Settlement Class Members who have not timely opted out of the
           Settlement.

       3.7 Fraud and Commercial Activity Prevention. Since the Gift Cards are intended for
           personal use and because the Parties want to prevent and avoid fraud in the use of the
           Gift Cards, Defendants shall engage the Settlement Administrator to prevent the use of
           Gift Cards resulting from the accumulation of a substantial and unusually high
           number of Gift Cards through fraud or commercial activity. Defendants, however,
           may trigger a fraud or commercial activity investigation by the Settlement
           Administrator only where a transaction has a stacking value of $500 or more. An
           investigation will be triggered on each occasion that a request is made that Gift Cards
           totaling $500.00 or more be stacked. The administration of and decisions on the
           prohibitions on fraud or commercial activity shall be final and unappealable and shall
           be solely in the discretion of the Settlement Administrator with no interference from
           Defendants or any Party. The Settlement Administrator, together with Defendants,
           shall ensure that Settlement Class Members’ ability to stack the Gift Cards is as
           seamless and instantaneous as possible, and not impeded in any way unless an
           investigation is triggered pursuant to the $500.00 triggering limit identified above.
           The Settlement Administrator shall provide notice via email to Class Counsel and



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           Defendant’s Counsel within one business day regarding the initiation of any such
           investigation. To the extent requested by the Settlement Administrator, Class Counsel
           and Defendants’ Counsel will cooperate and provide information in connection with
           any such investigation.

       3.8 Objections. Any Settlement Class Member who has not submitted a timely written
           exclusion request pursuant to Sections 3.2 and 3.9 of this Agreement and who wishes
           to object to the fairness, reasonableness, or adequacy of the Settlement contemplated
           in this Agreement, may elect to object to this Agreement by delivering via U.S. Mail,
           FedEx, or UPS a timely written objection to the Court, Settlement Class Counsel, and
           Defendants’ Counsel, consistent with the Objection Deadline set forth in Section 3.2.

           (a) To be timely, a written objection to the Settlement contemplated in this Agreement
               must be submitted no later than the Objection Deadline. The submission date is
               deemed to be the date the objection is deposited in the U.S. Mail, FedEx, or UPS
               as evidenced by the postmark. It shall be the objector’s responsibility to ensure
               receipt of any objection by the Court, Class Counsel, Defendants’ Counsel, and the
               Settlement Administrator at the addresses listed in the Full Class Notice (see
               Exhibit C and section 5.23) posted by the Settlement Administrator on the
               Settlement Website. The Court shall not accept untimely objections.

           (b) Any written objection to the Settlement contemplated in this Agreement must be
               made individually (no group or class objections will be accepted) and must
               contain: (1) the name and case number of the Habberfield Action; (2) the
               Settlement Class Member’s full name, address, telephone number, and Class
               Member ID; (3) the words “Notice of Objection” or “Formal Objection”; (4) in
               clear and concise terms, all legal and factual arguments supporting the objection,
               including supporting documentation; (5) facts supporting the person’s status as a
               Settlement Class Member (e.g., either any unique identifier included by the
               Settlement Administrator in his/her notice, or the date and location of his/her
               relevant purchases, including supporting documentation); (6) the Settlement Class
               Member’s signature and the date; and (7) the following language immediately above
               the Settlement Class Member’s signature and date: “I declare under penalty of perjury
               under the laws of the United States of America that the foregoing statements
               regarding Class Membership are true and correct to the best of my knowledge.”
               Settlement Class Members who fail to make objections in this manner will be deemed
               to have waived any objections and will be foreclosed from making any objections
               (whether by a subsequent objection, intervention, appeal, or any other process) to this
               Agreement. Arguments not raised in the written objections shall be deemed
               intentionally waived.

           (c) Settlement Class Members have the option, but not the obligation, to appear at the
               Fairness Hearing, either in person or through counsel hired at the Settlement Class
               Member’s expense, to object to this Settlement Agreement. However, Settlement
               Class Members (with or without counsel) intending to make an appearance at the
               Fairness Hearing must so inform the Parties and the Court on or before the
               Objection Deadline by providing a “Notice of Intention to Appear” to the Court,
               Class Counsel, and Defendants’ Counsel. Furthermore, no objector shall be
               permitted to argue any grounds for objection that are not clearly and timely stated



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               in their corresponding written objection and all such untimely grounds shall be
               deemed waived.

       3.9 Opting Out of the Class. Settlement Class Members may elect to opt out, that is, to
           not to be part of the Class and not to be bound by this Agreement. To make this
           election, the Settlement Class Member must send a signed letter or postcard to the
           Settlement Administrator, consistent with the Exclusion Deadline set forth in Section
           3.2, stating: (a) the name and case number of the Habberfield Action from which the
           Settlement Class Member seeks to be excluded; (b) the full name, email address,
           physical address, telephone number, and Class Member ID of the person requesting
           exclusion; and (c) a signed statement that the Settlement Class Member is a legitimate
           Settlement Class Member in the referenced Habberfield Action and does not wish to
           participate in the Settlement of the Habberfield Action, postmarked no later than the
           Exclusion Deadline. The Settlement Administrator must serve on Class Counsel and
           Defendants’ Counsel a list of Settlement Class Members who have timely and validly
           excluded themselves from the Settlement Class within twenty-one (21) calendar days
           after the Exclusion Deadline.

       3.10 Final Order and Judgment. At least thirty-five (35) days before the Fairness
            Hearing or as otherwise ordered by the Court, Plaintiffs must apply to the Court for
            entry of Final Order and Judgment. Such an order shall be substantially similar to the
            form attached as Exhibit H. Class Counsel shall draft the motion papers, and
            Defendants’ Counsel will not oppose the motion. Defendants shall be permitted, but
            not required, to file their own brief or statement of non-opposition in support of the
            Final Order and Judgment.

       3.11 Judgment and Enforcement. The Parties agree that if the Court grants final approval
            of the proposed Agreement and enters Final Order and Judgment, the Final Order and
            Judgment shall include a provision for the retention of the Court's jurisdiction over
            the Parties to enforce the terms of this Agreement.

       3.12 Defendants to Provide Class List. Defendants shall provide the Class List to Class
            Counsel and the Settlement Administrator within thirty (30) days of the Preliminary
            Approval Order for the notices identified in Section 3.4 to be timely disseminated.
            Defendants and Plaintiffs agree that all Class List information shall be treated as
            highly confidential proprietary information, and that the contents of the Class List
            shall not be shared with third parties other than the Settlement Administrator and that
            the Settlement Administrator and its agents, affiliates and/or subcontractor (if any)
            shall be required to strictly preserve the confidentiality of the Class List.

                           4. TERMINATION OF THE AGREEMENT.

       4.1 Right to Terminate Agreement for Either Party. Either Party has the right to
           terminate and withdraw from this Agreement at any time prior to the Final Fairness
           Hearing if (a) there is a change in the law from the United States Congress, the United
           States Supreme Court, or the United States Court of Appeals for the Ninth Circuit, that
           materially changes the legal criteria by which the validity of this Settlement, any
           individual provision of this Settlement, or the value provided to Settlement Class
           Members by this Settlement is required to be reviewed, evaluated, or assessed, or (b)


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            the Court makes an order materially inconsistent with the terms of this Agreement
            (except for an order reducing the Attorneys’ Fee award or the Plaintiffs’ individual
            Incentive Awards). Materiality shall be decided by the Court upon the Parties’ right to
            submit briefing on the issue with a limit of no more than ten (10) pages per side. Class
            Counsel retain their right to appeal any decision by the Court regarding the Attorneys’
            Fees and Costs or Incentive Payments.

       4.2 Defendants’ Right to Terminate for Opt-Outs. Defendants have the option, but
           not the obligation, to terminate this Agreement if more than three thousand (3,000)
           of the proposed Settlement Class Members elect to opt out from the Class.

       4.3 Effect of Settlement if Agreement is Not Approved. This Agreement was entered
           into only for the purpose of Settlement of the Habberfield Action. With the exception
           of Section 2.4(a), in the event that this Agreement is Terminated by either Party, the
           Court conditions its entry of either the Preliminary Approval Order or the Final Order
           and Judgment on any material modifications of this Agreement that are not acceptable
           to all Parties, if the Court does not approve this Agreement or enter the Final Order
           and Judgment, or if the Final Settlement Date does not occur for any reason, then this
           Agreement shall be deemed null and void ab initio and the Parties shall be deemed
           restored to their respective positions status quo ante, as if this Agreement was never
           executed. In that event: (a) the Preliminary Approval Order and all of its provisions
           will be vacated by its own terms; (b) the Habberfield Action will revert to the status
           that existed before the Plaintiffs filed their motion for approval of the Preliminary
           Approval Order; and (c) no term or draft of this Agreement, or any part of the Parties’
           Settlement discussions, negotiations or documentation will have any effect or be
           admissible into evidence for any purpose in the Habberfield Action or any other
           proceeding. If the Court does not approve this Agreement or enter the Final Order and
           Judgment for any reason, or if the Final Settlement Date does not occur for any
           reason, Plaintiffs shall retain all their rights to prosecute the Habberfield Action as a
           class action and Defendants shall retain all their rights to object to the maintenance of
           the Habberfield Action as a class action, and nothing in this Agreement or other
           papers or proceedings related to this Agreement shall be used as evidence or argument
           by any Party concerning whether the Habberfield Action may properly be maintained
           as a class action provided however, that Defendants will nonetheless bear any
           Settlement Administration Costs in accordance with Section 2.4(a).

                                 5. ADDITIONAL PROVISIONS.

       5.1 Court Approval. All time periods and dates described in this Agreement are subject to
           the Court’s approval. These time periods and dates may be modified by the Court,
           subject to notice requirements to the Settlement Class that the Court may impose.

       5.2 Fair, Adequate, and Reasonable Agreement. The Parties agree this Agreement and
           Settlement reflected herein is fair, adequate, and reasonable and this Agreement was
           the result of extensive informed, intense, non-collusive, and arms-length negotiations,
           taking into account all relevant factors, present and potential.

       5.3 Real Parties in Interest. In executing this Agreement, the Parties warrant and



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            represent that except as provided herein, neither the claims or causes of action
            released herein nor any part thereof have been assigned, granted, or transferred in
            any way to any other person, firm, or entity.

       5.4 Voluntary Agreement. This Agreement is being executed voluntarily and without
           duress or undue influence on the part of or on behalf of the Parties, or of any other
           person, firm, or entity.

       5.5 Binding on Successors. This Agreement shall bind and inure to the benefit of the
           respective successors, assigns, legatees, heirs, and personal representatives of each
           of the Parties.

       5.6 Parties Represented by Counsel. The Parties hereby acknowledge that they have
           been represented in negotiations for and in the preparation of this Agreement by
           independent counsel of their own choosing, that they have read this Agreement and
           have had it fully explained to them by such counsel, and that they are fully aware of
           the contents of this Agreement and of its legal effect.

       5.7 Authorization. Each Party warrants and represents that there are no liens or claims
           of lien or assignments in law or equity or otherwise of or against any of the claims or
           causes of action released herein and, further, that each Party is fully entitled and duly
           authorized to give this complete and final release and discharge.

       5.8 Severability. If any provision or any part of this Agreement thereof shall at any
           time be held unlawful, or inconsistent with applicable law, in whole or in part, under
           any federal, state, county, municipal or other law, ruling, or regulation, then the
           remaining provisions of this Agreement shall remain effective and enforceable.

       5.9 Entire Agreement. This Agreement, and the exhibits thereto, contain(s) the entire
           agreement between the Parties and constitute the complete, final, and exclusive
           embodiment of their agreement with respect to the Habberfield Action. This
           Agreement is executed without reliance on any promise, representation, or warranty
           by any Party or any Party’s representative other than those expressly set forth in this
           Agreement.

       5.10 Construction and Interpretation. Neither the Parties nor any of the Parties’
            respective attorneys shall be deemed the drafter of this Agreement for purposes of
            interpreting any provision hereof in any judicial or other proceeding that may arise
            between or among them. This Agreement has been, and must be construed to have
            been, drafted by all the Parties to it, so that any rule that construes ambiguities
            against the drafter will have no force or effect.

       5.11 Headings and Formatting of Definitions. The various headings used in this
            Agreement are solely for the convenience of the Parties and shall not be used to
            interpret this Agreement. Similarly, bolding and italicizing of definitional words and
            phrases is solely for the Parties’ convenience and may not be used to interpret this
            Agreement. The headings and the formatting of the text in the definitions do not
            define, limit, extend, or describe the Parties’ intent or scope of this Agreement.



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       5.12 Exhibits. The exhibits to this Agreement are integral parts of the Agreement, and are
            hereby incorporated and made a part of this Agreement, as though fully set forth in
            the Agreement.

       5.13 Modifications and Amendments. No amendment, change, or modification of this
            Agreement or any part thereof shall be valid unless in writing signed by the Parties or
            their counsel.

       5.14 Governing Law. This Agreement is entered into in accordance with the laws of the
            State of California, and shall be governed by and interpreted in accordance with the
            laws of the State of California, without regard to its conflict of law principles.

       5.15 Further Assurances. Each of the Parties hereto shall execute and deliver any and all
            additional papers, documents, and other assurances and shall do any and all acts or
            things reasonably necessary in connection with the performance of its obligations
            hereunder to carry out the express intent of the Parties hereto.

       5.16 Agreement Constitutes a Complete Defense. To the extent permitted by law, this
            Agreement may be pled as a full and complete defense to, and may be used as the
            basis for an injunction against, any action, suit, or other proceedings that may be
            instituted, prosecuted, or attempted in breach of or contrary to this Agreement.

       5.17 Cooperation of the Parties. The Parties acknowledge that it is their intent to
            consummate this Agreement and agree to cooperate to the extent reasonably necessary
            to effectuate and implement all terms and conditions contained herein and to exercise
            their best efforts to accomplish the foregoing terms and conditions of this Agreement.
            Specifically, the Parties agree to prepare and execute all documents, to seek Court
            approvals, defend Court approvals, and to do all things reasonably necessary to
            complete the Settlement described herein. Further, the Parties will comply in good
            faith with the terms and conditions of this Agreement. Should any dispute arise among
            the Parties or their respective counsel regarding the implementation or interpretation
            of this Agreement, Class Counsel and Defense Counsel shall meet and confer in an
            attempt to resolve such disputes prior to submitting such disputes to the Court.

       5.18 Execution Date. This Agreement shall be deemed executed upon the last date of
            execution by all of the undersigned.

       5.19 Continuing Jurisdiction. The Court shall retain jurisdiction over the interpretation,
            effectuation, implementation, and enforcement of this Agreement.

       5.20 Counterparts. This Agreement may be executed in counterparts, each of which shall
            constitute an original, but all of which together shall constitute one and the same
            instrument. The several signature pages may be collected and annexed to one or
            more documents to form a complete counterpart. Photocopies of executed copies of
            this Agreement may be treated as originals.

       5.21 Recitals. The Recitals are incorporated by this reference, and are part of this
            Agreement.



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        5.22 Inadmissibility. This Agreement (whether approved or not approved, revoked, or
             made ineffective for any reason) and any proceedings or discussions related to it are
             inadmissible as evidence of any liability or wrongdoing whatsoever in any court or
             tribunal in any state, territory, or jurisdiction. Further, this Agreement shall not be
             construed or offered or received into evidence as an admission, concession, or
             presumption that class certification is appropriate, except to the extent necessary to
             consummate this Agreement and the binding effect of the Final Order and Judgment.

        5.23 Notices. Any notice, instruction, application for Court approval or application for
             Court orders sought in connection with this Agreement or other document to be
             given by any Party to any other Party shall be in writing and e-mailed, delivered
             personally, or sent by registered or certified mail, postage prepaid, if to Defendants
             to the attention of Defendants’ Counsel, and if to Settlement Class Members to the
             attention of Class Counsel on their behalf. The addresses of the Court, Class
             Counsel, Defense Counsel, and the Settlement Administrator are as follows:


                                                                                            Settlement
        The Court                Class Counsel            Defendants’ Counsel
                                                                                           Administrator
  Hon. George H. Wu          ALMADANI LAW                 EVERSHEDS                     Boohoo/PrettyLittleThing/
  United States Courthouse   Yasin M. Almadani            SUTHERLAND (US) LLP           NastyGal
  Central District of        4695 MacArthur Ct., Ste.     Ronald W. Zdrojeski           Nationwide Pricing Class
  California                 1100                         1114 6th Avenue, 40th Floor   Action Settlement
  350 West 1st Street        Newport Beach, CA 92660      New York, NY 10036            Administrator
  Courtroom 9D, 9th Floor                                                               P.O. Box 6188
  Los Angeles, CA 90012      AI LAW, PLC                  EVERSHEDS                     Novato, CA 94948-6188
                             Ahmed Ibrahim                SUTHERLAND (US) LLP
                             4695 MacArthur Ct., Ste.     Ian S. Shelton
                             1100                         500 Capitol Mall, Suite
                             Newport Beach, CA 92660      1750
                                                          Sacramento, CA 95814




        5.24 List of Exhibits. The Following exhibits are attached to this Agreement:

              Exhibit A: [Proposed] Preliminary Approval and Provisional Class
              Certification Order

              Exhibit B: Email Notice

              Exhibit C: Full Notice

              Exhibit D: Publication Notice

              Exhibit E: Postcard Notice

              Exhibit F: Gift Card Exemplars


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            Exhibit G: Pricing Policy Disclaimers Exemplars (Product Page, Landing Page,
            Advertisement) for the Boohoo U.S. Websites

            Exhibit H: [Proposed] Final Order

            Exhibit I: Notice of Distribution of Gift Cards

            Exhibit J: Social Media Campaign Advertisement



 AGREED TO AND EXECUTED BY:


               5 2023
  Dated: April __,
                                        Laura Habberfield
                                        Plaintiff and Class Representative




               5 2023
  Dated: April __,
                                        Keona Kalu
                                        Plaintiff and Class Representative




               5 2023
  Dated: April __,
                                        Katie Runnells
                                        Plaintiff and Class Representative




               5 2023
  Dated: April __,
                                        Juanita Carmet Cachadina
                                        Plaintiff and Class Representative




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               5 2023
  Dated: April __,
                                Sarah Huebner
                                Plaintiff and Class Representative




                5 2023
  Dated: April __,
                                Yesenia Valiente
                                Plaintiff and Class Representative




                5 2023
  Dated: April __,
                                Veronica Walton
                                Plaintiff and Class Representative




               5 2023
  Dated: April __,
                                Lisa Murphy
                                Plaintiff and Class Representative




  Dated: April __,
                5 2023
                                Nicole Hill
                                Plaintiff and Class Representative




  Dated: April __, 2023
                                Nicole Stewart
                                Plaintiff and Class Representative




  Dated: April __,
                5 2023
                                Me’Lisa Thimot
                                Plaintiff and Class Representative




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  Dated: April __,
                5 2023
                                Marika Walton
                                Plaintiff and Class Representative




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 APPROVED AS TO FORM AND CONTENT:


               5 2023
  Dated: April __,               Respectfully submitted,

                                 ALMADANI LAW



                                 Yasin M. Almadani, Esq.


                                 AI LAW, PLC



                                 Ahmed Ibrahim, Esq.

                                 Attorneys for Plaintiffs Individually and
                                 On Behalf of All Others Similarly Situated


                                 EVERSHEDS SUTHERLAND (US) LLP



                                 Ronald W. Zdrojeski, Esq.



                                 Ian Shelton, Esq.

                                 Attorneys for Defendants




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           Case 2:22-cv-03899-GW-JEM 
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             APPROVED AS TO FORM AND CONTENT:


              Dated: April __, 2023               Respectfully submitted,

                                                  ALMADANI LAW



                                                  Yasin M. Almadani, Esq.


                                                  AI LAW, PLC



                                                  Ahmed Ibrahim, Esq.

                                                  Attorneys for Plaintiffs Individually and
                                                  On Behalf of All Others Similarly Situated


                                                  EVERSHEDS SUTHERLAND (US) LLP

                                     

                                                  Ronald W. Zdrojeski, Esq.


                                      
                                                  Ian Shelton, Esq.

                                                  Attorneys for Defendants




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                CLASS COUNSEL                    DEFENDANTS’ COUNSEL

           ALMADANI LAW                       EVERSHEDS SUTHERLAND (US) LLP
           Yasin M. Almadani (SBN 242798)     Ronald W. Zdrojeski (admitted PHV)
           yma@lawalm.com                     ronzdrojeski@eversheds-sutherland.com
           4695 MacArthur Court, Suite 1100   1114 6th Avenue, 40th Floor
           Newport Beach, CA 92660            New York, NY 10036
           Phone: 949-877-7177                Phone: 212-389-5000
           Fax: 949-877-8757                  Fax: 212-389-5099


           AI LAW, PLC                        EVERSHEDS SUTHERLAND (US) LLP
           Ahmed Ibrahim (SBN 238739)         Ian S. Shelton (SBN 264863)
           aibrahim@ailawfirm.com             ianshelton@eversheds-sutherland.com
           4695 MacArthur Court, Suite 1100   500 Capitol Mall, Suite 1750
           Newport Beach, CA 92660            Sacramento, CA 95814
           Phone: 949-266-1240                Phone: 916-844-2965
           Fax: 949-266-1280                  Fax: 916-241-0501




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                      Exhibit A
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 3
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 7
 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10    LAURA HABBERFIELD, an individual,       CASE NO.: 2:22-cv-03899 GW (JEMx)
      KEONA KALU, an individual, KATIE
11    RUNNELLS, an individual, JUANITA        CLASS ACTION
      CARMET CACHADINA, an individual,
12    SARAH HUEBNER, an individual,           ORDER GRANTING PRELIMINARY
      YESENIA VALIENTE, an individual,        APPROVAL OF CLASS
13    VERONICA WALTON, an individual,         SETTLEMENT, CONDITIONALLY
      LISA MURPHY, an individual, NICOLE      CERTIFYING THE SETTLEMENT
14    HILL, an individual, NICOLE             CLASS, PROVIDING FOR NOTICE,
      STEWART, an individual, on behalf of    AND SCHEDULING ORDER
15    themselves and all others similarly
      situated,
16                                            HON. GEORGE H. WU
                 Plaintiffs,                  United States District Judge
17
                        v.
18
      BOOHOO.COM USA, INC., a Delaware
19    corporation, BOOHOO.COM UK
      LIMITED, a United Kingdom private
20    limited company, BOOHOO GROUP
      PLC, a Jersey public limited company,
21    PRETTYLITTLETHING.COM USA
      INC., a Delaware corporation,
22    PRETTYLITTLETHING.COM
      LIMITED, a United Kingdom private
23    limited company, NASTYGAL.COM
      USA INC., a Delaware corporation,
24    NASTY GAL LIMITED, a United
      Kingdom private limited company, and
25    DOES 1-10, inclusive,
26               Defendants.
27
28
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 54 of 204 Page ID
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 1            WHEREAS, on June 7, 2022, Plaintiffs Laura Habberfield, Keona Kalu, Katie
 2    Runnells, Juanita Carmet Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton,
 3    Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton
 4    (collectively, “Plaintiffs”), on behalf of themselves and all others similarly situated, filed
 5    a class action lawsuit in this Court, as amended by a First Amended Class Action
 6    Complaint filed on June 22, 2022, against Defendants Boohoo Group PLC, Boohoo.com
 7    USA,       Inc.,     Boohoo.com           UK       Limited,          PrettyLittleThing.com      USA,      Inc.,
 8    PrettyLittleThing.com Limited, NastyGal.com USA, Inc., and Nasty Gal Limited
 9    (collectively, “Defendants”) (the litigation described herein shall be referred to hereafter
10    as the “Action”);
11            WHEREAS, the Action was brought by Plaintiffs on behalf of a class of all
12    individuals in the United States, excluding California, who purchased one or more
13    “boohoo”           products         from         the         websites       https://us.boohoo.com          and
14    https://www.boohooman.com/us/ or associated mobile phone applications (“Boohoo U.S.
15    Websites”) between April 1, 2016, through June 17, 2022; or who purchased one or more
16    “PrettyLittleThing” products from the website https://prettylittlething.us or associated
17    mobile phone application(s) (“PLT U.S. Website”) between April 1, 2016 through June
18    17, 2022; or who purchased one or more “Nasty Gal” products from the website
19    https://nastygal.com or associated mobile phone application(s) (“Nasty Gal U.S.
20    Website”) between February 28, 2017, through the June 17, 2022, at a purportedly
21    discounted price and have not returned those purchases for a refund or store credit;
22            WHEREAS, on September 1, 2022, the Court consolidated this class action
23    litigation (the “Action”) for pretrial purposes with the following related actions: (1) Khan
24    v. Boohoo.com USA, Inc., et al., No. 2:20-cv-03332-GW (JEMx), (2) Hilton v.
25    PrettyLittleThing.com USA, Inc., et al., 2:20-cv-04658-GW (JEMx), and (3) Lee v.
26    NastyGal.com USA, Inc., et al., 2:20-cv-04659-GW (JEMx) (collectively referred to
27    hereafter as the “Khan Action”);
28            WHEREAS, Plaintiffs and Defendants have entered into a Class Action Settlement

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      [Proposed] Order Granting Preliminary Approval of Class Settlement            Case No. 2:22-cv-03899 GW (JEMx)
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 1    Agreement and Release, filed April 10, 2023, after arms-length settlement discussions (the
 2    “Settlement”);
 3            WHEREAS, the Court has received and considered the Settlement, including the
 4    accompanying exhibits;
 5            WHEREAS, the Parties have made an application for an order preliminarily
 6    approving the settlement of the Action, for the full and final resolution of the claims in the
 7    Action asserted by the class members on the terms and conditions set forth in the
 8    Settlement, and for the dismissal of the claims in the Action;
 9            WHEREAS, the Court has reviewed the Parties’ application for such order, and has
10    found good cause for same.
11            NOW, THEREFORE, IT IS HEREBY ORDERED:
12            A.      The Settlement Class Is Conditionally Certified.
13            Pursuant to Federal Rule of Civil Procedure 23, and for settlement purposes only,
14    the Court hereby certifies the following Classes:
15                           (a) All individuals in the 49 states, other than
                      California, including the District of Columbia, Guam, Puerto
16                    Rico, American Samoa, U.S. Virgin Islands, and Northern
                      Mariana Islands, who made a purchase on https://us.boohoo.com
17                    or https://www.boohooman.com/us/ or associated mobile phone
                      applications between April 1, 2016 and June 17, 2022, excluding
18                    any and all past or present officers, directors, or employees of
                      Defendants, any judge who presides over this Action, and any
19                    partner or employee of Class Counsel.
20                           (b) All individuals in the 49 states, other than
                      California, including the District of Columbia, Guam, Puerto
21                    Rico, American Samoa, U.S. Virgin Islands, and Northern
                      Mariana       Islands,     who   made       a     purchase    on
22                    https://prettylittlething.us or associated mobile phone
                      applications between April 1, 2016 and June 17, 2022, excluding
23                    any and all past or present officers, directors, or employees of
                      Defendants, any judge who presides over this Action, and any
24                    partner or employee of Class Counsel.
25                           (c) All individuals in the 49 states, other than
                      California, including the District of Columbia, Guam, Puerto
26                    Rico, American Samoa, U.S. Virgin Islands, and Northern
                      Mariana Islands, who made a purchase on https://nastygal.com
27                    or associated mobile phone applications between February 28,
                      2017 and June 17, 2022, excluding any and all past or present
28                    officers, directors, or employees of Defendants, any judge who
                      presides over this Action, and any partner or employee of Class
                                                     3
      [Proposed] Order Granting Preliminary Approval of Class Settlement   Case No. 2:22-cv-03899 GW (JEMx)
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 1                    Counsel.
 2
              2.      This conclusion is supported by the Court’s finding, pursuant to Federal Rule
 3
      of Civil Procedure 23(e)(1)(B)(ii), that it will likely be able to certify the Classes for
 4
      purposes of judgment on the Settlement. More specifically, the Court finds that the parties
 5
      have shown, at this stage, that they will likely be able to demonstrate that the prerequisites
 6
      for a class action under Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3) have
 7
      been met, including: (a) numerosity, (b) commonality, (c) typicality, (d) adequacy of the
 8
      class representatives and Class Counsel, (e) predominance of common questions of fact
 9
      and law among the Classes for purposes of settlement, and (f) superiority.
10
              3.      Pursuant to Federal Rule of Civil Procedure 23, the Court hereby appoints
11
      the Plaintiffs in the Action, Laura Habberfield, Keona Kalu, Katie Runnells, Juanita
12
      Carmet Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy,
13
      Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton, as the class
14
      representatives.
15
              4.      Having considered the factors set forth in Federal Rule of Civil Procedure
16
      23(g)(1), the Court hereby appoints Yasin Almadani and his firm Almadani Law, and
17
      Ahmed Ibrahim and his firm AI Law, PLC, as Class Counsel.
18
              B.      The Class Settlement Agreement Is Preliminarily Approved and Final
19                    Approval Schedule Set.
20            5.      The Court hereby preliminarily approves the Settlement and the terms and
21    conditions set forth therein, including the Injunctive Relief provisions of section 2.10 of
22    the Settlement, subject to further consideration at the Final Approval Hearing (referred to
23    in the Settlement as the “Fairness Hearing”) described below.
24            6.      The Court has conducted a preliminary assessment of the Settlement and
25    hereby finds, pursuant to Federal Rule of Civil Procedure 23(e)(1)(B)(i), that it will likely
26    be able to approve the Settlement under the factors set forth in Federal Rule of Civil
27    Procedure 23(e)(2) for fairness, reasonableness, and adequacy of the Settlement.
28            7.      Pursuant to Federal Rule of Civil Procedure 23(e), the Court will hold a Final

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      [Proposed] Order Granting Preliminary Approval of Class Settlement   Case No. 2:22-cv-03899 GW (JEMx)
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 1    Approval Hearing on a day that is at least 160 days after entry of this Order. Accordingly,
 2    the Final Approval Hearing will take place on November 2, 2023 at 8:30 a.m., in the
 3    Courtroom of the Honorable George H. Wu, United States District Court for the Central
 4    District of California, 350 West 1st Street, Los Angeles, California 90012, Courtroom 9D,
 5    for the following purposes:
 6                    (a)      finally determining whether the Classes meet all applicable
 7            requirements of Federal Rule of Civil Procedure 23 and, thus, the Classes should be
 8            certified for purposes of effectuating the Settlement;
 9                    (b)      determining whether the proposed settlement of the Action on the
10            terms and conditions provided for in the Settlement is fair, reasonable and adequate
11            and should be approved by the Court;
12                    (c)      considering the application of Class Counsel for an award of attorneys’
13            fees and reimbursement of costs, as provided for under the Agreement;
14                    (d)      considering the applications of Plaintiffs for class representative
15            incentive awards, as provided for under the Settlement;
16                    (e)      considering whether the Court should enter the [Proposed] Final Order
17            and Judgment;
18                    (f)      considering whether the release of the Class Released Claims as set
19            forth in the Settlement should be provided; and
20                    (g)      ruling upon such other matters as the Court may deem just and
21            appropriate.
22            8.      The Court may continue or adjourn the Final Approval Hearing and later
23    reconvene such hearing without further notice to Class Members (defined in the Settlement
24    in section 1.3 and referred to therein as the “Settlement Class Members”).
25            9.      The Parties may further modify the Settlement prior to the Final Approval
26    Hearing so long as such modifications do not materially change the terms of the settlement
27    provided thereunder. The Court may approve the Settlement with such modifications as
28    may be agreed to by the Parties, if appropriate, without further notice to Class Members.

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 1            10.     Plaintiffs’ applications for attorneys’ fees, costs, and incentive awards must
 2    be filed no later than September 7, 2023, which is fourteen (14) days before the deadline
 3    for Class Members to submit objections to the Settlement or to opt out of the Settlement.
 4    All additional papers in support of the Settlement, or in support of the application for an
 5    award of attorneys’ fees and expenses and/or class representative incentive awards, must
 6    be filed with the Court and served at least seven (7) days prior to the Final Approval
 7    Hearing.
 8            C.      The Court Approves the Form and Method of Class Notice
 9            11.     The Court approves, as to form and content, the proposed Email Notice, Full
10    Notice, Publication Notice, and Postcard Notice, which are Exhibits B, C, D, and E,
11    respectively, to the Settlement. The Court further approves, as to form and content, the
12    Notice of Distribution of Gift Cards, which Exhibit I to the Settlement.
13            12.     The Court finds that the distribution of Notice substantially in the manner and
14    form set forth in the Settlement meets the requirements of Federal Rule of Civil Procedure
15    23 and due process, is the best notice practicable under the circumstances, and shall
16    constitute due and sufficient notice to all persons entitled thereto.
17            13.     The Court approves the designation of Kurtzman Carson Consultants LLC
18    (“KCC”) to serve as the Court-appointed Settlement Administrator for the settlement. The
19    Settlement Administrator shall cause the Publication Notice and Full Notice to be
20    published, to disseminate Email Notice and Postcard Notice pursuant to the terms set forth
21    in the Settlement, and supervise and carry out the notice procedure, the distribution of
22    benefits under the Settlement, and other administrative functions, and shall respond to
23    Class Member inquiries, as set forth in the Settlement and this Order under the direction
24    and supervision of the Court. Where dissemination of Postcard Notice is necessary under
25    Section 3.4(c) of the Settlement, the Settlement Administrator shall mail all such Postcard
26    Notices no later than ten (10) days after dissemination of Email Notice.
27            14.     The Court directs the Settlement Administrator to establish a Settlement
28    Website, making available copies of this Order, Class Notice (i.e., the Full Notice, Email

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      [Proposed] Order Granting Preliminary Approval of Class Settlement   Case No. 2:22-cv-03899 GW (JEMx)
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 1    Notice, Postcard Notice, and Publication Notice), the Settlement and all Exhibits thereto,
 2    a toll-free hotline, and such other information as may be of assistance to Class Members
 3    or required under the Settlement. The Class Notice shall be made available to Class
 4    Members through the Settlement Website on the date notice is first published and
 5    continuously thereafter through the Final Settlement Date (and on the websites of Class
 6    Counsel at their option during the same period).
 7            15.     The Settlement Administrator is ordered to publish the Publication Notice in
 8    the manner set forth in section 1.21 of the Settlement once every week for four (4)
 9    consecutive weeks beginning no later than thirty (30) days after entry of this Order.
10            16.     The costs of Notice, distribution of benefits to Class Members under the
11    Settlement, creating and maintaining the Settlement Website, and all other Settlement
12    Administrator and Notice expenses shall be paid by Defendants up to the maximum sum
13    specified in the Settlement in accordance with the applicable provisions of the Settlement.
14            D.      Procedure for Class Members to Participate in the Settlement
15            17.     Class Members are not required to submit a claim form in order to receive
16    the benefits of the Settlement. Instead, the benefits in the form of the Gift Cards described
17    in the Settlement (see section 2.1) shall be distributed to all Class Members who have not
18    timely opted out of the Settlement
19            18.     The Settlement Administrator shall otherwise have the authority to accept or
20    reject claims, if any, submitted by persons claiming to be Class Members in accordance
21    with the Settlement.
22            19.     Any Class Member may enter an appearance in the Action, at his or her own
23    expense, individually or through counsel who is qualified to appear in the jurisdiction. All
24    Class Members who do not enter an appearance will be represented by Class Counsel.
25            E.      Procedure for Requesting Exclusion from the Class
26            20.     All Class Members who do not timely exclude themselves from one or more
27    of the Classes shall be bound by all determinations and judgments in the Action concerning
28    the Settlement, whether favorable or unfavorable to the Classes.

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      [Proposed] Order Granting Preliminary Approval of Class Settlement   Case No. 2:22-cv-03899 GW (JEMx)
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 1            21.     Any person falling within the definition of one or more of the Classes may,
 2    upon his or her request, be excluded from the Classes. To make this election, such person
 3    must send a signed letter or postcard to the Settlement Administrator no later than
 4    September 22, 2023, which is at least 120 calendar days from the date of this Order,
 5    stating: (a) the name and case number of the Action from which the Class Member seeks
 6    to be excluded, (b) the full name, email address, physical address, telephone number, and
 7    Class Member ID (available on the notice) of the person requesting exclusion; and (c) a
 8    signed statement that the Class Member is a legitimate Class Member in the Action and
 9    does not wish to participate in the Settlement of the Action, postmarked no later than the
10    deadline stated above.
11            22.     Any Class Member who does not send a signed request for exclusion
12    postmarked or delivered on or before the time period described above will be deemed to
13    be a Class Member for all purposes and will be bound by all judgments and further orders
14    of this Court related to the settlement of the Action and by the terms of the Settlement, if
15    finally approved by the Court. All persons who submit valid and timely requests for
16    exclusion in the manner set forth in the Settlement shall have no rights under the
17    Settlement and shall not be bound by the Settlement or the Final Order and Judgment.
18            23.     Within ten (10) calendar days after September 22, 2023, the Settlement
19    Administrator shall serve on Class Counsel and Defendants’ Counsel a list of Class
20    Members who have timely and validly excluded themselves from the Settlement Class.
21    Class Counsel shall file this list with the Court at or before the Final Approval Hearing.
22            F.      Procedure for Objecting to the Settlement
23            24.     Any Class Member wishing to object to or oppose the approval of this
24    Settlement, the motion for the incentive award to Plaintiffs, and/or Class Counsels’ motion
25    for attorneys’ fees and costs, shall file with the Court a written objection no later than
26    September 22, 2023, which is at least 120 calendar days from the date of this Order. The
27    objecting Class Member must send a copy of the written objection and supporting
28    documents to the Court, Class Counsel, Defendants’ counsel, and the Settlement

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 1    Administrator listed in section 5.23 of the Settlement Agreement. To be timely, a written
 2    objection to the Settlement must be submitted no later than the above-stated deadline. The
 3    submission date is deemed to be the date the objection is deposited in the U.S. Mail,
 4    FedEx, or UPS as evidenced by the postmark. It shall be the objecting Class Member’s
 5    responsibility to ensure receipt of any objection by the Court, Class Counsel, Defendants’
 6    Counsel, and the Settlement Administrator.
 7            25.     The objection must contain:
 8                    (a)      the name and case number of the Action;
 9                    (b)      the Class Member’s full name, address, telephone number, and Class
10            Member ID (available on the notice);
11                    (c)      the words “Notice of Objection” or “Formal Objection”;
12                    (d)      in clear and concise terms, all legal and factual arguments supporting
13            the objection, including supporting documentation;
14                    (e)      facts supporting the person’s status as a Class Member (e.g., either any
15            unique identifier included by the Settlement Administrator in his or her notice such
16            as the Class Member ID, or the date and location of his or her relevant purchases);
17                    (f)      the Class Member’s signature and the date;
18                    (g)      the following language immediately above the Class Member’s
19            signature and date: “I declare under penalty of perjury under the laws of the United
20            States of America that the foregoing statements regarding Class Membership are
21            true and correct to the best of my knowledge”; and
22                    (h)      for Class Members intending to make an appearance at the Final
23            Approval Hearing (with or without counsel), the objection must also be
24            accompanied by a “Notice of Intention to Appear”
25            26.     Any Class Member who fails to timely file and serve a written Objection
26    containing all the information listed in (a) through (h) of the previous paragraph shall be
27    deemed to have waived any objections and will be foreclosed from making any objections
28    (whether by a subsequent objection, intervention, appeal, or any other process) to the

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      [Proposed] Order Granting Preliminary Approval of Class Settlement   Case No. 2:22-cv-03899 GW (JEMx)
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 1    Settlement. Arguments not raised in the written objections shall be deemed intentionally
 2    waived.
 3            27.     If any objection is received by the Settlement Administrator, but not filed
 4    with the Court, the Settlement Administrator shall forward the Objection and all
 5    supporting documentation to Class Counsel and Counsel for Defendants. The failure of
 6    the Class Member to file the written objection with the Court shall be grounds for striking
 7    and/or overruling the objection, even if the objection is submitted to the Settlement
 8    Administrator.
 9            28.     Class Counsel will file with the Court their motions and briefs in support of
10    Final Approval, the requested incentive awards for Plaintiffs, and attorneys’ fees and costs,
11    no later than September 8, 2023, which is fourteen (14) days before the deadline for Class
12    Members to object to the Settlement or opt out of the Settlement.
13            29.     Class Counsel and/or Defendants have the right, but not the obligation, to
14    respond to any objection no later than seven (7) days prior to the Final Approval Hearing.
15    The party so responding shall file a copy of the response with the Court, and shall serve a
16    copy, by regular mail, hand or overnight delivery, to the objecting member of the Class or
17    to the individually hired attorney for the objecting member of the Settlement Class; to
18    Class Counsel; and to Defendants’ Counsel.
19            30.     Based on the parties’ Settlement Agreement and the foregoing provisions, the
20    schedule in this matter shall be as follows:
21                             Event                                            Date/Deadline
22     Preliminary Order Issued                                            Thursday, May 25, 2023
23     Deadline to Commence Publication Notice                              Monday, June 26, 2023
24     Deadline to Send Email Notice                                        Monday, July 24, 2023
25     Deadline to Mail Postcard Notice                                    Thursday, August 3, 2023
26     Deadline to File Motion for Final Approval                          Friday, September 8, 2023
27     and Motion for Attorneys’ Fees, Costs, and
28     Incentive Awards
                                                               10
      [Proposed] Order Granting Preliminary Approval of Class Settlement         Case No. 2:22-cv-03899 GW (JEMx)
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 1     Deadline to Object or Opt Out                                       Friday, September 22, 2023
 2     Deadline for Settlement Administrator to                             Monday, October 2, 2023
 3     Provide Opt-Out List to Counsel
 4     Deadline to Respond to Objections                                   Thursday, October 26, 2023
 5     Final Approval/Fairness Hearing                                     Thursday, November 2, 2023
 6
 7            31.     All discovery in this Action is STAYED pending further order of the Court.
 8
 9    Dated: __________, 2023
                                                    Hon. George H. Wu
10                                                  United States District Judge
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      [Proposed] Order Granting Preliminary Approval of Class Settlement          Case No. 2:22-cv-03899 GW (JEMx)
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                                  #:661




                      Exhibit B
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                                  #:662



 From: Settlement Administrator for Boohoo/PrettyLittleThing/Nasty Gal Nationwide Pricing
       Class Action Settlement
 To:   JonQClassMember@domain.com
 Re:   Legal Notice of Class Action Settlement

 Class Member ID: XXXXXXXX

                 NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

              Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx)

 This notice is to inform you of the settlement of the class action lawsuit referenced above (the
 “Action”) with Boohoo/BoohooMAN, PrettyLittleThing, and Nasty Gal, the “Defendants” in this
 case. Plaintiffs Laura Habberfield, Keona Kalu, Katie Runnells, Juanita Carmet Cachadina, Sarah
 Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa
 Thimot, and Marika Walton (collectively, the “Plaintiffs” or “Class Representatives”) allege that
 Defendants engaged in a deceptive pricing scheme by advertising artificially inflated original
 prices on their U.S. websites in that they rarely sold their products at the advertised original price.
 Plaintiffs allege Defendants routinely marked down and discounted these inflated prices, which
 gave customers the false impression that they were getting a deal or bargain. Plaintiffs contend
 Defendants have violated various consumer protection and false advertising laws and have
 committed fraud. Defendants deny all of the allegations made in the Action. The Court has not
 determined who is right. Rather, the Parties have agreed to settle the lawsuits to avoid the
 uncertainties and expenses associated with ongoing litigation.

 Am I a Class Member? You are a Settlement Class Member in one or more of the three separate
 cases if:

 •   You purchased products in any state or U.S. territory other than California from
     Boohoo/BoohooMAN’s U.S. websites from April 1, 2016, through June 17, 2022;

 •   You purchased products in any state or U.S. territory other than California from
     PrettyLittleThing’s U.S. website from April 1, 2016, through June 17, 2022; or

 •   You purchased products in any state or U.S. territory other than California from Nasty Gal’s
     U.S. website from February 28, 2017, through June 17, 2022.

 What Can I Get? Defendants will provide Gift Cards with Free Shipping to customers outside of
 California who purchased products from Defendants. Those individuals included in the settlement
 who chose not to opt out of the settlement will automatically receive one or more $10 Gift Cards
 by email that may be used with no shipping charges on the U.S. website of the Defendant company
 above that provided the Gift Card. There is no requirement to file a claim.
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 You are eligible to receive up to three Gift Cards, one from Boohoo/BoohooMAN, one from
 PrettyLittleThing, and one from Nasty Gal, depending on whether you purchased items from the
 U.S. websites of one or more of these companies during the Class Periods reflected above.

 How Do I Get a Gift Card? There is no requirement to file a claim. If you do not affirmatively
 opt out within the prescribed time period, you will automatically receive one to three Gift Cards
 in the above-styled case depending on whether you purchased from one, two, or all three of the
 Defendants identified above. You will receive the Gift Card(s) at the email address you have on
 file with each Defendant. If you would like to provide a different email address to receive your
 Gift Card(s), you may contact the Settlement Administrator to make arrangements.

 What are My Other Options? You may exclude yourself from the Settlement Class by sending
 a letter to the Settlement Administrator no later than [objection/exclusion deadline]. If you exclude
 yourself, you cannot get a settlement payment, but you keep any rights you may have to sue
 Defendants over the legal issues in the lawsuit. You and/or your lawyer also have the right to object
 to the proposed settlement and appear before the Court to present the reasons for your objection.
 Your written objection must be filed no later than [objection/exclusion deadline]. Specific
 instructions about how to object to, or exclude yourself from, the Settlement are available at
 [URL]. If you do nothing, and the Court approves the Settlement, you will be bound by all of the
 Court’s orders and judgments. In addition, your claims against Defendants and their affiliates that
 this settlement resolves will be released.

 Who Represents Me? The Court has appointed Yasin M. Almadani, Esq. of Almadani Law and
 Ahmed Ibrahim, Esq. of AI Law, PLC to represent you and other Settlement Class Members.
 These attorneys are called Class Counsel. You will not be charged out of pocket for these lawyers.
 If you want to be represented by your own lawyer in this case, you may hire one at your expense.

 When Will the Court Consider the Proposed Settlement? The Court will hold the Final
 Approval Hearing at [time] on [date] at the United States Courthouse, 350 West 1st Street,
 Courtroom 9D, 9th Floor, Los Angeles, CA 90012. At that hearing, the Court will: hear any
 objections concerning the fairness of the settlement; determine the fairness of the settlement;
 decide whether to approve Class Counsel’s request for attorneys’ fees and costs; and decide
 whether to award the Class Representatives $1,500 each for their services in helping to bring and
 settle this case. Defendants have agreed that Class Counsel may be paid reasonable attorneys’ fees
 in an amount to be determined by the Court. Any amounts awarded by the Court to Class Counsel
 or Class Representatives will be paid separately by Defendants and will not reduce the amount of
 Gift Card value available to Settlement Class Members.

 How Do I Get More Information? For more information, including a more detailed Class Notice,
 a copy of the Settlement Agreement and other documents, go to [URL], contact the settlement
 administrator by calling (800) 000-000 or by writing to Boohoo/PrettyLittleThing/Nasty Gal
 Nationwide Pricing Class Action Settlement Administrator, [address], or contact Class Counsel by
 emailing YMA@LawALM.com or AIbrahim@AILawFirm.com.
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                      Exhibit C
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                       UNITED STATES DISTRICT COURT–CENTRAL DISTRICT OF CALIFORNIA


  If you bought products from Boohoo, BoohooMAN,
PrettyLittleThing, or NastyGal, you may be eligible for a
            $10 Gift Card with Free Shipping.
                A federal court authorized this Notice. It is not a solicitation from a lawyer.

•   A settlement has been reached with Boohoo/BoohooMAN, PrettyLittleThing, and NastyGal
    (“Defendants”) in the class action lawsuit about the pricing and sales advertising of Defendants’ products
    styled: Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx).

•   Defendants have agreed to settle the lawsuits and provide Gift Cards with Free Shipping to customers
    outside California who purchased Products from Defendants. Those individuals included in the settlement
    who chose not to opt out of the settlement will automatically receive one or more $10 Gift Cards by email
    that may be used with no shipping charges on the U.S. website of the Defendant company above that
    provided the Gift Card. There is no requirement to file a claim.

•   You are eligible to receive up to three Gift Cards, one from Boohoo/BoohooMAN, one from
    PrettyLittleThing, and one from NastyGal depending on whether you purchased products from one or more
    of these companies during the time periods reflected below.

•   You are included in this settlement as a Settlement Class Member of Boohoo/BoohooMAN if you
    purchased products in any state or U.S. territory other than California from Boohoo/BoohooMAN from
    April 1, 2016, through June 17, 2022.

•   You are included in this settlement as a Settlement Class Member of PrettyLittleThing if you purchased
    products in any state or U.S. territory other than California from PrettyLittleThing from April 1, 2016,
    through June 17, 2022.

•   You are included in this settlement as a Settlement Class Member of NastyGal if you purchased
    products in any state or U.S. territory other than California from NastyGal from February 28, 2017,
    through June 17, 2022.

•   Your rights are affected whether or not you act. Read this Notice carefully.


                   YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

                                    There is no requirement to file a claim to receive your Gift Card with
     NO REQUIREMENT TO              Free Shipping. If you do not timely and affirmatively opt out, you will
    SUBMIT A CLAIM FORM             give up the right to sue Defendants in a separate lawsuit about the legal
                                    claims this settlement resolves.

                                    This is the only option that allows you to sue, continue to sue, or be
     ASK TO BE EXCLUDED             part of another lawsuit against Defendants related to the legal claims
    DEADLINE: [PAO + 120]           this settlement resolves. However, you will give up the right to receive
                                    the Gift Cards from this settlement.


                   QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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                                   If you do not exclude yourself from the settlement, you may object to
                                   it by writing to the Court about why you don’t like the settlement. If
OBJECT TO THE SETTLEMENT           you object but do not opt out, you will still remain a part of the class
  DEADLINE: [PAO + 120]            and automatically receive the Gift Card(s) for which you are eligible,
                                   but you will give up the right to sue Defendants in a separate lawsuit
                                   about the legal claims this settlement resolves.

     GO TO A HEARING               You may object to the settlement and ask the Court for permission to
      ON [PAO + 160]               speak at the Final Approval Hearing about your objection.


                                   You will automatically receive one or more $10 Gift Cards by email,
                                   but you will give up the right to sue, continue to sue, or be part of
        DO NOTHING
                                   another lawsuit against Defendants about the legal claims resolved by
                                   this settlement.


• These rights and options—and the deadlines to exercise them—are explained in this Notice.

• The Court in charge of this case still has to decide whether to approve the settlement.




                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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                      QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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                                         I.     BASIC INFORMATION
 1. Why was this Notice issued?
A court authorized this Notice because you have a right to know about the proposed settlement of the three
separate class action lawsuits to which this Notice relates and about all of your options before the Court decides
whether to grant final approval to the settlement. This Notice explains the lawsuit, the settlement, your legal
rights, what benefits are available, and who can get them.
Judge George H. Wu of the United States District Court for the Central District of California is overseeing this
class action styled Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx). This case will be referred
to in this Notice as the “Action.” The proposed settlement resolves the legal claims in this lawsuit on behalf of
non-California purchasers of items from Defendants. The individuals that filed these lawsuits, Laura Habberfield,
Keona Kalu, Katie Runnells, Juanita Carmet Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa
Murphy, Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton, are called “Plaintiffs” and the
companies they sued—respectively, Boohoo/BoohooMAN, PrettyLittleThing, and NastyGal—are called
“Defendants.”
 2. What is this lawsuit about?
This lawsuit is about Defendants’ pricing policies and advertised sales. Plaintiffs allege that Defendants engaged
in a deceptive pricing scheme by advertising artificially inflated original prices in that they rarely sold their
products at the advertised original price. Plaintiffs allege Defendants routinely marked down and discounted these
inflated prices on their websites, which gave customers the false impression that they were getting a deal or
bargain. Plaintiffs contend Defendants have violated various California consumer protection and false advertising
laws and have committed fraud. Defendants deny all of the allegations made in the Action.
 3. What is a class action?
In a class action, one or more people called Class Representatives (in this case, Laura Habberfield, Keona Kalu,
Katie Runnells, Juanita Carmet Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy,
Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton) sue on behalf of other people with similar
claims. Together, the people included in the class action are called a Class or Class Members. One court resolves
the issues for all Class Members, except for those who exclude themselves from the Class.
 4. Why is there a settlement?
The Court has not determined whether Class Representative or Defendants are right. Instead, both parties agreed
to a settlement. This way, they avoid the cost and burden of a trial and the people affected can get benefits. The
Class Representatives and their attorneys think the settlement is best for all Settlement Class Members.


                              II.    WHO IS INCLUDED IN THE SETTLEMENT
 5. How do I know whether I am part of the settlement?
The settlement includes all persons who do not timely opt out (“Settlement Class Members”) and made purchases
from Defendants outside of California as follows:
You are included in this settlement as a Settlement Class Member of Boohoo/BoohooMAN if you purchased
products from Boohoo/BoohooMAN in any state or U.S. territory other than California from April 9, 2016, through
June 17, 2022 (the Class Period for Boohoo/BoohooMAN).
You are included in this settlement as a Settlement Class Member of PrettyLittleThing if you purchased products
from PrettyLittleThing in any state or U.S. territory other than California from May 19, 2016, through June 17, 2022
(the Class Period for PrettyLittleThing).
You are included in this settlement as a Settlement Class Member of NastyGal if you purchased products from
NastyGal in any state or U.S. territory other than California from March 1, 2017, through June 17, 2022 (the Class
                     QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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Period for NastyGal).
 6. Are there exceptions to being included?
Yes. The settlement does not include: (1) individuals who bought products from Defendants in California,
(2) Defendants and their officers, directors, and employees; (3) any person who files a valid and timely Request for
Exclusion; and (4) judicial officers and their immediate family members and associated court staff assigned to the
case.
 7. What if I am still not sure whether I am part of the settlement?
If you are not sure whether you are included, call 1-XXX-XXX-XXXX, go to www.Website.com or write to the
lawyers listed in Question 19 below and/or the Settlement Administrator.


             III.    THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY
 8. What does the settlement provide?
Defendants have agreed to provide benefits to Settlement Class Members to settle the lawsuits. Each Settlement
Class Member who does not timely opt out shall automatically receive one or more $10 Gift Cards. You will
receive one $10 Gift Card for each of the following websites (https://us.boohoo.com/https://boohooman.com/us,
https://prettylittlething.us., and https://nastygal.com) from whom you have made a purchase outside California
during the Class Periods identified in Question 5, up to a maximum of three Gift Cards. The Gift Card may be
used for a single $10 purchase transaction for merchandise available on the U.S. website from which a Settlement
Class Member made a purchase. You will not be required to pay shipping charges for your purchase. There is no
expiration date, no minimum purchase requirement, no blackout dates, no restriction on use with other offers or
promotions, no fees, no restrictions on transferability, and with very limited exceptions, stacking of multiple Gift
Cards will be permitted.
For example, if you made a purchase outside California on https://prettylittlething.us during the applicable Class
Period, then you will receive a Gift Card for use on the PrettyLittleThing U.S. Website only toward a purchase
on that website. If you made purchases outside California on https://prettylittlething.us and
https://us.boohoo.com/https://boohooman.com/us during the applicable Class Period, then you will receive two
Gift Cards, one each for use on the PrettyLittleThing U.S. Website and the boohoo U.S. Website. And, if you
made purchases outside California on https://prettylittlething.us,                    https://us.boohoo.com or
https://boohooman.com/us, and https://nastygal.com during the applicable Class Period, then you will receive
three Gift Cards, one each for use on the PrettyLittleThing U.S. Website, the boohoo U.S. Website, and the
NastyGal U.S. Website. Customers of the https://boohooman.com/us/ website will receive a Gift Card for
redemption on the http://us.boohoo.com website, which carries products for both brands - BoohooMAN and
Boohoo.


 9. How much will my Gift Card be?
Those individuals included in the settlement who chose not to opt out of the settlement will automatically receive
one or more $10 Gift Cards with Free Shipping (valued at $7.45), for a total potential value of $17.45 (inclusive
of the Free Shipping) per Gift Card.


                            IV.     HOW TO GET A SETTLEMENT GIFT CARD
 10. How do I get a payment from the settlement?
There is no requirement to file a claim to receive your Gift Card with Free Shipping. If you do not affirmatively
opt out within the prescribed time period, you will automatically receive a Gift Card at the email address that you
have on file with Defendants.
                     QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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 11. When would I get my settlement payment?
The Court will hold a hearing on [Final Approval Hearing date] to decide whether to grant final approval to the
settlement. If the Court approves the settlement, there may be appeals. It is always uncertain whether appeals will
be filed and, if so, how long it will take to resolve them. Settlement payments will be distributed as soon as
possible, only if and when the Court grants final approval to the settlement and after any appeals are resolved.
 12. What rights am I giving up to get a payment and stay in the Settlement Class?
Unless you exclude yourself, you will remain a part of the Settlement Class. If the settlement is approved and
becomes final, all of the Court’s orders will apply to you and legally bind you. You won’t be able to sue, continue
to sue, or be part of any lawsuit against Defendants and the Released Parties that relates to the legal issues resolved
by this settlement. The rights you are giving up are called Released Claims (see next question).
 13. What are the Released Claims?
If and when the settlement becomes final, Settlement Class Members who do not timely and sufficiently request
to be excluded from the proposed settlement will permanently release all manner of action, causes of action,
claims, demands, rights, suits, obligations, debts, contracts, agreements, promises, liabilities, damages, charges,
penalties, losses, costs, expenses, and attorneys’ fees, in law or equity, fixed or contingent, known or unknown,
which Settlement Class Members have or may have, arising out of or relating to any of the acts, omissions, or
other conduct by Defendants alleged or otherwise referred to in the operative complaint in the Action. The
settlement does not bind any persons or class members outside of the Settlement Class Members.
The “Released Parties” will include the named Defendants in the Action (specifically, Boohoo Group PLC,
Boohoo.com USA, Inc., Boohoo.com UK Limited, Prettylittlething.com USA, Inc., Prettylittlething.com Limited,
NastyGal.com USA, Inc., and Nasty Gal Limited), and all direct and indirect subsidiaries, affiliates, parent
companies, holding companies or other companies or business entities owned or controlled by any of the named
Defendants in the Action that are specifically related to the brands boohoo, boohooMan, PrettyLittleThing, and
NastyGal. To the extent Defendant Boohoo Group PLC or any of its subsidiaries owns, operates, or otherwise
controls any business entities that sell brands other than the brands listed above, those brands, companies,
subsidiaries, and/or business entities are not included within the definition of “Defendants.”
More detail about the claims you will be releasing are described in Sections 1.6 through 1.8 and 2.7 through 2.8
of the Settlement Agreement, available at www.Website.com.

                                V.      THE LAWYERS REPRESENTING YOU
 14. Do I have a lawyer in this case?
Yes. Judge Wu appointed Yasin M. Almadani, Esq. of Almadani Law and Ahmed Ibrahim, Esq. of AI Law, PLC
to represent you and other Settlement Class Members as “Class Counsel.” These law firms and these lawyers are
experienced in handling similar cases. You will not be charged for these lawyers. If you want to be represented
by your own lawyer, you may hire one at your own expense.
 15. How will the lawyers be paid?
Class Counsel will ask the Court for an award of attorneys’ fees and expenses of up to $4,197,000. They will also
ask the Court to approve $1,500 service awards to each of the twelve Class Representatives. The Court may award
less than these amounts. Any amounts awarded by the Court to Class Counsel or Class Representatives will be paid
separately by Defendants and will not reduce the amount of Gift Card value available to Settlement Class Members.
Furthermore, any amount of attorneys’ fees and expenses not awarded to Class Counsel will be paid by Defendants
to a charitable organization, but will not reduce the amount of Gift Card value available to Settlement Class
Members.




                      QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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                        VI.     EXCLUDING YOURSELF FROM THE SETTLEMENT
If you want to keep the right to sue or continue to sue Defendants or the Released Parties about the legal claims
in this case, and you do not want to receive a Gift Card from this settlement, you must take steps to get out of the
Settlement Class. This is called excluding yourself from or opting out of the settlement.
 16. How do I get out of the settlement?
To exclude yourself from the Settlement Class of the Action, you must submit a written request for exclusion.
Your request for exclusion must include: (a) the name and case number of this Action from which you seek
exclusion (i.e., Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx)); (b) your full name, email
address, physical address, telephone number, and Class Member ID; and (c) a signed statement that you are a
legitimate Settlement Class Member of the referenced lawsuit and you do not wish to participate in the Settlement
of the lawsuit. Your request for exclusion must be mailed to the Settlement Administrator at the address below so
it is postmarked no later than [PAO + 120]:
                                     Boohoo/PrettyLittleThing/NastyGal
                         Nationwide Advertising Class Action Settlement Administrator
                                               P.O. Box 6188
                                          Novato, CA 94948-6188
More details about the exclusion process are described in Sections 3.2 and 3.9 of the Settlement Agreement,
available at www.Website.com.
 17. If I exclude myself, can I still get a Gift Card from this settlement?
No. If you exclude yourself, you are telling the Court that you don’t want to be part of the settlement. You can
only get one or more Gift Cards if you stay in the settlement.
 18. If I do not exclude myself, can I sue Defendants or the Released Parties for the same legal claims
 later?
No. Unless you exclude yourself, you are giving up the right to sue Defendants and the Released Parties for the
claims that this settlement resolves. You must exclude yourself from this lawsuit to start or continue with your
own lawsuit or be part of any other lawsuit against Defendants or any of the Released Parties for the claims that
this settlement resolves.


                                 VII. OBJECTING TO THE SETTLEMENT
You can tell the Court if you don’t agree with the settlement or any part of it.
 19. How do I tell the Court that I do not like the settlement?
If you are a Settlement Class Member, you can object to the settlement if you do not like it or a portion of it. You
can give reasons why you think the Court should not approve it. The Court will consider your views. Your
objection must be in writing and made individually (no group or class objections will be accepted), and must
include: (1) the name and case number of this Action to which you are objecting (i.e., Habberfield v. Boohoo.com
USA, Inc., No. 2:22-cv-03899-GW (JEMx)); (2) the Settlement Class Member’s full name, address, telephone
number, and Class Member ID; (3) the words “Notice of Objection” or “Formal Objection”; (4) in clear and
concise terms, all legal and factual arguments supporting the objection, including supporting documentation; (5)
facts verified under oath supporting the person’s status as a Settlement Class Member (e.g., either any unique
identifier included by the Settlement Administrator in his/her notice, or the date and location of his/her relevant
purchases, including supporting documentation); (6) the Settlement Class Member’s signature and the date; and
(7) the following language immediately above the Settlement Class Member’s signature and date: “I declare under
penalty of perjury under the laws of the United States of America that the foregoing statements regarding Class
Membership are true and correct to the best of my knowledge.” Settlement Class Members who fail to make
objections in this manner will be deemed to have waived any objections and will be foreclosed from making any
                     QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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objections (whether by a subsequent objection, intervention, appeal, or any other process) to this Agreement.
Arguments not raised in the written objections shall be deemed intentionally waived. Mail your objection to all
the addresses listed below postmarked on or before [PAO + 120].

     The Court                Class Counsel          Defendants’ Counsel            Settlement Administrator
  Hon. George H.          ALMADANI LAW               EVERSHEDS                      Boohoo/PrettyLittleThing/NastyGal
  Wu                      Yasin M. Almadani          SUTHERLAND (US) LLP            Nationwide Advertising Class
  United States           4695 MacArthur Ct., Ste.   Ronald W. Zdrojeski            Action Settlement Administrator
  Courthouse              1100                       1114 6th Avenue, 40th Floor    P.O. Box 6188
  Central District of     Newport Beach, CA 92660    New York, NY 10036             Novato, CA 94948-6188
  California              Ph: 949-877-7177           Ph: (212) 389-5000
  350 West 1st Street     Fax: 949-877-8757          Fax: (212) 389-5099
  Courtroom 9D, 9th      yma@lawalm.com              ronzdrojeski@eversheds-
  Floor                                              sutherland.com
  Los Angeles, CA        AI LAW, PLC
  90012                  Ahmed Ibrahim               EVERSHEDS
                         4695 MacArthur Ct., Ste.    SUTHERLAND (US) LLP
                         1100                        Ian S. Shelton
                         Newport Beach, CA 92660     500 Capitol Mall, Suite 1750
                         Ph.: 949-266-1240           Sacramento, CA 95814
                         Fax:    949-266-1280        Ph: (916) 844-2965
                         aibrahim@ailawfirm.com      Fax: (916) 241-0501
                                                     ianshelton@eversheds-
                                                     sutherland.com


More details about the objection process are described in Sections 3.2 and 3.8 of the Settlement Agreement,
available at www.Website.com.

 20. May I come to Court to speak about my objection?
Yes. You or your attorney may speak at the Final Approval Hearing about your objection. To do so, you must
include a statement in your objection indicating that you or your attorney intends to appear at the Final Approval
Hearing. Remember, your objection must be postmarked by [PAO + 120] and sent to all the addresses in Question
19.
More details about the objection process are described in Sections 3.2 and 3.8 of the Settlement Agreement,
available at www.Website.com.
 21. What is the difference between objecting to the settlement and asking to be excluded from it?
Objecting is simply telling the Court that you don’t like something about the settlement. You can object only if
you remain a Settlement Class Member (that is, you do not exclude yourself). Excluding yourself is telling the
Court that you don’t want to be part of the settlement. If you exclude yourself, you cannot object because the
settlement no longer affects you.


                             VIII. THE COURT’S FINAL APPROVAL HEARING
The Court will hold a hearing to decide whether to approve the settlement. You may attend and you may ask to
speak consistent with Question 20, but you don’t have to.
 22. When and where will the Court decide whether to approve the settlement?
The Court will hold a Final Approval Hearing at _:__ _.m. on [date] at the United States Courthouse, 350 West
1st Street, Courtroom 9D, 9th Floor, Los Angeles, CA 90012. At this hearing, the Court will consider whether
the settlement is fair, reasonable and adequate. It will also consider whether to approve Class Counsel’s request
for an award of attorneys’ fees and expenses, as well as the Class Representatives’ service awards. If there are
                        QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
                                                        -8-
      Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 76 of 204 Page ID
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objections, the Court will consider them. Judge Wu will listen to people who have asked to speak at the hearing
(see Question 20 above). After the hearing, the Court will decide whether to approve the settlement.
 23. Do I have to come to the hearing?
No. Class Counsel will answer any questions Judge Wu may have. However, you are welcome to come to the
hearing at your own expense. If you send an objection, you do not have to come to court to talk about it. As long
as you mailed your written objection on time, the Court will consider it. You may also pay your own lawyer to
attend, but it is not necessary.
 24. May I speak at the hearing?
Yes. You may ask the Court for permission to speak at the Final Approval Hearing (see Question 20 above).
However, Settlement Class Members (with or without counsel) intending to make an appearance at the Final
Approval Hearing must so inform the Parties and the Court on or before the Objection Deadline by providing a
“Notice of Intention to Appear” to the Court, Class Counsel, and Defendants’ Counsel. Furthermore, no objector
shall be permitted to argue any grounds for objection that are not clearly and timely stated in their corresponding
written objection and all such untimely grounds shall be deemed waived. Your notice of intention to appear must
be filed and postmarked on or before [PAO + 120].
More details about the objection process are described in Sections 3.2 and 3.8 of the Settlement Agreement,
available at www.Website.com.


                                        IX.     IF YOU DO NOTHING
 25. What happens if I do nothing at all?
If you are a Settlement Class Member and you do nothing, you will automatically receive one or more $10 Gift
Cards, but you will give up the rights explained in Questions 16-21, including your right to start a new lawsuit,
continue with a lawsuit, be part of any other lawsuit against Defendants and the Released Parties about the legal
issues resolved by this settlement, or to object to the settlement.


                                  X.      GETTING MORE INFORMATION
 26. How do I get more information?
This Notice summarizes the proposed settlement. Complete details are provided in the Settlement Agreement.
The Settlement Agreement and other related documents and information are available at www.Website.com.
Additional information is also available by calling 1-XXX-XXX-XXXX or by writing to the Settlement
Administrator (see Question 16). Publicly-filed documents can also be obtained by visiting the U.S. Courthouse
located at 350 West 1st Street, Courtroom 9D, 9th Floor, Los Angeles, CA 90012 during business hours or
accessing the Court’s online docket via PACER.




                     QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL-FREE OR VISIT WWW.WEBSITE.COM
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                      Exhibit D
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                                         #:675
                                                           Court Authorized Legal Notice

    If you bought products from Boohoo, BoohooMAN, PrettyLittleThing, or Nasty
            Gal, you may be eligible for a $10 Gift Card with Free Shipping.
                                  Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx)
A settlement has been reached in the class action lawsuit referenced above (the “Action”) with Boohoo/BoohooMAN, PrettyLittleThing,
and Nasty Gal, the “Defendants” in this case. Plaintiffs Laura Habberfield, Keona Kalu, Katie Runnells, Juanita Carmet Cachadina,
Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton
(collectively, the “Plaintiffs” or “Class Representatives”) allege that Defendants engaged in a deceptive pricing scheme by advertising
artificially inflated original prices on their U.S. websites in that they rarely sold their products at the advertised original price. Plaintiffs
allege Defendants routinely marked down and discounted these inflated prices, which gave customers the false impression that they
were getting a deal or bargain. Plaintiffs contend Defendants have violated various consumer protection and false advertising laws and
have committed fraud. Defendants deny all of the allegations made in the Action. The Court has not determined who is right. Rather,
the Parties have agreed to settle the lawsuits to avoid the uncertainties and expenses associated with ongoing litigation.
Am I a Settlement Class Member? You are a class member in one or more of the three cases referenced above if:
   You purchased products in any state or U.S. territory other than California from Boohoo/BoohooMAN’s U.S. websites from April
    1, 2016, through June 17, 2022.
   You purchased products in any state or U.S. territory other than California from PrettyLittleThing’s U.S. website from April 1,
    2016, through June 17, 2022.
   You purchased products in any state or U.S. territory other than California from Nasty Gal’s U.S. website from February 28, 2017,
    through June 17, 2022.
What Can I Get? Defendants will provide Gift Cards with Free Shipping to customers outside of California who purchased products
from Defendants. Those individuals included in the settlement who chose not to opt out of the settlement will automatically receive one
or more $10 Gift Cards by email that may be used with no shipping charges on the U.S. website of the Defendant company above that
provided the Gift Card. There is no requirement to file a claim. You are eligible to receive up to three Gift Cards, one from
Boohoo/BoohooMAN, one from PrettyLittleThing, and one from Nasty Gal depending on your purchase history.
How Do I Get a Gift Card? There is no requirement to file a claim. If you do not affirmatively opt out within the prescribed time
period, you will automatically receive one to three Gift Cards in the above-styled case depending on whether you purchased from one,
two, or all three of the Defendants identified above. You will receive the Gift Card(s) at the email address you have on file with each
Defendant. If you would like to provide a different email address to receive your Gift Card(s), you may contact the Settlement
Administrator to make arrangements.
What are My Other Options? You may exclude yourself from the Settlement Class by sending a letter to the Settlement Administrator
no later than [objection/exclusion deadline]. If you exclude yourself, you cannot get a settlement payment, but you keep any rights you
may have to sue Defendants over the legal issues in the lawsuit. You and/or your lawyer also have the right to object to the proposed
settlement and appear before the Court to the present the reasons for your objection. Your written objection must be filed no later than
[objection/exclusion deadline]. Specific instructions about how to object to, or exclude yourself from, the Settlement are available at
[URL]. If you do nothing, and the Court approves the Settlement, you will be bound by all of the Court’s orders and judgments. In
addition, your claims against Defendants and their affiliates that this settlement resolves will be released.
Who Represents Me? The Court has appointed Yasin M. Almadani, Esq. of Almadani Law and Ahmed Ibrahim, Esq. of AI Law, PLC
to represent you and other Settlement Class Members. These attorneys are called Class Counsel. You will not be charged for these
lawyers out of pocket. If you want to be represented by your own lawyer in this case, you may hire one at your expense.
When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at [time] on [date] at the
United States Courthouse, 350 West 1st Street, Courtroom 9D, 9th Floor, Los Angeles, CA 90012. At that hearing, the Court will: hear
any objections concerning the fairness of the settlement; determine the fairness of the settlement; decide whether to approve Class
Counsel’s request for attorneys’ fees and costs; and decide whether to award the Class Representatives $1,500 each for their services in
helping to bring and settle this case. Defendants have agreed that Class Counsel may be paid reasonable attorneys’ fees in an amount to
be determined by the Court. Any amounts awarded by the Court to Class Counsel or Class Representatives will be paid separately by
Defendants and will not reduce the amount of Gift Card value available to Settlement Class Members.
How Do I Get More Information? For more information, including a more detailed Class Notice, a copy of the Settlement Agreement
and other documents, go to [URL], contact the settlement administrator by calling (800) 000-000 or by writing to
Boohoo/PrettyLittleThing/Nasty Gal Nationwide Pricing Class Action Settlement Administrator, [address], or contact Class Counsel by
emailing YMA@LawALM.com or AIbrahim@AILawFirm.com.

                                                              1-___-___-____
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                                  #:676
                              www.[website].com
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                                  #:677




                      Exhibit E
Case COURT
      2:22-cv-03899-GW-JEM         Document
           AUTHORIZED NOTICE OF CLASS
                                            36-2 Filed 04/10/23 Page 81 of 204 Page ID
                                         BOOHOO/BOOHOOMAN
     ACTION AND PROPOSED SETTLEMENT         #:678
                                         PRETTYLITTLETHING
                                     NASTY GAL Nationwide Pricing Class Action Settlement
                                     Settlement Administrator
                                     P.O. Box 6188
       OUR RECORDS                   Novato, CA 94948-6188

       INDICATE YOU
         PURCHASED
    PRODUCTS FROM THE
      U.S. WEBSITES OF
           BOOHOO,
                                     |||||||||||||||||||||||
       BOOHOOMAN,                    Postal Service: Please do not mark barcode
    PRETTYLITTLETHING,
    AND/OR NASTY GAL,                XXX—«ClaimID» «MailRec»
      AND YOU MAY BE
       ENTITLED TO A                 «First1» «Last1»
                                     «C/O»
     PAYMENT FROM A                  «Addr1» «Addr2»
       CLASS ACTION                  «City», «St» «Zip» «Country»

        SETTLEMENT.
                                                                            By Order of the Court Dated: [date]
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                                  #:679



                                                                                                                          Class Member ID: XXXXXXXX
        UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                              Notice of Proposed Class Action Settlement
                                Boohoo/BoohooMAN/PrettyLittleThing/Nasty Gal Nationwide Pricing Litigation
                                         Habberfield v. Boohoo.com USA, Inc., No. 2:22-cv-03899-GW (JEMx)
    This notice is to inform you of the settlement of the class action lawsuit referenced above (the “Action”) with Boohoo/BoohooMAN, PrettyLittleThing,
    and Nasty Gal, the “Defendants” in this case. Plaintiffs Laura Habberfield, Keona Kalu, Katie Runnells, Juanita Carmet Cachadina, Sarah Huebner, Yesenia
    Valiente, Veronica Walton, Lisa Murphy, Nicole Hill, Nicole Stewart, Me’Lisa Thimot, and Marika Walton (collectively, the “Plaintiffs” or “Class
    Representatives”) allege that Defendants engaged in a deceptive pricing scheme by advertising artificially inflated original prices on their U.S. websites in
    that they rarely sold their products at the advertised original price. Plaintiffs allege Defendants routinely marked down and discounted these inflated prices,
    which gave customers the false impression that they were getting a deal or bargain. Plaintiffs contend Defendants have violated various consumer protection
    and false advertising laws and have committed fraud. Defendants deny all of the allegations made in the Action. The Court has not determined who is right.
    Rather, the Parties have agreed to settle the lawsuits to avoid the uncertainties and expenses associated with ongoing litigation.
    Am I a Settlement Class Member? You are a class member in the case referenced above if:
    •    You purchased products in any state or U.S. territory other than California from Boohoo/BoohooMAN’s U.S. websites from April 1, 2016, through
         June 17, 2022.
    •    You purchased products in any state or U.S. territory other than California from PrettyLittleThing’s U.S. website from April 1, 2016, through June
         17, 2022.
    •    You purchased products in any state or U.S. territory other than California from Nasty Gal’s U.S. website from February 28, 2017, through June 17,
         2022.
    What Can I Get? Defendants will provide Gift Cards with Free Shipping to customers outside of California who purchased products from Defendants.
    Those individuals included in the settlement who choose not to opt out of the settlement will automatically receive one or more $10 Gift Cards by email
    that may be used with no shipping charges on the U.S. website of the Defendant company above that provided the Gift Card. There is no requirement to
    file a claim. You are eligible to receive up to three Gift Cards, one from Boohoo/BoohooMAN, one from PrettyLittleThing, and one from Nasty Gal,
    depending on whether you purchased items from the U.S. websites of one or more of these companies during the Class Periods reflected above.
    How Do I Get a Gift Card? There is no requirement to file a claim. If you do not affirmatively opt out within the prescribed time period, you will
    automatically receive a Gift Card from each of the Defendant companies from whose website you purchased items. You will receive the Gift Card(s) at the
    email address you have on file with Defendants. If you would like to provide a different email address to receive your Gift Card(s), you may contact the
    Settlement Administrator to make arrangements.
    What are My Other Options? You may exclude yourself from the Settlement Class by sending a letter to the Settlement Administrator no later than
    [objection/exclusion deadline]. If you exclude yourself, you cannot get a settlement payment, but you keep any rights you may have to sue Defendants over
    the legal issues in the lawsuit. You and/or your lawyer also have the right to object to the proposed settlement and appear before the Court to present the
    reasons for your objection. Your written objection must be filed no later than [objection/exclusion deadline]. Specific instructions about how to object to,
    or exclude yourself from, the Settlement are available at [URL]. If you do nothing, and the Court approves the Settlement, you will be bound by all of the
    Court’s orders and judgments. In addition, your claims against Defendants and their affiliates that this settlement resolves will be released.
    Who Represents Me? The Court has appointed Yasin M. Almadani, Esq. of Almadani Law and Ahmed Ibrahim, Esq. of AI Law, PLC to represent you
    and other Settlement Class Members. These attorneys are called Class Counsel. You will not be charged out of pocket for these lawyers. If you want to be
    represented by your own lawyer in this case, you may hire one at your expense.
    When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at [time] on [date] at the United States
    Courthouse, 350 West 1st Street, Courtroom 9D, 9th Floor, Los Angeles, CA 90012. At that hearing, the Court will: hear any objections concerning the
    fairness of the settlement; determine the fairness of the settlement; decide whether to approve Class Counsel’s request for attorneys’ fees and costs; and
    decide whether to award the Class Representatives $1,500 each for their services in helping to bring and settle this case. Defendants have agreed that Class
    Counsel may be paid reasonable attorneys’ fees in an amount to be determined by the Court. Any amounts awarded by the Court to Class Counsel or Class
    Representatives will be paid separately by Defendants and will not reduce the amount of Gift Card value available to Settlement Class Members.
    How Do I Get More Information? For more information, including a more detailed Class Notice, a copy of the Settlement Agreement and other
    documents, go to [URL], contact the settlement administrator by calling (800) 000-000 or by writing to Boohoo/PrettyLittleThing/Nasty Gal Nationwide
    Pricing Class Action Settlement Administrator, [address], or contact Class Counsel by emailing YMA@LawALM.com or AIbrahim@AILawFirm.com.
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                         Settlement Administrator for
                         Boohoo/PrettyLittleThing/Nasty Gal Nationwide
                         Pricing Class Action
                         c/o [Settlement Administrator]
                         PO Box 6188
                         Novato, CA 94948-6188




    XXX
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                      Exhibit F
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                                  #:682
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 86 of 204 Page ID
                                  #:683
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 87 of 204 Page ID
                                  #:684
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                                  #:685




                      Exhibit G
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                                  #:686

                                     PLT
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 90 of 204 Page ID
                                  #:687
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                                  #:688
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 92 of 204 Page ID
                                  #:689

                                  boohoo WW
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 93 of 204 Page ID
                                  #:690
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 94 of 204 Page ID
                                  #:691
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                                  #:692

                                  boohooMAN
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 96 of 204 Page ID
                                  #:693
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 97 of 204 Page ID
                                  #:694
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 98 of 204 Page ID
                                  #:695

                                   Nasty Gal
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 99 of 204 Page ID
                                  #:696
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 100 of 204 Page ID
                                   #:697
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                                   #:698
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                                   #:699
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                                   #:700
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                                   #:701
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                                   #:702
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 106 of 204 Page ID
                                   #:703
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 107 of 204 Page ID
                                   #:704
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 108 of 204 Page ID
                                   #:705
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 109 of 204 Page ID
                                   #:706
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 110 of 204 Page ID
                                   #:707
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 111 of 204 Page ID
                                   #:708
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 112 of 204 Page ID
                                   #:709
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 113 of 204 Page ID
                                   #:710
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 114 of 204 Page ID
                                   #:711




                       Exhibit H
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 115 of 204 Page ID
                                        #:712


 1
 2

 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10    LAURA HABBERFIELD, an individual,        CASE NO.: 2:22-cv-03899 GW (JEMx)
      KEONA KALU, an individual, KATIE
11    RUNNELLS, an individual, JUANITA         CLASS ACTION
      CARMET CACHADINA, an individual,
12    SARAH HUEBNER, an individual,            FINAL SETTLEMENT ORDER AND
      YESENIA VALIENTE, an individual,         JUDGMENT
13    VERONICA WALTON, an individual,
      LISA MURPHY, an individual, NICOLE
14    HILL, an individual, NICOLE              HON. GEORGE H. WU
      STEWART, an individual, on behalf of     United States District Judge
15    themselves and all others similarly
      situated,
16
                 Plaintiffs,
17
                        v.
18
      BOOHOO.COM USA, INC., a Delaware
19    corporation, BOOHOO.COM UK
      LIMITED, a United Kingdom private
20    limited company, BOOHOO GROUP
      PLC, a Jersey public limited company,
21    PRETTYLITTLETHING.COM USA
      INC., a Delaware corporation,
22    PRETTYLITTLETHING.COM
      LIMITED, a United Kingdom private
23    limited company, NASTYGAL.COM
      USA INC., a Delaware corporation,
24    NASTY GAL LIMITED, a United
      Kingdom private limited company, and
25    DOES 1-10, inclusive,
26               Defendants.
27
28
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 116 of 204 Page ID
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 1            IT IS HEREBY ADJUDGED AND DECREED THAT:
 2            1.      This Judgment incorporates by reference the definitions in the Class Action
 3    Settlement Agreement and Release dated April __, 2023 (the “Settlement”), attached
 4    hereto as Exhibit A, and all capitalized terms used herein shall have the same meanings as
 5    set forth in the Settlement unless set forth differently herein. The terms of the Settlement
 6    are fully incorporated in this Judgment as if set forth fully here.
 7            2.      The Court has jurisdiction over the subject matter of this action and all Parties
 8    to the action, including all Settlement Class Members who do not timely exclude
 9    themselves from one or more of the Classes. The list of excluded Settlement Class
10    Members was previously filed with the Court and is attached hereto as Exhibit B.
11            3.      Pursuant to Federal Rule of Civil Procedure 23, the Court hereby certifies the
12    following Classes:
13                           (a) All individuals in the 49 states, other than
                      California, including the District of Columbia, Guam, Puerto
14                    Rico, American Samoa, U.S. Virgin Islands, and Northern
                      Mariana Islands, who made a purchase on https://us.boohoo.com
15                    or https://www.boohooman.com/us/ or associated mobile phone
                      applications between April 1, 2016 and June 17, 2022, excluding
16                    any and all past or present officers, directors, or employees of
                      Defendants, any judge who presides over this Action, and any
17                    partner or employee of Class Counsel (the “Boohoo Class”).
18                           (b) All individuals in the 49 states, other than
                      California, including the District of Columbia, Guam, Puerto
19                    Rico, American Samoa, U.S. Virgin Islands, and Northern
                      Mariana       Islands,     who   made       a     purchase    on
20                    https://prettylittlething.us or associated mobile phone
                      applications between April 1, 2016 and June 17, 2022, excluding
21                    any and all past or present officers, directors, or employees of
                      Defendants, any judge who presides over this Action, and any
22                    partner or employee of Class Counsel (the “PrettyLittleThing
                      Class”).
23
                             (c) All individuals in the 49 states, other than
24                    California, including the District of Columbia, Guam, Puerto
                      Rico, American Samoa, U.S. Virgin Islands, and Northern
25                    Mariana Islands, who made a purchase on https://nastygal.com
                      or associated mobile phone applications between February 28,
26                    2017 and June 17, 2022, excluding any and all past or present
                      officers, directors, or employees of Defendants, any judge who
27                    presides over this Action, and any partner or employee of Class
                      Counsel (the “Nasty Gal Class”).
28
              4.      Pursuant to Federal Rule of Civil Procedure 23(c)(3), all such persons or
                                                   2
      Final Settlement Order and Judgment                                Case No. 2:22-cv-03899 GW (JEMx)
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 117 of 204 Page ID
                                        #:714


 1    entities who satisfy the Class definition above, except those Settlement Class Members
 2    who timely and validly excluded themselves from the Class, are Settlement Class
 3    Members bound by this Judgment.
 4            5.      For settlement purposes only, the Court finds:
 5                    (a)     Pursuant to Federal Rule of Civil Procedure 23(a), Laura Habberfield
 6            is a member of the Nasty Gal Class, her claims are typical of the Nasty Gal Class,
 7            and she fairly and adequately protected the interests of the Nasty Gal Class
 8            throughout the proceedings in this action. Accordingly, the Court hereby appoints
 9            Laura Habberfield as a class representative of the Nasty Gal Class;
10                    (b)     Pursuant to Federal Rule of Civil Procedure 23(a), Keona Kalu is a
11            member of the Boohoo Class and Nasty Gal Class, her claims are typical of the
12            Boohoo Class and Nasty Gal Class, and she fairly and adequately protected the
13            interests of the Boohoo Class and Nasty Gal Class throughout the proceedings in
14            this action. Accordingly, the Court hereby appoints Keona Kalu as a class
15            representative of the Boohoo Class and Nasty Gal Class;
16                    (c)     Pursuant to Federal Rule of Civil Procedure 23(a), Katie Runnells is a
17            member of the Boohoo Class, her claims are typical of the Boohoo Class, and she
18            fairly and adequately protected the interests of the Boohoo Class throughout the
19            proceedings in this action. Accordingly, the Court hereby appoints Katie Runnells
20            as a class representative of the Boohoo Class;
21                    (d)     Pursuant to Federal Rule of Civil Procedure 23(a), Juanita Carmet
22            Cachadina is a member of the Boohoo Class and Nasty Gal Class, her claims are
23            typical of the Boohoo Class and Nasty Gal Class, and she fairly and adequately
24            protected the interests of the Boohoo Class and Nasty Gal Class throughout the
25            proceedings in this action. Accordingly, the Court hereby appoints Juanita Carmet
26            Cachadina as a class representative of the Boohoo Class and Nasty Gal Class;
27                    (e)     Pursuant to Federal Rule of Civil Procedure 23(a), Sarah Huebner is a
28            member of the Boohoo Class, her claims are typical of the Boohoo Class, and she

                                                      3
      Final Settlement Order and Judgment                              Case No. 2:22-cv-03899 GW (JEMx)
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 1            fairly and adequately protected the interests of the Boohoo Class throughout the
 2            proceedings in this action. Accordingly, the Court hereby appoints Sarah Huebner
 3            as a class representative of the Boohoo Class;
 4                    (f)     Pursuant to Federal Rule of Civil Procedure 23(a), Yesenia Valiente is
 5            a member of the PrettyLittleThing Class, her claims are typical of the
 6            PrettyLittleThing Class, and she fairly and adequately protected the interests of the
 7            PrettyLittleThing Class throughout the proceedings in this action. Accordingly, the
 8            Court hereby appoints Yesenia Valienta as a class representative of the
 9            PrettyLittleThing Class;
10                    (g)     Pursuant to Federal Rule of Civil Procedure 23(a), Veronica Walton is
11            a member of the Boohoo Class, her claims are typical of the Boohoo Class, and she
12            fairly and adequately protected the interests of the Boohoo Class throughout the
13            proceedings in this action. Accordingly, the Court hereby appoints Veronica Walton
14            as a class representative of the Boohoo Class;
15                    (h)     Pursuant to Federal Rule of Civil Procedure 23(a), Lisa Murphy is a
16            member of the PrettyLittleThing Class, her claims are typical of the
17            PrettyLittleThing Class, and she fairly and adequately protected the interests of the
18            PrettyLittleThing Class throughout the proceedings in this action. Accordingly, the
19            Court hereby appoints Lisa Murphy as a class representative of the
20            PrettyLittleThing Class;
21                    (i)     Pursuant to Federal Rule of Civil Procedure 23(a), Nicole Hill is a
22            member of the Boohoo Class, her claims are typical of the Boohoo Class, and she
23            fairly and adequately protected the interests of the Boohoo Class throughout the
24            proceedings in this action. Accordingly, the Court hereby appoints Nicole Hill as a
25            class representative of the Boohoo Class;
26                    (j)     Pursuant to Federal Rule of Civil Procedure 23(a), Nicole Stewart is a
27            member of the Boohoo Class, PrettyLittleThing Class, and Nasty Gal Class, her
28            claims are typical of the Boohoo Class, PrettyLittleThing Class, and Nasty Gal

                                                      4
      Final Settlement Order and Judgment                              Case No. 2:22-cv-03899 GW (JEMx)
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 119 of 204 Page ID
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 1            Class, and she fairly and adequately protected the interests of the Boohoo Class,
 2            PrettyLittleThing Class, and Nasty Gal Class throughout the proceedings in this
 3            action. Accordingly, the Court hereby appoints Nicole Stewart as a class
 4            representative of the Boohoo Class, PrettyLittleThing Class, and Nasty Gal Class;
 5                    (k)     Pursuant to Federal Rule of Civil Procedure 23(a), Me’Lisa Thimot is
 6            a member of the Boohoo Class and PrettyLittleThing Class, her claims are typical
 7            of the Boohoo Class and PrettyLittleThing Class, and she fairly and adequately
 8            protected the interests of the Boohoo Class and PrettyLittleThing Class throughout
 9            the proceedings in this action. Accordingly, the Court hereby appoints Me’Lisa
10            Thimot as a class representative of the Boohoo Class and PrettyLittleThing Class;
11                    (l)     Pursuant to Federal Rule of Civil Procedure 23(a), Marika Walton is a
12            member of the Boohoo Class, her claims are typical of the Boohoo Class, and she
13            fairly and adequately protected the interests of the Boohoo Class throughout the
14            proceedings in this action. Accordingly, the Court hereby appoints Marika Walton
15            as a class representative of the Boohoo Class;
16                    (m)     The Classes meet all the requirements of Federal Rules of Civil
17            Procedure 23(a), (b)(2), and (b)(3) for certification of the class claims alleged in the
18            operative complaint in this action, including: (a) numerosity; (b) commonality; (c)
19            typicality; (d) adequacy of the class representative and Class Counsel; (e)
20            predominance of common questions of fact and law among each of the Classes for
21            purposes of settlement; and (f) superiority; and
22                    (n)     Having considered the factors set forth in Rule 23(g)(1) of the Federal
23            Rules of Civil Procedure, Class Counsel have fairly and adequately represented the
24            Classes for purposes of entering into and implementing the Settlement.
25            Accordingly, the Court hereby appoints Class Counsel as counsel to represent the
26            Settlement Class Members.
27            6.      Persons who filed timely exclusion requests are not bound by this Judgment
28    or the terms of the Settlement and may pursue their own individual remedies against

                                                      5
      Final Settlement Order and Judgment                               Case No. 2:22-cv-03899 GW (JEMx)
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 120 of 204 Page ID
                                        #:717


 1    Defendants Boohoo Group PLC, Boohoo.com USA, Inc., Boohoo.com UK Limited,
 2    PrettyLittleThing.com USA, Inc., PrettyLittleThing.com Limited, NastyGal.com USA,
 3    Inc., and Nasty Gal Limited (collectively, “Defendants”). However, such excluded parties
 4    are not entitled to any rights or benefits provided to Settlement Class Members by the
 5    terms of the Settlement. The list of persons and entities excluded from one or more of the
 6    Classes because they filed timely and valid requests for exclusion is attached hereto as
 7    Exhibit B.
 8            7.      The Court directed that notice be given to Settlement Class Members by
 9    publication, e-mail, mail, and other means pursuant to the notice program proposed by the
10    Parties in the Settlement and approved by the Court. The declaration from Kurtzman
11    Carson Consulting (KCC) attesting to the dissemination of notice to the Classes
12    demonstrates compliance with this Court’s Order Granting Preliminary Approval of Class
13    Settlement. The notice program set forth in the Settlement successfully advised Settlement
14    Class Members of the terms of the Settlement, the Final Approval Hearing (referred to in
15    the Settlement as the “Fairness Hearing”), and their right to appear at such hearing; their
16    rights to remain in or opt out of one or more of the Classes and to object to the Settlement;
17    the procedures for exercising such rights; and the binding effect of this Judgment, whether
18    favorable or unfavorable, to the Classes.
19            8.      The distribution of notice to the Classes constituted the best notice practicable
20    under the circumstances, and fully satisfied the requirements of Federal Rule of Civil
21    Procedure 23, the requirements of due process, 28 U.S.C. § 1715, and any other applicable
22    law.
23            9.      Pursuant to Federal Rule of Civil Procedure 23(e)(2), the Court finds after a
24    hearing and based upon all submissions of the Parties and other persons that the Settlement
25    proposed by the Parties is fair, reasonable, and adequate. The terms and provisions of the
26    Settlement are the product of arms-length negotiations conducted in good faith and with
27    the assistance of an experienced mediator and former United States district judge, the
28    Honorable Irma E. Gonzalez (Ret.). The Court has considered any timely objections to the

                                                      6
      Final Settlement Order and Judgment                                Case No. 2:22-cv-03899 GW (JEMx)
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 1    Settlement and finds that such objections are without merit and should be overruled.
 2    Approval of the Settlement will result in substantial savings of time, money and effort to
 3    the Court and the Parties, and will further the interests of justice.
 4            10.     Upon entry of this Final Settlement Order and Judgment, the named
 5    Plaintiffs, and each Settlement Class Member other than those listed on Exhibit B, shall
 6    be deemed to have fully, finally, and forever released and discharged all Class Released
 7    Claims against all Released Parties, as defined in the Settlement.
 8            11.     All Settlement Class Members who have not timely and validly submitted
 9    requests for exclusion are bound by this Judgment and by the terms of the Settlement.
10            12.     Plaintiffs initiated this action, acted to protect the Classes, and assisted their
11    counsel. Their efforts have produced the Settlement entered into in good faith that provides
12    a fair, reasonable, adequate, and certain result for the Classes. Plaintiff Laura Habberfield
13    is entitled to an incentive award of $1,500. Plaintiff Keona Kalu is entitled to an incentive
14    award of $1,500. Plaintiff Katie Runnells is entitled to an incentive award of $1,500.
15    Plaintiff Juanita Carmet Cachadina is entitled to an incentive award of $1,500. Plaintiff
16    Sarah Huebner is entitled to an incentive award of $1,500. Plaintiff Yesenia Valiente is
17    entitled to an incentive award of $1,500. Plaintiff Veronica Walton is entitled to an
18    incentive award of $1,500. Plaintiff Lisa Murphy is entitled to an incentive award of
19    $1,500. Plaintiff Nicole Hill is entitled to an incentive award of $1,500. Plaintiff Nicole
20    Stewart is entitled to an incentive award of $1,500. Plaintiff Me’Lisa Thimot is entitled to
21    an incentive award of $1,500. Plaintiff Marika Walton is entitled to an incentive award of
22    $1,500. Class Counsel is entitled to reasonable attorneys’ fees and costs, which the Court
23    finds to be $4,197,000. Claims administrator Kurtzman Carson Consultants, LLC is
24    entitled to a maximum amount of $1,000,000 for settlement administration costs.
25            13.     The Court hereby dismisses with prejudice the claims of the Settlement Class
26    Members in this action and the Released Parties are hereby released from all further
27    liability for the Released Claims.
28            14.     Without affecting the finality of this Judgment, the Court reserves jurisdiction

                                                       7
      Final Settlement Order and Judgment                                Case No. 2:22-cv-03899 GW (JEMx)
     Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 122 of 204 Page ID
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 1    over the implementation, administration and enforcement of this Judgment and the
 2    Settlement, and all matters ancillary thereto.
 3            15.     The Court finding that no reason exists for delay in ordering final judgment
 4    pursuant to Federal Rule of Civil Procedure 54(b), the clerk is hereby directed to enter this
 5    Judgment forthwith.
 6            16.     The Parties are hereby authorized without needing further approval from the
 7    Court to agree to and adopt such modifications and expansions of the Settlement that are
 8    consistent with this Judgment and do not limit the rights of Settlement Class Members
 9    under the Settlement.
10            IT IS SO ORDERED.
11

12    Dated: __________, 2023
                                            Hon. George H. Wu
13                                          United States District Judge
14

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      Final Settlement Order and Judgment                            Case No. 2:22-cv-03899 GW (JEMx)
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 123 of 204 Page ID
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                       Exhibit I
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 124 of 204 Page ID
                                   #:721



 From: Settlement Administrator for Boohoo Nationwide Pricing Class Action
 To:   JonQClassMember@domain.com
 Re:   Your Boohoo $10 Gift Card with Free Shipping and Handling!

 Class Member ID: XXXXXXXX

                       CLASS ACTION SETTLEMENT GIFT CARD

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                           Habberfield v. Boohoo.com USA, Inc., et al.
                             Case No. 2:22-cv-03899 GW (JEMx)




 Dear [customer],

 Below, please find the codes for your $10.00 Gift Card and for complimentary free shipping.
 Information regarding these codes can be found below.

 $10.00 Code: [Code]
 Free Shipping Code: [Code]

    §   $10 Single-Use Gift Card with Free Shipping
    §   No Expiration Date
    §   No Minimum Purchase Requirement
    §   No Fees
    §   No Blackout Dates
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 125 of 204 Page ID
                                   #:722



    §   No Restriction on Use with Other Offers or Promotions
    §   No Restrictions on Transferability
    §   Multiple Gift Cards May Be Combined (visit the website here [LINK] to combine; you
        must provide the original email address and both the Gift Card and free shipping codes to
        combine)
    §   Replaceable if Lost (contact Settlement Administrator [live link])


 What should you do if your Boohoo Code is not working? If you are having trouble using
 your $10 Gift Card and Free Shipping, please try the following steps below. If you are still
 having trouble, please reach out again.
        1. As a Boohoo Class Member, you should have received two codes: (1) a $10 Code;
        and (2) a Free Shipping Code. To utilize free shipping, first enter the Free Shipping Code
        in the following Promo code box on the checkout page:




        Proceed with entering shipping information. To use your $10 Code, there is an option to
        enter a “Gift voucher” on the Billing page above Payment method, which is where you
        should enter the $10 Code provided in our email:




        The codes must be entered in the order and in the boxes stated above. The $10 Code will
        not work in the Promo code box, and the Free Shipping Code will not work in the Gift
        voucher box.
        2. Ensure you are logged into your Boohoo account using the email address which
        received the $10 Code and Free Shipping Code. The $10 Code and Free Shipping Code
        will not work if you are logged into another account associated with a different email
        address.
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                                   #:723



        3. Be sure to copy and paste the codes from the email you received to ensure accuracy—
        the codes are case-sensitive. We do not recommend typing the codes in manually because
        it increases the risk of error.
        4. Your Boohoo $10 Code and Free Shipping Code may not be redeemed on other
        websites, such as Nasty Gal or PrettyLittleThing. These can be redeemed for use only on
        Boohoo’s website.
        5. If you would like to combine your Boohoo $10 Code with another Class Member’s
        Boohoo $10 Code, you must visit the website, [LINK], to combine, along with the
        original email addresses assigned to all $10 Codes you wish to combine, and the original
        Shipping Codes. You may not combine Free Shipping Codes. If you would like to
        transfer your Boohoo $10 Code and Free Shipping Code to a third party, you must visit
        the same website to transfer those codes to the third party’s email address.

 Please contact us if you have any additional questions.

 Thank you,

 Settlement Administrator

 [Email]
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 127 of 204 Page ID
                                   #:724



 From: Settlement Administrator for Nasty Gal Nationwide Pricing Class Action
 To:   JonQClassMember@domain.com
 Re:   Your NastyGal $10 Gift Card with Free Shipping and Handling!

 Class Member ID: XXXXXXXX

                       CLASS ACTION SETTLEMENT GIFT CARD

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                          Habberfield v. NastyGal.com USA, Inc., et al.
                             Case No.: 2:22-cv-03899 GW (JEMx)




 Dear [customer],

 Below, please find the codes for your $10.00 Gift Card and for complimentary free shipping.
 Information regarding these codes can be found below.

 $10.00 Code: [Code]
 Free Shipping Code: [Code]

    §   $10 Single-Use Gift Card with Free Shipping
    §   No Expiration Date
    §   No Minimum Purchase Requirement
    §   No Fees
    §   No Blackout Dates
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 128 of 204 Page ID
                                   #:725



    §   No Restriction on Use with Other Offers or Promotions
    §   No Restrictions on Transferability
    §   Multiple Gift Cards May Be Combined (visit the website here [LINK] to combine; you
        must provide the original email address and both the Gift Card and free shipping codes to
        combine)
    §   Replaceable if Lost (contact Settlement Administrator [live link])


 What should you do if your Nasty Gal Code is not working? If you are having trouble using
 your $10 Gift Card and Free Shipping, please try the following steps below. If you are still
 having trouble, please reach out again.

    1. As a Nasty Gal Class Member, you should have received two codes: (1) a $10 Code; and
       (2) a Free Shipping Code. To utilize free shipping, first enter the Free Shipping Code in
       the following Promo code box on the checkout page:




        Proceed with entering shipping information. To use your $10 Code, there is an option to
        enter a “Gift voucher” on the Billing page above Payment method, which is where you
        should enter the $10 Code provided in our email:




        The codes must be entered in the order and in the boxes stated above. The $10 Code will
        not work in the Promo code box, and the Free Shipping Code will not work in the Gift
        voucher box.

    2. Ensure you are logged into your Nasty Gal account using the email address which
       received the $10 Code and Free Shipping Code. The $10 Code and Free Shipping Code
       will not work if you are logged into another account associated with a different email
       address.
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 129 of 204 Page ID
                                   #:726



    3. Be sure to copy and paste the codes from the email you received to ensure accuracy—the
       codes are case-sensitive. We do not recommend typing the codes in manually because it
       increases the risk of error.
    4. Your Nasty Gal $10 Code and Free Shipping Code may not be redeemed on other
       websites, such as Boohoo or PrettyLittleThing. These can be redeemed for use only on
       Nasty Gal’s website.
    5. If you would like to combine your Nasty Gal $10 Code with another Class Member’s
       Nasty Gal $10 Code, you must visit the website, [LINK] to combine, along with the
       original email addresses assigned to all $10 Codes you wish to combine, and the original
       Shipping Codes. You may not combine Free Shipping Codes. If you would like to
       transfer your Nasty Gal $10 Code and Free Shipping Code to a third party, you must visit
       the same website to transfer those codes to the third party’s email address.

 Please contact us if you have any additional questions.

 Thank you,

 Settlement Administrator

 [Email]
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 130 of 204 Page ID
                                   #:727



 From: Settlement Administrator for PrettyLittleThing Nationwide Pricing Class Action
 To:   JonQClassMember@domain.com
 Re:   Your PrettyLittleThing $10 Gift Card with Free Shipping and Handling!

 Class Member ID: XXXXXXXX

                        CLASS ACTION SETTLEMENT GIFT CARD

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                        Habberfield v. Prettylittlething.com USA Inc., et al.
                             Case No.: 2:22-cv-03899 GW (JEMx)




 Dear [customer],

 Below, please find the token for your $10.00 gift card and for complimentary free shipping.
 Information regarding this can be found below.

 By clicking on the below token, you are activating the token on the account that is associated
 with this email, and you will no longer be able to transfer or combine this gift card. If you would
 like the token associated with a different email do not click the token link, instead please visit
 our website to request the token be transferred to a different email address by clicking here:
 [LINK]

 $10.00 and Free Shipping Token: [Token ID]

 Activate your token here: [URL Token]
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                                   #:728



    §   $10 Single-Use Gift Card with Free Shipping
    §   No Expiration Date
    §   No Minimum Purchase Requirement
    §   No Fees
    §   No Blackout Dates
    §   No Restriction on Use with Other Offers or Promotions
    §   No Restrictions on Transferability
    §   Multiple Gift Cards May Be Combined (visit the website here [LINK] to combine, you
        must provide the original email address and the token to combine)
    §   Replaceable if Lost (contact Settlement Administrator [live link])


 What should you do if your PrettyLittleThing Code is not working? If you are having
 trouble using your $10 Gift Card and Free Shipping, please try the following steps below. If you
 are still having trouble, please reach out again.
        1. As a PrettyLittleThing Class Member, you should have received a token link for a
        $10 Code and Free Shipping. Ensure you are logged into your PrettyLittleThing account
        with the email address which received the Gift Card. This is the email address that the
        Gift Card and Free Shipping is assigned to, and if you are logged in with a different email
        address, the Gift Card and Free Shipping cannot be redeemed.
        2. We recommend first logging out of your account before clicking the “Activate your
        token” link. After logging out, you can simply click the “Activate your token” link to
        utilize the Gift Card and Free Shipping and for logging into the account associated with
        the email address which received the Gift Card. The Gift Card and Free Shipping cannot
        be redeemed by copying and pasting the token code into the Coupon Code box at
        checkout as it will not be recognized.
        3. If you would like to transfer your PrettyLittleThing Gift Card to a different email
        address than the one which received the Gift Card, you must visit the website, [LINK], to
        do so. If you wish to transfer your Gift Card, then do not click the “Activate your token”
        link or your Gift Card and Free Shipping will be permanently assigned to the account
        associated with the email address which received the Gift Card. If this is an old account
        you are no longer using, and you have already clicked “Activate your token,” the Gift
        Card and Free Shipping have already been applied to this account. Please follow the
        instructions on PrettyLittleThing’s website on the FAQ page to access “What should I do
        if I forgot my Password?”, in order to login to your old account and utilize the Gift Card
        and Free Shipping.
        4. If you would like to combine your PrettyLittleThing Gift Card with another Class
        Member’s PrettyLittleThing Gift Card, you must visit the website, [LINK], to combine
        the Gift Cards, along with the original email addresses assigned to all Gift Cards you
        wish to combine. You may not combine Free Shipping Codes. If you wish to combine
        your Gift Card, then do not click the “Activate your token” link or your Gift Card and
        Free Shipping will be permanently assigned to the account associated with the email
        address which received the Gift Card.
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 132 of 204 Page ID
                                   #:729



           5. Your PrettyLittleThing Gift Card and Free Shipping may not be used on other
           websites. They can be redeemed for use only on PrettyLittleThing’s website.

 Please contact us if you have any additional questions.

 Thank you,

 Settlement Administrator

 [email]
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                                   #:730




                       Exhibit J
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 134 of 204 Page ID
                                   #:731
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 135 of 204 Page ID
                                   #:732
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 136 of 204 Page ID
                                   #:733
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 137 of 204 Page ID
                                   #:734
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 138 of 204 Page ID
                                   #:735




                        EXHIBIT 2
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 139 of 204 Page ID
                                   #:736



   1   Yasin M. Almadani (Cal. Bar No. 242798)
       ALMADANI LAW
   2   4695 MacArthur Ct., Suite 1100
       Newport Beach, CA 92660
   3   T (949) 877-7177 | F (949) 877-8757
       YMA@LawAlm.com
   4
       Ahmed Ibrahim (Cal. Bar No. 238739)
   5   AI LAW, PLC
       4695 MacArthur Ct., Suite 1100
   6   Newport Beach, CA 92660
       T (949) 266-1240 | F (949) 266-1280
   7   aibrahim@ailawfirm.com

   8   Attorneys for Plaintiffs

   9                                UNITED STATES DISTRICT COURT

  10                               CENTRAL DISTRICT OF CALIFORNIA

  11
       FARID KHAN, an individual, on behalf of        Case No. 2:20-cv-03332-GW-JEMx
  12   himself and all others similarly situated,
                     Plaintiffs,                      Consolidated for Pretrial Purposes with:
  13
                                                      No. 2:20-cv-04658-GW-JEM
  14                 v.                               No. 2:20-cv-04659-GW-JEM

  15   BOOHOO.COM USA, INC., a Delaware               Hon. George H. Wu
       corporation, BOOHOO.COM UK
  16   LIMITED, a United Kingdom private              NOTICE OF DEPOSITION OF
       limited company, BOOHOO GROUP PLC,
       a Jersey public limited company, and           BOOHOO.COM USA, INC., BOOHOO.COM
  17
       DOES 1-10, inclusive,                          UK LIMITED, BOOHOO GROUP PLC,
  18                                                  PRETTYLITTLETHING.COM USA INC.,
                     Defendants.                      PRETTYLITTLETHING.COM LIMITED,
  19                                                  NASTYGAL.COM USA INC., AND NASTY
                                                      GAL LIMITED, PURSUANT TO RULE
  20                                                  30(b)(6)
  21
                                                      Date:         January 28, 2022
  22                                                  Time:         6:00 a.m. PST
                                                      Place:        Remote Means
  23                                                                (Videoconference Technology)
  24                                                  Action Filed: April 9, 2020
  25
                                                      Trial Date:   TBD
  26
  27
  28


                          PLAINTIFFS’ NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 140 of 204 Page ID
                                   #:737



   1 TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD
   2           PLEASE TAKE NOTICE that Plaintiffs Farid Khan (“Khan”), Haya Hilton (“Hilton”),

   3 and Olivia Lee (“Lee”) (collectively, “Plaintiffs”), by and through their attorneys of record, on
   4 behalf of themselves and members of the putative class they each represent, will take the
   5 deposition of Defendants Boohoo Group PLC, Boohoo.com USA, Inc., Boohoo.com UK Limited,
   6 PrettyLittleThing.com USA, Inc., PrettyLittleThing.com Limited, NastyGal.com USA, Inc., and
   7 Nasty Gal Limited (collectively, “Defendants”) pursuant to Rule 30(b)(6) on the topics specified

   8 below. The deposition of will take place beginning January 28, 2022 at 6:00 a.m. Pacific Time,
   9 and may be adjourned and continue from day to day, excluding Sundays and holidays, until
  10 completed, and may occur over several days. The depositions will be taken upon oral examination
  11 before a Certified Shorthand Reporter and will be recorded by video.
  12           Due to the ongoing COVID-19 global pandemic, the depositions will be taken by utilizing

  13 a secured web-based option, by utilizing a video teleconferencing option (e.g., Zoom), or
  14 telephonically, to provide remote and/or virtual access for the witness, counsel for the witness, the
  15 deposing party, and all other parties wishing to participate in the deposition via the internet and/or
  16 telephone. Plaintiffs reserve the right to record the deposition either by stenographic means by a
  17 court reporter certified to record depositions or a digital reporter utilizing state-of-the-art digital
  18 recording equipment. Both the court reporter and digital reporter are authorized to administer the
  19 oath and lawfully serve as the deposition officer in connection with the deposition.
  20           Please take note that the deposition officer may also be remote and out of the presence of

  21 the deponent via one of the options above for the purposes of providing the oath/affirmation to the
  22 deponent and capturing the proceeding. Plaintiffs further reserve the right to utilize the following:
  23 (1) record the deposition utilizing audio or video technology; (2) instant visual display such that
  24 the reporter’s writing of the proceeding will be available to all who are a party to this proceeding
  25 to request and receive it in Realtime; (3) exhibit display or capture technology in which any
  26 exhibit reviewed by the deponent during the deposition can be captured visually; and (4) to
  27 conduct this deposition utilizing a paperless exhibit display process or virtual display platform.
  28

                                                  1
                  NOTICE OF DEPOSITION OF BOOHOO DEFENDANTS PURSUANT TO RULE 30(b)(6)
Case 2:22-cv-03899-GW-JEM Document 36-2 Filed 04/10/23 Page 141 of 204 Page ID
                                   #:738



   1          The parties are advised that, in lieu of a paper set of exhibits, exhibits may be provided and

   2 displayed digitally to the deposition officer, deponent, parties and counsel. The exhibits will be
   3 compiled by the deposition officer for the purposes of exhibit stamping, and ultimate production
   4 of the final certified transcript.
   5          The matters for examination at the deposition are as follows. Plaintiffs seek to depose the

   6 officer(s), director(s), managing agent(s), or other person(s) designated by Defendants who
   7 consent to testify on Defendants’ behalf, and are knowledgeable about the matters set forth below

   8 so that they are qualified and prepared to testify about all information known or reasonably
   9 available to Defendants about said matters.
  10          1.      The corporate structure and organization for Defendants, along with their

  11 subsidiaries that own and operate Defendants’ U.S. websites that are the subject of this lawsuit,
  12 including but not limited to, for example, information about the divisions and departments in each
  13 of the subsidiaries, their function, and the board and corporate governance hierarchy and
  14 management hierarchy.
  15          2.      Operation of the subject websites, including but not limited to, for example, which

  16 entities and departments/divisions are responsible for operating the U.S. websites, including
  17 content, pricing, marketing, advertising, product selection, hosting and IT management, and
  18 finances.
  19          3.      Defendants’ use of “reference prices” on their U.S. websites throughout the class

  20 period, as referred to in this lawsuit, including but not limited to, for example, the policies, formal
  21 or informal, used to set and change these prices, the persons involved in setting, changing, and
  22 approving these prices, the methodology used to set or change these prices, including the data
  23 points or metrics utilized in determining and changing these prices, the relationship (if any)
  24 between these prices and sales or selling prices (see next topic), the relationship (if any) between
  25 these prices and profit margins, the relationship (if any) between these prices and prices for the
  26 same products in countries other than the United States, any software or other tools (if any) used
  27 to assist with setting these prices, and the various terms used internally by Defendants to refer to
  28 these prices.

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   1          4.      Defendants’ use of “sales prices” or “selling prices,” i.e. the prices at which the

   2 items are actually offered for sale on their U.S. websites, throughout the class period as referred to
   3 in this lawsuit, including but not limited to, for example, the policies, formal or informal, used to
   4 set and change these prices, the persons involved in setting, changing, and approving these prices,
   5 the methodology used to set or change these prices, including the data points or metrics utilized in
   6 determining and changing these prices, the relationship (if any) between these prices and reference
   7 prices (see previous topic), the relationship (if any) between these prices and profit margins, the

   8 relationship (if any) between these prices and prices for the same products in countries other than
   9 the United States, any software or other tools (if any) used to assist with setting these prices, and
  10 the various terms used internally by Defendants to refer to these prices.
  11          5.      The setting of sales and markdowns on the Defendants’ websites in the United

  12 States, including but not limited to, for example, the sales and markdowns advertised on the
  13 website, methods of advertisements such as email blasts, text, social media, who decides which
  14 sales and markdowns to advertise, what goes into the decisions, and the side-wide sales that were
  15 run across on the U.S. websites for the relevant class period.
  16          6.      All material aspects of the sales spreadsheets produced in discovery, including, but

  17 not limited to, what each column means, verification that the data is authentic and accurate, what
  18 the information in the spreadsheet represents, and confirmation that Defendants have produced all
  19 pricing data in their possession responsive to Plaintiffs’ requests for production.
  20          7.      The production of promotional calendars and whether they accurately represent the

  21 promotions that were advertised on Defendants’ U.S. websites for each day represented in the
  22 documents, what each of the promotions means and represents, to which products the promotions
  23 apply and which products are excluded, how it is decided as to which promotion will be advertised
  24 for a given day, and confirmation that all promotional calendars applicable to this lawsuit have
  25 been produced.
  26          8.      Defendants’ Responses to Requests for Admission and Plaintiffs’ Interrogatory No.

  27 16, including the reasons why certain requests were denied and others were admitted, the
  28 information and data behind the admissions and denials, and amendments to the responses.

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   1          9.       Consumer marketing surveys and research (whether done in-house or through

   2 outside firms) conducted by Defendants, who the brands consider their target markets, and what
   3 generally were Defendants’ findings in connection with any surveys and research performed.
   4          10.      Summary level financial data for Defendants’ U.S. activities during the relevant

   5 class periods broken down by year, including but not limited to, for example, annual sales figures,
   6 cost of goods sold, gross margins, variable costs, overhead costs, and net profits and margins.
   7          11.      Verification of the total number of California class members and how Defendants

   8 arrived at that number, and a confirmation that Defendants will continue to faithfully keep track of
   9 the class members pursuant to the parties’ agreement.
  10          12.      Verification of the figure Defendants provided to representing Defendants’ average

  11 shipping cost and the methodology used to calculate that figure.
  12          Please contact the noticing attorney at least three (3) calendar days prior to the deposition

  13 to advise that it is your desire to appear and participate via this remote method so that the
  14 necessary hyperlinks, credentials, call-in numbers, firm name, email address, services, testing and
  15 information, if necessary, can be arranged and provided to you prior to the proceeding(s).
  16          The deposition will be taken for the purposes of discovery, for use at trial in this matter,

  17 and for any other purpose permitted under the Federal Rules of Procedure, and Plaintiffs
  18 specifically reserve the right to use at trial any such video, recording or transcript of the
  19 deposition.
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   1          Defendants must inform Plaintiffs, through their respective attorneys of record, of the

   2 need, if any, for an interpreter for said deposition within three (3) days prior to the deposition date.
   3 If an interpreter is requested, it is required by the above-named deponent to inform Plaintiffs
   4 through his respective attorneys of record within 24 hours of any cancellation or costs will be
   5 owed to Plaintiffs’ counsel at the time of deposition.
   6 Dated: January 24, 2022                               ALMADANI LAW
   7
                                                       By: _________________________________
   8                                                      Yasin M. Almadani, Esq.
   9                                                      AI LAW, PLC
  10                                                      Ahmed Ibrahim, Esq.
  11                                                      Attorneys for Plaintiff
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                 NOTICE OF DEPOSITION OF BOOHOO DEFENDANTS PURSUANT TO RULE 30(b)(6)
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   1                                                 PROOF OF SERVICE

   2           I am a resident of the State of California, over the age of eighteen years, and not a party to the within action.
       My business address is as follows: Almadani Law, 4695 MacArthur Ct., Suite 1100, Newport Beach, California
   3   92660.

   4             On January 24, 2022, I served the document(s) listed immediately below on each person(s) and/or
       entity(ies) named below by causing the document(s) to be mailed, hand-delivered, e-mailed, or faxed, as indicated
   5   herein:

   6       §    NOTICE OF DEPOSITION OF THE BOOHOO, PRETTYLITTLETHING, AND
                NASTYGAL DEFENDANTS PURSUANT TO RULE 30(b)(6)
   7
                Person(s) and/or entity(ies) served as follows:
   8
   9    [ ] BY MAIL                               I caused such envelope with postage fully prepaid thereon to be placed in
                                                  the United States Mail within Los Angeles County.
  10
  11    [ ] BY OVERNIGHT MAIL                     I caused such document(s) to be placed in a box or other facility regularly
                                                  maintained by an express mail carrier, in an envelope designated by such
  12                                              carrier with delivery fees fully prepaid thereon, or provided for, addressed
                                                  to the person on whom it is to be served, within Los Angeles County.
  13
  14    [ ] BY FACSIMILE                          I caused such document(s) to be faxed to the number(s) indicated in the
                                                  attached service list.
  15
  16    [ ] BY HAND-DELIVERY                      I caused such document(s) to be delivered by hand to each person(s)
                                                  and/or entity(ies) named in the attached service list.
  17
  18    [X] BY E-MAIL                             I caused such document(s) to be electronically transmitted to the e-mail
                                                  address(es) reflected in the attached service list.
  19
  20
                I declare under penalty of perjury that the foregoing is true and correct.
  21
                                                     Executed on January 24, 2022, at La Mirada, California.
  22
  23
  24
                                                                       Yasin M. Almadani, Esq.
  25
  26
  27
  28


                            NOTICE OF DEPOSITION OF BOOHOO PURSUANT TO RULE 30(b)(6)
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                        EXHIBIT 3
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                        EXHIBIT 4
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             UNDER SEAL
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                        EXHIBIT 5
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                        EXHIBIT 6
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               FILED
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                      EXHIBIT 39
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                      EXHIBIT 43
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
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   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
             131)
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      CONDITIONALLY
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    AS NON-PAPER COPY
   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
             131)
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
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  5.1 (SEE DOCKET ENTRY
             131)
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
             131)
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      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
             131)
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
             131)
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
   PURSUANT TO L.R. 11-
  5.1 (SEE DOCKET ENTRY
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
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   PURSUANT TO L.R. 11-
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            FILED
      CONDITIONALLY
  UNDER SEAL – LODGED
    AS NON-PAPER COPY
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            FILED
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  UNDER SEAL – LODGED
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